Case 1:15-cv-00321-SKO   Document 534-4   Filed 09/12/23   Page 1 of 300




                 EXHIBIT
                                1
Case 1:15-cv-00321-SKO
  Case 1:15-cv-00321-SKO Document
                          Document534-4
                                   338-4 Filed
                                         Filed 09/12/23  Page12ofof68
                                               02/13/18 Page        300




                 EXHIBIT “1”
                            Exhibit 1, Page 10
           Case 1:15-cv-00321-SKO
             Case                 GORDON
                  1:15-cv-00321-SKO  Document&
                                    Document   REESFiled
                                             534-4
                                              338-4  LLP09/12/23
                                                    Filed           Page23ofof68
                                                          02/13/18 Page        300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 April 22, 2015
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20268808
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                       BILLING SUMMARY THROUGH March 31, 2015
Fees For Professional Services:                                                                                  $14,680.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 11
                                                                      11
Guardian Protection
         CaseCase   Products, Inc.
                1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23        April
                                                                    Page34of
                                                          02/13/18 Page    of68 22, 2015
                                                                              300
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20268808

                                       Professional Services

Date       Description                                                                  Init   Hours
03/11/15   Review and analysis of                                                       CED     1.90


03/11/15   Review and analyze                                                           APR     3.10



03/12/15   Analysis re                                                                  CED     0.40

03/12/15   Telephone conference with                                                    CED     1.30


03/12/15   Analysis re                                                                  CED     0.50

03/12/15   Review                                                                       CED     0.50

03/12/15   Research re:                                                                 APR     1.60



03/13/15   Review                                                                       CED     0.40

03/13/15   Telephone with counsel for plaintiff re extension to respond and status of   CED     0.40
           settlement discussions

03/13/15   Prepare email to counsel for plaintiff re extension to respond               CED     0.30

03/16/15   Analysis re                                                                  CED     0.80


03/16/15   Exchange emails with client                                                  CED     0.30

03/16/15   Draft anal sis of                                                            APR     2.10




03/16/15   Research re:                                                                 APR     1.90




                                            Exhibit 1,
                                            Exhibit 1, Page
                                                       Page 12
                                                            12
         Case   1:15-cv-00321-SKO
Guardian Protection
             Case   Products, Inc.
                   1:15-cv-00321-SKO Document
                                      Document534-4
                                               338-4 Filed
                                                     Filed 09/12/23  Page45of
                                                           02/13/18 Page    of68
                                                                               300
                                                                           April 22, 2015
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20268808


Date       Descri tion                                                                 Init   Hours
03/17/15   Analysis re                                                                 CED     0.40


03/17/15   Review correspondence from plaintiffs counsel,                              CED     0.40


03/17/15   Review stipulation to extend time to respond, prepare email to plaintiffs   CED     0.40
           counsel re same

03/17/15   Review and revise                                                           CED     0.50

03/17/15   Further draft initial analysis re:                                          APR     1.40



03/17/15   Research re:                                                                APR     2.40


03/17/15   Research                                                                    APR     0.20


03/17/15   Draft stipulation to extend time for Defendant to respond to complaint      APR     0.30

03/17/15   Review and analyze correspondence from Plaintiffs counsel, Lockerby,        APR     0.10
           re:stipulation to extend time to respond to complaint

03/17/15   Research re:                                                                APR     1.60



03/17/15   Review and analyze correspondence from Plaintiffs counsel re:business       APR     0.10
           proposal and request for stipulation to extend time to respond to
           complaint

03/17/15   Review and analyze draft corres ondence from client                         APR     1.30



03/17/15   Further draft initial analysis re:                                          APR     0.90


03/17/15   Review and analyze exchange of correspondence with plaintiffs counsel       APR     0.10
           re: stipulation to extend time to respond to complaint

03/17/15   Research                                                                    APR     0.10


                                                Exhibit 1,
                                                Exhibit    Page 13
                                                        1, Page 13
Guardian Protection
         CaseCase   Products, Inc.
                1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23        April
                                                                    Page56of
                                                          02/13/18 Page    of68 22, 2015
                                                                              300
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20268808


Date       Descri tion                                                   Init          Hours


03/18/15   Analysis re                                                   CED               0.30

03/18/15   Research re:                                                  APR               0.50


03/18/15   Draft                                                         APR               0.20

03/23/15   Telephone with                                                CED               0.50

03/23/15   Prepare email to client re                                    CED               0.50

03/23/15   Analysis re                                                   CED               0.50

03/23/15   Analysis re                                                   CED               0.50

03/23/15   Review and analyze                                            APR               0.20


03/23/15   Revise draft                                                  APR               0.10

03/24/15   Exchange emails with client re                                CED               0.30

03/24/15   Review and analysis email from client                         CED               0.40

03/24/15   Review and anal ze exchan e of corres ondence with client,    APR               0.10



03/25/15   Exchan e emails with clients                                  CED               0.40


03/25/15   Review and analyze exchan e of corres ondence with client,    APR               0.20


03/26/15   Initial review of documents                                   CED               1.20

03/26/15   Review and anal ze documents IIIIIIIIIIIIIIIIIIIIIIIIIIIII    APR               2.40


03/26/15   Analyze and re are                                            RJS               1.50


03/27/15   Continued review of documents                                 CED               0.50

                                            Exhibit 1,
                                            Exhibit    Page 14
                                                    1, Page 14
Guardian Protection
         CaseCase   Products, Inc.
                1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23        April
                                                                    Page67of
                                                          02/13/18 Page    of68 22, 2015
                                                                              300
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20268808


Date       Description                                                    Init          Hours

03/30/15   Analysis re                                                    CED              0.50


03/30/15   Air                                                            RJS              0.50


03/31/15   Review                                                         CED              0.40

03/31/15   Analysis re                                                    CED              0.30

03/31/15   Analysis re                                                    CED              0.60


03/31/15   Review and analyze memo                                        APR              0.20



                         TOTAL FOR SERVICES                        $14,680.50


                                     Services Recap
Init       Name                         Title                     Rate       Hours    Amount
APR        Aaron Rudin                  Senior Counsel           375.00       21.10   7,912.50
CED        Calvin Davis                 Senior Partner           420.00       15.40   6,468.00
RJS        Randall Stubblefield         Paralegal                150.00        2.00     300.00




                                      Exhibit 1,
                                      Exhibit 1, Page
                                                 Page 15
                                                      15
           Case 1:15-cv-00321-SKO
             Case                   Document
                                  GORDON
                  1:15-cv-00321-SKO          534-4
                                     Document& REESFiled
                                              338-4  LLP09/12/23
                                                    Filed           Page78ofof68
                                                          02/13/18 Page        300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 June 9, 2015
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20278161
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                         BILLING SUMMARY THROUGH May 31, 2015
Fees For Professional Services:                                                                                  $19,722.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 16
                                                                      16
         Case   1:15-cv-00321-SKO
Guardian Protection
             Case   Products, Inc.
                   1:15-cv-00321-SKO Document
                                      Document534-4
                                               338-4 Filed
                                                     Filed 09/12/23  Page89of
                                                           02/13/18 Page    of68
                                                                           June300
                                                                                 9, 2015
ID: GPPI 1104957                                                           Page  2
Invoice No.: 20278161

                                             Professional Services

Date       Description                                                                                          Init   Hours
04/01/15   Review plaintiffs stipulation re use of Magistrate Oberto as judgeM                                  CED     0.50


04/02/15   Telephone conference with client                                                                     GAC     0.60


04/02/15                                                                                                        CED     0.40


04/02/15   Telephone with                                                                                       CED     0.60

04/02/15   Further analyze                                                                                      APR     0.90


04/02/15   Review and analyze memo                                                                              APR     0.20

04/02/15   Research re:                                                                                         APR     0.10

04/02/15   Conference call with client,                                                                         APR     0.60


04/06/15   Prepare motion to dismiss the complaint (portion regarding factual                                   GAC     2.60
           summary and legal standard).

04/06/15   Begin preparing motion to dismiss the complaint (portion regarding the                               GAC     2.20
           second claim for breach of the implied covenant good faith and fair
           dealing in the Alabama, Florida, and Tennessee Warehouse Distributor
           Agreements).

04/06/15   Prepare motion to dismiss the complaint (portion regarding the first claim GAC                               2.40
           for breach of the Alabama, Florida, and Tennessee Warehouse Distributor
           Agreements).

04/06/15   Stipulation to magistrate as judicial officer                                                        CED     0.30

04/06/15   Draft consent to magistrate judge                                                                    APR     0.10

04/07/15   Begin prepare motion to dismiss the complaint (portion regarding the                                 GAC     1.40
           fifth claim for declaration that terminating the Cook County Agreement
           would violate the Illinois Franchise Disclosure Act).

04/07/15
                          Computer research charges calculated per the LexisNexis Transactional Pricing Plan,

                                                     Exhibit 1,
                                                     Exhibit 1, Page
                                                                Page 17
                                                                     17
Guardian Case  1:15-cv-00321-SKO
         Protection
             Case   Products, Inc.
                  1:15-cv-00321-SKODocument
                                    Document534-4
                                             338-4 Filed
                                                   Filed09/12/23  Page910
                                                         02/13/18 Page    of
                                                                           68300
                                                                        June
                                                                        of    9, 2015
ID: GPPI 1104957                                                        Page 3
Invoice No.: 20278161


Date       Descri tion                                                                                         Init   Hours


04/07/15   Prepare motion to dismiss the complaint (portion regarding the twelfth                              GAC     3.10
           claim for breach of the implied covenant of good faith in the
           Pennsylvania, Mid-Atlantic, Cook County, Indiana, and Midwest
           Warehouse Distributor Agreements).

04/07/15


04/07/15   Analysis re                                                                                         CED     0.50


04/07/15   Review and analyze order from Court vacating scheduling conference                                  APR     0.10

04/07/15   Review and analyze order from Court assigning matter to Judge Oberto                                APR     0.10

04/08/15   Prepare motion to dismiss the complaint (portion regarding the six and                              GAC     1.10
           seventh claims for declaration that terminating the Iowa Franchise
           Agreement would violate Iowa franchise laws).

04/08/15   Continue preparing motion to dismiss the complaint (portion regarding                               GAC     2.60
           the fifth claim for declaration that terminating the Cook County
           Agreement would violate the Illinois Franchise Disclosure Act).

04/08/15   Begin preparing motion to dismiss the complaint (portion regarding the                              GAC     4.30
           six, seventh, eighth, and ninth claims for violation of the 1992 Iowa
           Franchise Act and the 2000 Iowa Franchise Act).

04/09/15   Continue preparing motion to dismiss the complaint (portion regarding                               GAC     1.20
           the six, seventh, eighth, and ninth claims for violation of the 1992 Iowa
           Franchise Act and the 2000 Iowa Franchise Act).

04/09/15   Prepare motion to dismiss the complaint (portion regarding the tenth                                GAC     5.30
           cause of action for negligence per se).

04/09/15   Exchange emails with clients                                                                        CED     0.30

04/10/15   Prepare motion to dismiss the complaint (portion regarding the eleventh                             GAC     5.20
           cause of action for violation of the North Carolina Uniform Deceptive
           Trade Practices Act).

04/10/15   Analysis re                                                                                         CED     0.60

04/10/15   Analysis re                                                                                         CED     0.50
                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit    Page 18
                                                            1, Page 18
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page10
                                                          02/13/18 Page  11June
                                                                           ofof68
                                                                                300
                                                                                 9, 2015
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20278161


Date       Description                                                                                         Init   Hours
           agreements

04/13/15   Prepare                                                                                             RJS     0.40

04/14/15   Revise and finalize motion to dismiss the complaint.                                                GAC     2.10

04/15/15   Review and revise motion to dismiss complaint                                                       CED     1.00

04/15/15   Analysis re                                                                                         CED     0.40

04/16/15   Pre pare corres ondence to                                                                          GAC     0.90


04/16/15   Finalize draft of motion to dismiss and revise email to client                                      CED     0.60


04/20/15   Analysis re                                                                                         CED     0.30

04/20/15   Analysis re                                                                                         CED     0.30

04/20/15   Exchange emails with client                                                                         CED     0.30

04/21/15   Continued analysis re                                                                               CED     0.30

04/22/15   Analysis re                                                                                         CED     0.40

04/22/15   Exchange emails with client re                                                                      CED     0.30

04/24/15   Review and revise                                                                                   CED     0.60

04/24/15   Prepare email to clients re                                                                         CED     0.80

04/27/15   Analysis re                                                                                         CED     0.50

04/27/15   Exchange emails with client re                                                                      CED     0.60

04/29/15   Analysis re                                                                                         CED     0.40

04/30/15   Exchange emails with client re                                                                      CED     0.30

04/30/15   Telephone with client                                                                               CED     0.30


                         TOTAL FOR SERVICES                                                             $19,722.00

                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit    Page 19
                                                            1, Page 19
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       12June
                                                                    Page11
                                                          02/13/18 Page    ofof689, 2015
                                                                                300
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20278161


                                                Services Recap
Init      Name                                        Title                                           Rate   Hours     Amount
APR       Aaron Rudin                                 Senior Counsel                                375.00     2.10      562.50
CED       Calvin Davis                                Senior Partner                                420.00    11.10    4,662.00
GAC       Gary Collis                                 Senior Counsel                                375.00   38.50    14,437.50
RJS       Randall Stubblefield                        Paralegal                                     150.00     0.40       60.00




                       Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                  Exhibit 1,
                                                  Exhibit 1, Page
                                                             Page 20
                                                                  20
           Case 1:15-cv-00321-SKO
             Case                 GORDON
                  1:15-cv-00321-SKO Document &338-4
                                                REESFiled
                                     Document534-4    LLP09/12/23
                                                    Filed           Page12
                                                          02/13/18 Page  13ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 June 10, 2015
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20278282
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                         BILLING SUMMARY THROUGH May 31, 2015
Fees For Professional Services:                                                                                  $23,245.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 21
                                                                      21
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       14June
                                                                    Page13
                                                          02/13/18 Page    ofof6810, 2015
                                                                                300
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20278282

                                            Professional Services

Date       Description                                                                                         Init   Hours
04/15/15   Review and analysis of                                                                              GAC     5.10



05/04/15   Analysis re                                                                                         CED     0.20

05/14/15   Review client emails                                                                                CED     0.30

05/14/15   Exchange emails with clients re                                                                     CED     0.40


05/14/15   Telephone with                                                                                      CED     0.70


05/15/15   Review                                                                                              CED     0.30

05/18/15   Exchan e corres ondence with                                                                        GAC     0.20



05/18/15   Review and analysis of Judge Oberto's requirements regarding issues for                             GAC     1.10
           discussion at the Early Meeting of Counsel and the content of the
           Discovery Plan in preparation for mandatory conference with plaintiffs
           counsel.

05/18/15   Exchange correspondence with Attorney Dylan Liddiard regarding items                                GAC     0.20
           for discussion during Early Meeting of Counsel.

05/18/15   Analysis re                                                                                         CED     0.40


05/19/15   Pre are corres ondence to                                                                           GAC     0.40



05/19/15   Prepare                                                                                             GAC     0.60

05/19/15   Exchan e corres ondence with                                                                        GAC     0.30


05/19/15   Prepare for Rule 26 Early Meeting of Counsel with lawyers for plaintiff                             GAC     1.10
           G.P.P.

                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit 1, Page
                                                                Page 22
                                                                     22
         Protection
Guardian Case
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       15June
                                                                    Page14
                                                          02/13/18 Page    ofof6810, 2015
                                                                                300
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20278282


Date       Description                                                                                           Init   Hours
05/19/15   Participate in Rule 26 Early Meeting of Counsel.                                                      GAC     0.70

05/19/15   Conference call with plaintiffs counsel re scheduling order                                           CED     0.50

05/19/15   Analysis re                                                                                           CED     0.40

05/19/15   Preparation for conference with opposing counsel for purposes of                                      CED     0.50
           preparing Joint Scheduling Report

05/20/15   Prepare correspondence to                                                                             GAC     0.10


05/20/15   Review and anal sis of                                                                                GAC     0.40



05/20/15   Review and analysis of                                                                                GAC     3.20


05/21/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     3.20
           regarding the duplicative nature of the contract and implied covenant
           claims).

05/21/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     2.40
           regarding the defects in the contract claims).

05/21/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     2.20
           regarding the time limitations of the Iowa Franchise Act of 2000).

05/21/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     0.40
           regarding the Iowa franchise laws' geographic limits).

05/21/15   Analysis re                                                                                           CED     0.30

05/21/15   Anal sis re o     osition to motion to dismiss and                                                    CED     0.40


05/22/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     1.30
           regarding the Iowa franchise laws' geographic limits).

05/22/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     5.10
           regarding GPP's failure to adequately allege facts showing standing to
           assert its various claims).

05/22/15   Prepare reply to the opposition to the motion to dismiss (portion                                     GAC     1.80
                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1,
                                                      Exhibit    Page 23
                                                              1, Page 23
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       16June
                                                                    Page15
                                                          02/13/18 Page    ofof6810, 2015
                                                                                300
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20278282


Date       Description                                                                                         Init   Hours
           regarding choice of law as it pertains to the "negligence per se" claim).

05/26/15   Finalize reply to the opposition to the motion to dismiss (portion                                  GAC     1.00
           regarding the geographic reach of the North Carolina Unfair and
           Deceptive Trade Practices Act).

05/26/15   Analysis re                                                                                         CED     0.40

05/26/15   Analysis re                                                                                         CED     0.50

05/26/15   Review and revise reply in support of motion to dismiss                                             CED     1.00

05/27/15   Prepare reply to the opposition to the motion to dismiss (portion                                   GAC     5.50
           regarding choice of law as it pertains to the North Carolina Unfair and
           Deceptive Trade Practices claim).

05/27/15   Pre are cones ondence to                                                                            GAC     0.70


05/27/15   Pre are cones ondence to                                                                            GAC     1.20


05/27/15   Exchange emails with client re                                                                      CED     0.30

05/27/15   Revise email to clients re                                                                          CED     0.30

05/27/15   Analysis re                                                                                         CED     0.30


05/28/15   Research ublic records for                                                                          GAC     3.30




05/28/15   Begin preparing Guardian's supplemental brief regarding the California                              GAC     0.70
           choice-of-law provision per the Court's Order.

05/28/15   Review and analysis of                                                                              GAC     3.30




05/28/15   Prepare correspondence to                                                                           GAC     0.50

                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                    Exhibit 1,
                                                    Exhibit    Page 24
                                                            1, Page 24
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       17June
                                                                    Page16
                                                          02/13/18 Page    ofof6810, 2015
                                                                                300
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20278282


Date       Description                                                                                          Init          Hours

05/28/15   Exchange emails with clients re                                                                      CED              0.40

05/28/15   Prepare email to plaintiffs counsel re hearing on motion to dismiss                                  CED              0.30

05/28/15   Analysis re                                                                                          CED              0.30

05/28/15   Review order from the court re supplemental briefing and continuance                                 CED              0.30

05/29/15   Review and analysis of                                                                               GAC              1.20


05/29/15   Prepare correspondence to Attorney Moe Fodeman regarding changing                                    GAC              0.30
           proposed deadlines in the Joint Scheduling Conference Report to reflect
           Court's lengthy continuance of the hearing on the motion to dismiss.

05/29/15   Pre are correspondence to                                                                            GAC              0.80




05/29/15   Begin preparing supplemental brief regarding California choice-of-law                                GAC              2.60
           provision in the Warehousing Distributor Agreements per Court Order.

05/29/15   Review new order from court continuing dates for motion to dismiss and                               CED              0.40
           scheduling conference, analysis re additional time for scheduling order
           submissions

05/29/15   Analysis re                                                                                          CED              0.40

05/29/15   Analysis re                                                                                          CED              0.40

05/29/15   Revise email to clients re                                                                           CED              0.20


                          TOTAL FOR SERVICES                                                             $23,245.50


                                                   Services Recap
Init       Name                                          Title                                          Rate       Hours     Amount
CED        Calvin Davis                                  Senior Partner                                420.00        9.90    4,158.00
GAC        Gary Collis                                   Senior Counsel                                375.00       50.90   19,087.50


                          Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 25
                                                                      25
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page17
                                                          02/13/18 Page  18ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




                                                                                                 July 17, 2015
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20286627
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                         BILLING SUMMARY THROUGH June 30, 2015
Fees For Professional Services:                                                                                  $19,846_50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.



                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 26
                                                                      26
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page18
                                                          02/13/18 Page  19July
                                                                           ofof68
                                                                                300
                                                                                17, 2015
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20286627

                                            Professional Services

Date       Description                                                                                         Init   Hours
06/01/15   Revise and finalize                                                                                 GAC     1.00

06/01/15   Be inpreparingsu        lemental brief in support of motion to dismiss                              GAC     2.20




06/01/15   Exchange correspondence with                                                                        GAC     0.40


06/01/15   Exchange emails with client re                                                                      CED     0.30

06/02/15   Review and anal sis of laintiffs sur-re 1                                                           GAC     1.20


06/02/15   Prepare correspondence to                                                                           GAC     0.30


06/02/15   Prepare correspondence to Attorney Craig Bolton regarding proposal to                               GAC     0.20
           extend proposed completion deadlines in the Joint Scheduling Report in
           light of the court's continuance of the hearing on the motion to dismiss.

06/02/15   Pre are corres ondence to                                                                           GAC     0.20



06/02/15   Prepare correspondence to                                                                           GAC     0.20


06/02/15   Review and anal sis of laintiffs sur-re 1                                                           GAC     1.20


06/02/15   Begin drafting supplemental brief at Court's direction in support of the                            GAC     4.40
           motion to dismiss and




06/02/15   Telephone conference with Foley & Lardner regarding plaintiffs delayed                              GAC     0.30
           filing of the sur-reply (ordered by the Court) regarding choice-of-law.

06/02/15   Prepare email to client re                                                                          CED     0.30
                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit 1, Page
                                                               Page 27
                                                                    27
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       20July
                                                                    Page19
                                                          02/13/18 Page         17, 2015
                                                                           ofof68
                                                                                300
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20286627


Date       Descri tion                                                                                         Init   Hours
06/02/15   Analysis re                                                                                         CED     0.30

06/03/15   Begin drafting supplemental brief at Court's direction in support of the                            GAC     3.80
           motion to dismiss and




06/04/15   Begin drafting sup lemental brief at Court's direction in support of the                            GAC     4.10
           motion to dismiss



06/04/15   Revise and finalize su       lemental brief at Court's direction in support of                      GAC     4.20
           the motion to dismiss

06/08/15   Pre are corres ondence to                                                                           GAC     1.10



06/08/15   Review and revise                                                                                   CED     0.30

06/09/15   Prepare correspondence to Attorney Craig Bolton regarding proper                                    GAC     0.20
           method for serving correspondence and other documents during the
           course of the litigation.

06/09/15   Prepare correspondence to Attorney Dylan Liddiard regarding proposed                                GAC     0.20
           deadlines set forth in Joint Report of Early Meeting of Counsel.

06/09/15   Revise and finalize                                                                                 GAC     0.70

06/09/15   Analysis re                                                                                         CED     0.30

06/11/15   Research                                                                                            GAC     2.10




06/11/15   Be in researchin                                                                                    GAC     0.60



06/11/15   Prepare memo re                                                                                     GAC     2.20
                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit    Page 28
                                                             1, Page 28
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       21July
                                                                    Page20
                                                          02/13/18 Page         17, 2015
                                                                           ofof68
                                                                                300
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20286627


Date       Description                                                                                         Init   Hours


06/11/15   Research                                                                                            GAC     1.40




06/11/15   Analysis re                                                                                         CED     0.40

06/12/15   Research                                                                                            GAC     1.40




06/12/15   Research                                                                                            GAC     2.30




06/12/15   Research                                                                                            GAC     2.10




06/12/15   Research                                                                                            GAC     1.10




06/12/15   Research                                                                                            GAC     0.50




                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit 1, Page
                                                               Page 29
                                                                    29
Guardian Case
         Protection
            Case    Products, Inc.
               1:15-cv-00321-SKO
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23       22July
                                                                    Page21
                                                          02/13/18 Page         17, 2015
                                                                           ofof68
                                                                                300
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20286627


Date       Descri tion                                                                                          Init           Hours


06/15/15   Exchange correspondence with Attorney Craig Bolton regarding the                                     GAC              0.50
           upcoming hearing on the motion to dismiss the complaint.

06/15/15   Prepare for the hearing on Guardian's motion to dismiss the complaint.                               GAC              1.70

06/15/15   Exchange emails with client re                                                                       CED              0.40

06/15/15   Exchange emails with client re                                                                       CED              0.30

06/15/15   Analysis re                                                                                          CED              0.50

06/15/15   Exchange emails with opposing counsel re motion to dismiss,                                          CED              0.40


06/16/15   Prepare for hearing on motion to dismiss the complaint.                                              GAC              2.20

06/17/15   Research                                                                                             GAC              1.60



06/29/15   Analysis re                                                                                          CED              0.40

06/29/15   Exchange emails with client re                                                                       CED              0.10


06/30/15   Review and analysis of Court's 28- a e Order in res onse to Guardian's                               GAC              1.50
           motion to dismiss;

06/30/15   Analysis re                                                                                          CED              0.50

06/30/15   Review and analysis of order on motion to dismiss                                                    CED              0.70


                          TOTAL FOR SERVICES                                                             $19,846.50


                                                   Services Recap
Init       Name                                          Title                                          Rate       Hours     Amount
CED        Calvin Davis                                  Senior Partner                                420.00        5.20    2,184.00
GAC        Gary Collis                                   Senior Counsel                                375.00       47.10   17,662.50


                          Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit 1, Page
                                                                Page 30
                                                                     30
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page22
                                                          02/13/18 Page  23ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                  August 6, 2015
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20290309
                                                                                                  Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                         BILLING SUMMARY THROUGH July 31, 2015
Fees For Professional Services:                                                                                  $45,801.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 31
                                                                      31
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page23
                                                          02/13/18 Page  24August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20290309

                                               Professional Services

Date       Descri tion                                                                                           Init   Hours
07/01/15   Pre are for                                                                                           GAC     1.20


07/01/15   Analysis re                                                                                           CED     0.50


07/01/15   Prepare email to client re                                                                            CED     0.30

07/01/15   Pre are for conference call with clients                                                              CED     1.50



07/01/15   Exchange emails with client re                                                                        CED     0.40


07/01/15   Revise email to client re                                                                             CED     0.30

07/01/15   Analyze                                                                                               APR     0.60


07/02/15   Telephone with client                                                                                 CED     0.60

07/06/15   Research                                                                                              GAC     2.00



07/06/15   Research                                                                                              GAC     4.50



07/06/15   Prepare                                                                                               GAC     0.70

07/06/15   Strategy call                                                                                         GAC     0.70


07/06/15   Analysis re                                                                                           CED     0.50

07/06/15   Analysis re                                                                                           CED     0.60

07/06/15   Review                                                                                                CED     0.60

07/06/15   Conference call with clients                                                                          CED     0.70
                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 32
                                                                      32
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page24
                                                          02/13/18 Page  25August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20290309


Date       Description                                                                                         Init   Hours

07/07/15   Review and anal sis of                                                                              GAC     4.20



07/07/15   Review and analysis of                                                                              GAC     2.40
           III

07/07/15   Analysis re                                                                                         CED     0.70


07/07/15   Analysis re                                                                                         CED     0.50


07/08/15   Prepare answer to the complaint in the federal style (i.e., specificallyGAC                                 8.20
           admittingor denyin each factual assertion); review



07/08/15   Analysis re                                                                                         CED     0.30

07/08/15   Analysis re                                                                                         CED     0.50

07/09/15   Review and analysis of                                                                              GAC     0.90



07/09/15   Prepare draft email to clients regarding                                                            GAC     0.70

07/09/15   Continue preparing answer to the complaint in the federal style (i.e.,                              GAC     6.30
           specifically admitting or denyingeach factual assertion);



07/09/15   Analysis re                                                                                         CED     0.40

07/09/15   Analysis re                                                                                         CED     0.50

07/10/15   Begin drafting counterclaim against G.P.P.                                                          GAC     7.80

07/10/15   Analysis re                                                                                         CED     0.50


07/13/15   Finalize counter-claim against G.P.P.                                                               GAC     2.80

                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit    Page 33
                                                             1, Page 33
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page25
                                                          02/13/18 Page  26August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20290309


Date       Description                                                                                         Init   Hours
07/13/15   Review draft answer and affirmative defenses to complaint                                           CED     1.10

07/13/15   Analysis re                                                                                         CED     0.40


07/14/15   Continue preparing counterclaim                                                                     GAC     2.30

07/15/15   Review and analysis of plaintiffs motion for "clarification" or,                                    GAC     0.60
           alternatively, interlocutory appeal.

07/15/15   Review and analysis of plaintiffs First Amended Complaint and conduct                               GAC     0.80
           line by line comparison with original complaint.

07/15/15   Pre are corres ondence to the clients                                                               GAC     0.50



07/15/15   Revise email to client re                                                                           CED     0.30


07/15/15   Analysis re                                                                                         CED     0.50

07/16/15   Prepare answer to the First Amended Complaint.                                                      GAC     1.60

07/16/15   Review and analysis                                                                                 GAC     1.10



07/16/15   Review revised answer to amended complaint                                                          CED     0.50

07/16/15   Analysis re                                                                                         CED     0.50


07/16/15   Revise lengthy email to client                                                                      CED     0.60


07/16/15   Review of amended pleading to evaluate new California claims                                        CED     0.70

07/16/15   Review GIS motion for clarification of order dismissing North Carolina                              CED     0.40
           cause of action

07/17/15   Finalize draft of Answer and correspondence to client re                                            CED     0.50

07/21/15   Review and analysis of corder re motion for clarification on dismissal of                           CED     0.70
           North Carolina UCL cause of action
                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit    Page 34
                                                            1, Page 34
Guardian Case   1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page26
                                                          02/13/18 Page  27August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20290309


Date       Description                                                                                         Init   Hours

07/21/15   Analysis re responsive pleading to first amended complaint                                          CED     0.30

07/22/15   Exchan e corres ondence with                                                                        GAC     0.50


07/22/15   Tele hone conference with                                                                           GAC     0.20



07/22/15   Telephone conference with clerk of the District Court regarding                                     GAC     0.10
           Guardian's deadline for responding to the motion for reconsideration.

07/22/15   Begin preparing opposition to plaintiff's motion for reconsideration of                             GAC     1.20
           dismissal of North Carolina Unfair and Deceptive Trade Practices Act
           (portion regarding the correctness of the court's prior conclusion that the
           claimed violation of the FTC Franchise Rule in connection with the
           Warehousing Distributor Agreement is "related to" those contracts and,
           thus, governed by the California choice of law provision therein.)

07/22/15   Review and analysis of District Court's order setting deadlines for                                 GAC     0.60
           responding to GIS's First Amended Complaint and motion for
           reconsideration; consider erroneously calculated deadlines in the court's
           order.

07/22/15   Begin preparing opposition to plaintiffs motion for reconsideration of                              GAC     1.80
           order dismissing claim under the North Carolina Unfair and Deceptive
           Trade Practices Act (portion regarding standard for reconsideration.)

07/22/15   Prepare opposition to plaintiffs motion for reconsideration of dismissal of GAC                             3.60
           North Carolina Unfair and Deceptive Trade Practices Act (portion
           regarding inapplicability of non-California choice of law rules, including
           the North Carolina rules relied upon by GIS.)

07/22/15   Review amended order from court re responsive pleading                                              CED     0.10

07/22/15   Analysis re opposition to motion for clarification of order on motion to                            CED     0.40
           dismiss

07/22/15   Analysis re discussions with clerk re deadlines for opposition to                                   CED     0.40
           clarification motion, responsive pleading

07/23/15   Continue preparing opposition to plaintiffs motion for reconsideration of                           GAC     2.50
           dismissal of North Carolina Unfair and Deceptive Trade Practices Act
           (portion regarding the correctness of the court's prior conclusion that the
                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit    Page 35
                                                             1, Page 35
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page27
                                                          02/13/18 Page  28August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page 6
Invoice No.: 20290309


Date       Description                                                                                         Init   Hours
           claimed violation of the FTC Franchise Rule in connection with the
           Warehousing Distributor Agreement is "related to" those contracts and,
           thus, governed by the California choice of law provision therein.)

07/23/15   Prepare opposition to plaintiffs motion for reconsideration of dismissal of GAC                             2.10
           North Carolina Unfair and Deceptive Trade Practices Act (portion
           regarding the argument that Guardian's purported offer of the "2015 Form
           Agreement" was "related to" the existing Warehousing Distributor
           Agreements and, thus, governed by the California choice of law provision
           therein.)

07/23/15   Prepare opposition to plaintiffs motion for certification of dismissal order GAC                            3.20
           for interlocutory appeal.

07/23/15   Prepa   correspondence to                                                                           GAC     0.20


07/23/15   Exchange emails with client re                                                                      CED     0.40

07/24/15   Pre are corres ondence to                                                                           GAC     0.30


07/24/15   Finalize opposition to motion for reconsideration and interlocutory appeal                          GAC     2.70

07/24/15   Prepare Answer to the First Amended Complaint                                                       GAC     2.80

07/24/15   Revise Counterclaim                                                                                 GAC     2.20

07/24/15   Review and revise opposition to motion for clarification of order                                   CED     1.00
           dismissing North Carolina UCL claims, prepare

07/24/15   Review motion for clarification of order dismissing North Carolina UCL                              CED     0.50
           claim

07/24/15   Analysis re                                                                                         CED     0.50

07/24/15   Finalize answer based on                                                                            CED     0.40


07/24/15


07/27/15   Telephone conference with                                                                           GAC     0.50


                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit 1, Page
                                                                Page 36
                                                                     36
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page28
                                                          02/13/18 Page  29August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page  7
Invoice No.: 20290309


Date       Description                                                                                         Init   Hours
07/27/15   Review and analysis of                                                                              GAC     1.20



07/27/15   Review and anal sis of                                                                              GAC     0.80


07/27/15   Prepa   correspondence to                                                                           GAC     1.10


07/27/15         revisin counterclaim and
           Continue                                                                                            GAC     4.20


07/27/15


07/27/15   Develop                                                                                             CED     0.50


07/27/15   Analysis re                                                                                         CED     0.60


07/27/15   Review and revise email to client re                                                                CED     0.40

07/27/15   Review and revise counterclaim                                                                      CED     1.50

07/28/15   Revise corres ondence to                                                                            GAC     0.10


07/28/15   Review and analysis of corres ondence, memos, and other documents                                   GAC     2.20
           provided by


07/28/15   Tele hone conference with                                                                           GAC     0.50


07/28/15   Review and analysis of                                                                              GAC     3.90



07/28/15   Pre are memorandum re ardin telephone conference with                                               GAC     0.40


07/28/15   Analysis re                                                                                         CED     0.60

                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit    Page 37
                                                            1, Page 37
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page29
                                                          02/13/18 Page  30August
                                                                           ofof68
                                                                                3006, 2015
ID: GPPI 1104957                                                           Page 8
Invoice No.: 20290309


Date       Description                                                                                          Init           Hours

07/28/15   Further analysis re                                                                                  CED              0.40

07/28/15   Finalize revisions to counterclaim                                                                   CED              1.00

07/28/15   Revise email to client re                                                                            CED              0.50

07/28/15   Further analysis re                                                                                  CED              0.40

07/29/15   Analysis re                                                                                          CED              0.50


07/29/15   Exchange emails with client re                                                                       CED              0.20

07/31/15   Review and analysis of                                                                               GAC              2.20


07/31/15   Analysis re                                                                                          CED              0.30

07/31/15   Finalize counterclaim and opposition for motion for reconsideration                                  CED              0.50


                          TOTAL FOR SERVICES                                                             $45,801.00


                                                   Services Recap
Init       Name                                          Title                                           Rate      Hours     Amount
APR        Aaron Rudin                                   Senior Counsel                                375.00        0.60      225.00
CED        Calvin Davis                                  Senior Partner                                420.00       27.80   11,676.00
GAC        Gary Collis                                   Senior Counsel                                375.00       90.40   33,900.00




                          Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1,
                                                     Exhibit 1, Page
                                                                Page 38
                                                                     38
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page30
                                                          02/13/18 Page  31ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                  September 8, 2015
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20297158
                                                                                                  Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                       BILLING SUMMARY THROUGH August 31, 2015
Fees For Professional Services:                                                                                   $7,863.00




1111            1
11111111111111•11




                           Computer research charges calculated per the Lex isNexis Transactional Pricing Plan.


                                                       Exhibit 1,
                                                       Exhibit 1, Page
                                                                  Page 39
                                                                       39
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page31
                                                          02/13/18 Page  32September
                                                                           ofof68
                                                                                300 8, 2015
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20297158

                                            Professional Services

Date       Description                                                                                         Init   Hours
08/04/15   Pre are corres ondence to                                                                           GAC     0.50


08/04/15   Review and anal sis of client documents                                                             GAC     1.80




08/04/15   Exchange emails with client re                                                                      CED     0.40

08/05/15   Revise Joint Report of Earl Meetin of Counsel                                                       GAC     2.80




08/06/15   Revise document demands                                                                             GAC     2.50


08/07/15   Analysis re                                                                                         CED     0.30

08/07/15   Analysis re                                                                                         CED     0.30


08/10/15   Review and revise joint scheduling report                                                           CED     0.40

08/10/15   Analysis re                                                                                         CED     0.40

08/11/15   Revise Joint Report of Early Meeting of Counsel.                                                    GAC     0.40

08/11/15   Prepare correspondence to Attorney Craig Bolton regarding joint report                              GAC     0.20
           of early meeting of counsel.

08/12/15   Review and anal sis of                                                                              GAC     0.80



08/12/15   Analysis re                                                                                         CED     0.80

08/12/15   Tele hone with                                                                                      CED     0.30


08/12/15   Exchange emails with clients re                                                                     CED     0.30
                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit 1, Page
                                                               Page 40
                                                                    40
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page32
                                                          02/13/18 Page  33September
                                                                           ofof68
                                                                                300 8, 2015
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20297158


Date       Description                                                                                         Init   Hours

08/13/15   Exchange correspondence with Attorney Dylan Liddiard regarding                                      GAC     0.50
           plaintiffs request for an extended deadline to respond to cross-complaint.

08/14/15   Review and analysis of Court's Order denying Plaintiffs Motion for                                  GAC     1.10
           Reconsideration of Dismissal of North Carolina Uniform Deceptive
           Trade Practices Act claim and Motion for Certification of Immediate
           Appeal; prepare correspondence to


08/14/15   Analysis re order denying motion to clarify or certify for appeal court's                           CED     0.80
           earlier ruling dismissing North Carolina UCL claims and affirming
           California choice of law, prepare

08/17/15   Review and anal sis                                                                                 GAC     1.30



08/18/15   Analysis re                                                                                         CED     0.40

08/21/15   Prepare correspondence to Attorney Craig Bolton regarding upcoming                                  GAC     0.10
           Mandatory Scheduling Conference.

08/21/15   Analysis re upcoming scheduling conference                                                          CED     0.20

08/24/15   Analysis re                                                                                         CED     0.40


08/25/15   Prepare for and participate in Mandatory Scheduling Conference.                                     GAC     1.80

08/25/15   Analysis re                                                                                         CED     0.30

08/26/15   Review and analysis                                                                                 CED     0.40

08/26/15   Exchange emails with client re                                                                      CED     0.20

08/27/15   Exchange emails with client                                                                         CED     0.20

08/28/15   Exchan e emails with client re                                                                      CED     0.30



                         TOTAL FOR SERVICES                                                               $7,863.00


                         Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                    Exhibit 1,
                                                    Exhibit    Page 41
                                                            1, Page 41
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page33
                                                          02/13/18 Page  34September
                                                                           ofof68
                                                                                300 8, 2015
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20297158

                                                 Services Recap
Init     Name                                          Title                                           Rate   Hours    Amount
CED      Calvin Davis                                  Senior Partner                                420.00     6.40   2,688.00
GAC      Gary Collis                                   Senior Counsel                                375.00    13.80   5,175.00




                        Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                   Exhibit 1,
                                                   Exhibit 1, Page
                                                              Page 42
                                                                   42
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page34
                                                          02/13/18 Page  35ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




Mir
                                                                                                  October 6, 2015
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20303978
                                                                                                  Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                     BILLING SUMMARY THROUGH September 30, 2015
Fees For Professional Services:                                                                                  $4,948.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                       Exhibit 1,
                                                       Exhibit 1, Page
                                                                  Page 43
                                                                       43
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page35
                                                          02/13/18 Page  36October
                                                                           ofof68
                                                                                300 6, 2015
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20303978

                                        Professional Services

Date       Description                                                     Init          Hours
09/17/15   Telephone conference with                                       GAC            0.60


09/17/15   Review and analysis of                                          GAC                1.40



09/17/15   Telephone with client                                           CED                0.40

09/18/15   Review and anal sis of memo and information re ardin            GAC                1.10



09/18/15   Continue review and anal sis of                                 GAC            1.20




09/18/15   Prepare email to client re                                      CED                0.50

09/18/15   Analysis                                                        CED                0.70


09/18/15   Review and revise email to client re                            CED            0.40

09/21/15   Review emails from clients re                                   CED            0.20

09/21/15   Revise email to client re                                       CED            0.30

09/21/15   Anal sis re answer filed by plaintiff                           CED            0.40


09/22/15   Review and analysis of                                          GAC            2.40



09/22/15   Review and revise email to client re                            CED            0.80


09/22/15   Pre are email to clients regarding                              CED            0.60




                                             Exhibit 1,
                                             Exhibit 1, Page
                                                        Page 44
                                                             44
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page36
                                                          02/13/18 Page  37October
                                                                           ofof68
                                                                                300 6, 2015
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20303978


Date       Description                                                      Init        Hours
09/22/15   Exchange emails with client re                                   CED          0.40

09/24/15   Conference call with                                             CED            0.70


09/24/15   Analysis re                                                      CED            0.40


                          TOTAL FOR SERVICES                         $4,948.50


                                            Services Recap
Init       Name                               Title                  Rate     Hours    Amount
CED        Calvin Davis                       Senior Partner       420.00      5.80    2,436.00
GAC        Gary Collis                        Senior Counsel       375.00      6.70    2,512.50




                                            Exhibit 1,
                                            Exhibit 1, Page
                                                       Page 45
                                                            45
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page37
                                                          02/13/18 Page  38ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




Er-
                                                                                                  November 4, 2015
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20310642
                                                                                                  Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                      BILLING SUMMARY THROUGH October 31, 2015
Fees For Professional Services:                                                                                  $2,562.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                       Exhibit 1,
                                                       Exhibit 1, Page
                                                                  Page 46
                                                                       46
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page38
                                                          02/13/18 Page  39November
                                                                           ofof68
                                                                                300 4, 2015
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20310642

                                          Professional Services

Date       Description                                                                Init   Hours
10/01/15   Prepare email to clients                                                   CED     0.20

10/13/15   Exchange emails with clients re                                            CED     0.40


10/13/15   Telephone with Lockerby re potential settlement of matter                  CED     0.30

10/16/15   Analysis re                                                                CED     0.30

10/19/15   Exchange communications with M. Lockerby, plaintiffs counsel re            CED     0.30
           scheduling discussion re settlement

10/19/15   Exchange emails with clients re                                            CED     0.30


10/21/15   Prepare for conference call with counsel for plaintiff                     CED     0.40

10/21/15   Analysis re                                                                CED     0.40

10/22/15   Prepare email to clients re                                                CED     0.40

10/22/15   Prepare for conference call with counsel for plaintiff by review of        CED     0.40
           pleadings and scheduling order with court

10/22/15   Conference call with counsel for plaintiff regarding settlement            CED     0.70

10/27/15   Finalize email to clients re                                               CED     0.40

10/29/15   Exchange emails with plaintiffs counsel re                                 CED     0.30

10/29/15   Exchange emails with clients re                                            CED     0.40

10/30/15   Review letter from                                                         CED     0.40


10/30/15   Review deposition notices                                                  CED     0.30

10/30/15   Exchange emails with Lockerby re conference call                           CED     0.20


                         TOTAL FOR SERVICES                                      $2,562.00



                                             Exhibit 1,
                                             Exhibit 1, Page
                                                        Page 47
                                                             47
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page39
                                                          02/13/18 Page  40November
                                                                           ofof68
                                                                                300 4, 2015
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20310642


                                    Services Recap
Init      Name                         Title                       Rate    Hours     Amount
CED       Calvin Davis                 Senior Partner            420.00     6.10     2,562.00




                                     Exhibit 1,
                                     Exhibit 1, Page
                                                Page 48
                                                     48
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page40
                                                          02/13/18 Page  41ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 December 10, 2015
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20319136
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                     BILLING SUMMARY THROUGH November 30, 2015
Fees For Professional Services:                                                                                  $10,281.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.


                                                       Exhibit 1,
                                                       Exhibit 1, Page
                                                                  Page 49
                                                                       49
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page41
                                                          02/13/18 Page  42December
                                                                           ofof68
                                                                                300 10, 2015
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20319136

                                         Professional Services

Date       Description                                                              Init   Hours
09/11/15   Prepare document demands, set one                                        GAC     3.10

09/11/15   Prepare interrogatories, set one                                         GAC     2.80

11/02/15   Prepare for settlement conference call with Lockerby and Williams        CED     0.30

11/02/15   Settlement conference call with Lockerby and Williams                    CED     0.00

11/02/15   Prepare email to clients re                                              CED     0.40


11/02/15   Analysis re                                                              CED     0.50

11/05/15   Exchange emails with plaintiffs counsel re proposed settlement meeting   CED     0.30

11/05/15   Exchange emails with clients re                                          CED     0.30

11/06/15   Review and analysis of deposition notices of Guardian's person most      GAC     0.60
           qualified Kenneth Nota Ronald Holman Johnn Green and Chris
           Taylor


11/06/15   Prepare email to Stu Williams re settlement meeting                      CED     0.30

11/09/15   Review email from Stu Williams re settlement meeting                     CED     0.30

11/09/15   Exchange emails with clients re                                          CED     0.30

11/12/15   Exchange emails with                                                     CED     0.20

11/13/15   Exchange emails with Williams re mediation meeting                       CED     0.40

11/16/15   Exchange emails with                                                     CED     0.30

11/17/15   Review email from Williams re settlement discussion logistics            CED     0.20

11/17/15   Prepare email to clients                                                 CED     0.30

11/18/15   Begin preparing responses to interrogatories (set one)                   GAC     0.60

11/18/15   Begin preparing responses to requests for admission (set one)            GAC     0.70



                                              Exhibit 1,
                                              Exhibit 1, Page
                                                         Page 50
                                                              50
Guardian Case  1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page42
                                                          02/13/18 Page  43December
                                                                           ofof68
                                                                                300 10, 2015
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20319136


Date       Description                                                              Init   Hours
11/18/15   Exchan e emails with clients re                                          CED     0.30


11/18/15   Brief review of incoming discovery and prepare email to                  CED     0.40

11/18/15   Prepare email to S. Williams re refusal to hold mediation meeting with   CED     0.30
           counsel present

11/19/15   Review and anal sis of                                                   GAC     2.60




11/19/15   Revise interrogatories (set one)                                         GAC     0.80

11/19/15   Revise document demands (set one)                                        GAC     0.90

11/19/15   Analysis re                                                              CED     0.40

11/19/15   Analysis re additional written discovery needed                          CED     0.70

11/20/15   Analysis re                                                              CED     0.40

11/22/15   Exchange emails with client re                                           CED     0.40

11/23/15   Continue preparing draft responses to interrogatories                    GAC     1.10

11/23/15   Continue preparing draft responses to document demands                   GAC     2.20

11/23/15   Continue preparing draft responses to requests for admission             GAC     1.60

11/23/15   Analysis re                                                              CED     0.40

11/23/15   Exchange emails with Williams re settlement meeting                      CED     0.30

11/25/15   Analysis re                                                              CED     0.40

11/25/15   Provide                                                                  CED     0.30

11/30/15   Exchange emails with Williams re settlement meeting                      CED     0.20

11/30/15   Prepare email to clients re                                              CED     0.30

11/30/15   Telephone with Stu Williams re settlement meeting                        CED     0.40



                                              Exhibit 1,
                                              Exhibit    Page 51
                                                      1, Page 51
Guardian Case   1:15-cv-00321-SKO
         Protection
            Case    Products, Inc.
                  1:15-cv-00321-SKO Document
                                     Document534-4
                                              338-4 Filed
                                                    Filed 09/12/23  Page43
                                                          02/13/18 Page  44December
                                                                           ofof68
                                                                                300 10, 2015
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20319136


                         TOTAL FOR SERVICES                        $10,281.00


                                     Services Recap
Init      Name                           Title                    Rate      Hours    Amount
CED       Calvin Davis                   Senior Partner          420.00       9.30   3,906.00
GAC       Gary Collis                    Senior Counsel          375.00      17.00   6,375.00




                                       Exhibit 1,
                                       Exhibit 1, Page
                                                  Page 52
                                                       52
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO             REESFiled
                                             &338-4   LLP09/12/23
                                                    Filed           Page44
                                                          02/13/18 Page  45ofof68
                                                                                300
                                                        www.gordomees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




                                                                                                 January 6, 2016
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20322329
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.


                     BILLING SUMMARY THROUGH December 31, 2015
Fees For Professional Services:                                                                                  $16,365.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 53
                                                                      53
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page45
                                                            02/13/18 Page  46ofof68
                                                                           January300
                                                                                    6, 2016
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20322329

                                         Professional Services

Date       Description                                                               Init   Hours
12/01/15   Exchange emails with clients re                                           CED     0.30

12/01/15   Exchange emails with Williams re settlement meeting and confidentiality   CED      0.40

12/04/15   Prepare correspondence to Attorney Dylan Liddiard regarding               GAC      0.20
           depositions.

12/04/15   Analysis re (11111111111111111111111.1.                                   CED      0.50

12/04/15   Analysis re                                                               CED      0.20

12/04/15   Exchange emails with plaintiffs counsel re participants at meeting and    CED      0.30
           confidential nature of the meeting

12/07/15   Prepare correspondence to Dylan Liddiard regarding deposition of          GAC      0.10
           Guardian's person most qualified.

12/07/15   Review and analysis of                                                    GAC      0.30


12/07/15   Pre are corres ondence to clients                                         GAC      0.30


12/07/15   Review and analysis of                                                    GAC      0.40




12/07/15   Analysis                                                                  CED      0.60

12/07/15   Review and revise interrogatories and document production requests to     CED      0.70
           plaintiff

12/07/15   Prepare email to clients re                                               CED      0.50

12/07/15   Prepare email to clients re                                               CED      0.40

12/08/15   Further revisions to interrogatories and requests for production          CED      0.50

12/08/15   Revise and finalize email to clients re                                   CED      0.40

12/08/15   Revise and revise draft responses to interrogatories, requests for        CED      1.00


                                               Exhibit 1,
                                               Exhibit 1, Page
                                                          Page 54
                                                               54
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page46
                                                            02/13/18 Page  47ofof68
                                                                           January300
                                                                                    6, 2016
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20322329


Date       Description                                                     Init          Hours
           production and requests for admission

12/08/15   Analysis re                                                     CED                1.00

12/09/15   Review and analysis of                                          GAC                1.80



12/09/15   Prepare email to client re                                      CED                0.50

12/09/15   Analysis re                                                     CED                0.40

12/09/15   Exchange emails with client re                                  CED                0.60


12/10/15   Analysis re                                                     CED                0.40

12/10/15   Telephone with                                                  CED                0.30

12/11/15   Analysis re                                                     CED                0.50

12/14/15   Prepare correspondence to                                       GAC                0.30


12/14/15   Prepare email to client re                                      CED                0.40

12/14/15   Analysis re                                                     CED                0.40


12/14/15   Analysis re                                                     CED                0.50

12/15/15   Review                                                          CED                0.50


12/15/15   Detailed review                                                 CED                0.80


12/15/15   Analysis re                                                     CED                0.40

12/16/15   Prepare memo                                                    GAC                1.30


12/16/15   Review and analysis of documents provided by                    GAC                2.20




                                            Exhibit 1,
                                            Exhibit    Page 55
                                                    1, Page 55
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page47
                                                            02/13/18 Page  48ofof68
                                                                           January300
                                                                                    6, 2016
ID: GPPI 1104957                                                           Page   4
Invoice No.: 20322329


Date       Description                                                     Init          Hours

12/16/15   Telephone conference with                                       GAC                0.60


12/16/15   Revise Guardian's responses to written discovery                GAC                0.80


12/16/15   Prepare email to clients re                                     CED                0.30

12/16/15   Analysis re                                                     CED                0.90

12/16/15   Conference call with clients re                                 CED                0.60

12/16/15   Analysis re                                                     CED                0.50

12/16/15   Preparation                                                     RJS                0.90


12/17/15   Begin review of documents provided by                           GAC                0.80


12/17/15   Analysis re                                                     CED                0.60


12/17/15   Analysis re                                                     CED                0.30


12/17/15   Plan                                                            CSN1               1.20

12/18/15   Revise responses to requests for admission                      GAC                0.30


12/18/15   Revise responses to interrogatories                             GAC                0.40


12/18/15   Exchange correspondence with                                    GAC                0.40


12/18/15   Telephone conference with                                       GAC                1.20


12/18/15   Review and analysis of documents                                GAC                1.40


12/18/15   Analysis re                                                     CED                0.60


                                              Exhibit 1,
                                              Exhibit    Page 56
                                                      1, Page 56
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page48
                                                            02/13/18 Page  49ofof68
                                                                           January300
                                                                                    6, 2016
ID: GPPI 1104957                                                           Page   5
Invoice No.: 20322329


Date       Description                                                           Init    Hours


12/21/15   Review                                                                ALA          0.70


12/21/15   Telephone conference with                                             GAC          1.60



12/21/15   Exchange correspondence with                                          GAC          0.30


12/21/15   Prepare correspondence to GPP's counsel regarding various discovery   GAC          0.50
           issues including deposition schedules and written discovery.

12/21/15   Prepare correspondence to                                             GAC          0.10


12/21/15   Analysis re                                                           CED          0.60

12/21/15   Review emails from client                                             CED          0.30

12/21/15   Finalize document production response                                 CED          0.50

12/21/15   Analysis re                                                           CED          0.90

12/22/15   Review                                                                ALA          0.70

12/22/15   Exchange correspondence with                                          GAC          0.50


12/22/15   Revise                                                                GAC          0.50


12/22/15   Tele hone conference wit                                              GAC          0.30


12/22/15 ime
          Pr for conference with                                                 GAC          0.20


12/22/15   Plan for conducting electronic discovery                              CED          0.70

12/23/15   Exchange correspondence witallIMMINIMIM GAC                                        0.30




                                             Exhibit 1,
                                             Exhibit    Page 57
                                                     1, Page 57
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page49
                                                            02/13/18 Page  50ofof68
                                                                           January300
                                                                                    6, 2016
ID: GPPI 1104957                                                           Page 6
Invoice No.: 20322329


Date       Description                                                               Init        Hours
12/23/15   Prepare correspondence to Attorney Dylan Liddiard regarding Guardian's    GAC          0.20
           document production.

12/23/15   Prepare correspondence to Attorney Dylan Liddiard regarding his request   GAC            0.30
           to meet and confer as to Guardian's written discovery responses.

12/23/15   Analysis re                                                               CED            0.70


12/23/15   Analysis re                           =111                                CED            0.80

12/28/15   Analysis re                                                               CED            0.40

12/29/15   Analysis re                                                               CED            0.30




                                           Services Recap
Init       Name                              Title                           Rate      Hours    Amount
ALA        Allison Andrews                   Paralegal                     150.00        1.40     210.00
CED        Calvin Davis                      Senior Partner                420.00       21.50   9,030.00
CSN1       Candice Nam                       Associate                     325.00        1.20     390.00
GAC        Gary Collis                       Senior Counsel                375.00       17.60   6,600.00
RJS        Randall Stubblefield              Paralegal                     150.00        0.90     135.00




                         TOTAL FOR SERVICES                                  $16,365.00




                                            Exhibit 1,
                                            Exhibit 1, Page
                                                       Page 58
                                                            58
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page50
                                                          02/13/18 Page  51ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




                                                                                                 February 5, 2016
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20329465
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.


                      BILLING SUMMARY THROUGH January 31, 2016
Fees For Professional Services:                                                                                  $67,073.50




111•111111111•




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 59
                                                                      59
Guardian Protection
          CaseCase  Products, Inc.
                 1:15-cv-00321-SKO
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23       February
                                                                      Page51
                                                            02/13/18 Page  52     3005, 2016
                                                                             ofof68
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20329465

                                          Professional Services

Date       Description                                                               Init       Hours
12/21/15   Tele hone conference with Guardian's                                      GAC         0.20


01/01/16   Review emails from client re                                              CED         0.20

01/04/16   Prepare for meet and confer with GIS's attorneys regarding Guardian's     GAC    •    0.90
           written discovery responses.

01/04/16   Meet and confer with                                                      GAC         0.70

01/04/16   Telephone conference with                                                 GAC         0.40

01/04/16   achmres ondence with                                                      GAC         0.40


01/04/16   Prepare correspondence to Dylan Liddiard regarding meet and confer        GAC         0.10
           concerning Guardian's responses to document demands.

01/04/16   Pre are corres ondence to                                                 GAC         0.20



01/04/16   Exchan e corres ondence with                                              GAC         0.40


01/04/16   Analysis re                                                               CED         0.40

01/04/16   Analysis re                                                               CED         0.40

01/04/16   Prepare for meet and confer with plaintiffs counsel re discovery issues   CED         0.30

01/04/16   Anal sis re                                                               CED         0.30


01/05/16   Prepare correspondence to                                                 GAC         0.60


01/05/16   Pre are memo summarizing                                                  GAC         0.30



01/05/16   Prepare correspondence to                                                 GAC         0.10


                                             Exhibit 1,
                                             Exhibit 1, Page
                                                        Page 60
                                                             60
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page52
                                                            02/13/18 Page  53ofof68
                                                                                  3005, 2016
                                                                           February
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20329465


Date       Descri tion                                                            Init   Hours


01/05/16   Telephone conference with                                              GAC      0.50


01/05/16   Meet and confer with Attorneys Dylan Liddiard and Craig Bolton         GAC      0.70
           regarding Guardian's responses to document demands.

01/05/16   Telephone conference with                                              GAC      0.20


01/05/16   Exchange correspondence with Attorney Dylan Liddiard regarding         GAC      0.30
           attachments to the cross-complaint.

01/05/16   Analysis re                                                            CED      0.40

01/05/16   Analysis re                                                            CED      0.50


01/05/16   Analysis re                                                            CED      0.40


01/06/16   Pre are cones ondence to                                               GAC      0.30


01/06/16   Prepare email to client re                                             CED      0.30

01/07/16   Prepare correspondence to                                              GAC      0.10


01/08/16   itiriorrespondence
           Pi                 to                                                  GAC      0.10


01/08/16   Revise proposed stipulated protective order.                           GAC      0.40

01/08/16   Telephone conference with                                              GAC      0.20


01/08/16   Exchan e cones ondence with                                            GAC      0.40



01/08/16   Prepare correspondence to Attorney Dylan Liddiard regarding proposed   GAC      0.20
           protective order.



                                             Exhibit 1,
                                             Exhibit    Page 61
                                                     1, Page 61
Guardian Protection
          CaseCase  Products, Inc.
                 1:15-cv-00321-SKO
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23       February
                                                                      Page53
                                                            02/13/18 Page  54     3005, 2016
                                                                             ofof68
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20329465


Date       Descri tion                                                              Init   Hours
01/08/16   Analysis re                                                              CED     0.50

01/08/16   Analysis re                                                              CED     0.60

01/11/16   Prepare correspondence to                                                GAC     0.10


01/11/16   Prepare correspondence to Attorney Dylan Liddiard regarding stipulated   GAC     0.20
           protective order and further document production.

01/11/16   Analysis re                                                              CED     0.30

01/11/16   Analysis re issues for 30(b)(6) deposition                               CED     0.60

01/11/16   Analysis re                                                              CED     0.80

01/11/16   Prepare email to client                                                  CED     0.50

01/11/16   Detailed review                                                          CED     0.50

01/12/16   Review and analysis of Guardian documents for                            GAC     4.20



01/12/16   Prepare                                                                  GAC     1.60


01/12/16   Review and analysis of client email re                                   CED     0.30


01/12/16   Further review                                                           CED     1.00

01/12/16   Plan and prepare                                                         RJS     0.40


01/12/16   Be in evaluation of issue                                                EBV     1.80



01/12/16   Be in                                                                    EBV     0.60


01/13/16   Review and analysis of Guardian documents                                GAC     3.80




                                              Exhibit 1,
                                              Exhibit    Page 62
                                                      1, Page 62
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                   1:15-cv-00321-SKO Document
                                      Document534-4
                                               338-4 Filed
                                                     Filed 09/12/23  Page54
                                                           02/13/18 Page  55ofof68
                                                                                 3005, 2016
                                                                          February
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20329465


Date       Description                                                            Init   Hours

01/13/16   Prepare correspondence to Dylan Liddiard regarding responses to        GAC     0.20
           document demands.

01/13/16   Review and anal ze client documents                                    RJS     3.60



01/13/16   Be in                                                                  EBV     0.70


01/14/16   Prepare correspondence to Dylan Liddiard regarding re-scheduling       GAC     0.10
           depositions of Guardian's employees.

01/14/16   Analysis re                                                            CED     0.40

01/14/16   Review and analyze client documents                                    RJS     1.10



01/15/16   Telephone conference with                                              GAC     0.30


01/15/16   Review and analysis of Guardian documents for                          GAC     6.30



01/15/16   Prepare timeline for                                                   CED     0.80

01/15/16   Detailed review of                                                     CED     0.80


01/15/16   Review documents in preparation for 30(b0(6) deposition                CED     1.20

01/15/16   Conference call with Johnny Green re                                   CED     0.30

01/15/16   Review documents to prepare for call with                              CED     0.90

01/16/16   Review                                                                 CED     3.50


01/18/16   Travel to North Carolina for meeting with client and for deposition    CED     6.50

01/19/16   Prepare correspondence to Attorney Dylan Liddiard regarding document   GAC     0.10
           demands.


                                             Exhibit 1,
                                             Exhibit 1, Page
                                                        Page 63
                                                             63
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page55
                                                            02/13/18 Page  56ofof68
                                                                                  3005, 2016
                                                                           February
ID: GPPI 1104957                                                           Page   6
Invoice No.: 20329465


Date       Description                                                        Init       Hours

01/19/16   Review and analysis of electronically stored information for       GAC          7.60


01/19/16   Travel and meet with client J. Green and E. Otero to prepare for   CED          9.10
           deposition

01/19/16   Continue                                                           EBV          0.60


01/20/16   Review and analysis of                                             GAC          8.20


01/20/16   Defend 30(b)(6) deposition of client J. Green                      CED          5.50

01/20/16   Return travel from deposition of client                            CED          8.50

01/20/16   Review/analyze various documents                                   TK           1.00



01/20/16   Continue                                                           EBV          3.80


01/21/16   Pre are draft corres ondence to                                    GAC          0.30


01/21/16   Review and analysis of                                             GAC          6.80


01/21/16   Analysis re                                                        CED          0.50

01/21/16   Mcd                  h                                             CED          0.60


01/21/16   Analysis re                                                        CED          0.60

01/21/16   Continue                                                           EBV          3.40


01/22/16   Prepare memorandum re meeting with                                 CED          1.10

01/22/16   Analysis re                                                        CED          0.40

01/22/16   Prepare issues memorandum for                                      CED          0.70


                                              Exhibit 1,
                                              Exhibit    Page 64
                                                      1, Page 64
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page56
                                                            02/13/18 Page  57ofof68
                                                                                  3005, 2016
                                                                           February
ID: GPPI 1104957                                                           Page 7
Invoice No.: 20329465


Date       Description                                                     Init          Hours

01/22/16   Review settlement letter from plaintiff,                        CED             0.40

01/22/16   Telephone with                                                  CED             0.30


01/22/16   Review/analyze various documents for                            TK              2.00



01/23/16   Review/analyze various documents                                TK              2.00



01/24/16   Review/analyze documents for                                    TK              2.00


01/25/16   Continue reviewin client documents for                          GAC             7.70



01/25/16   Analysis                                                        CED             0.60

01/25/16   Prepare email to client re                                      CED             0.30

01/25/16   Review discovery responses from plaintiff                       CED             0.70

01/25/16   Review/analyze documents for                                    TK              1.00


01/25/16   Continue                                                        EBV             4.50


01/26/16   Pre are len h memorandum anal zin                               GAC             2.20




01/26/16   Analysis re                                                     CED             0.50

01/26/16   Exchange emails with client re                                  CED             0.40

01/26/16   Review/analyze various documents for                            TK              4.00




                                              Exhibit 1,
                                              Exhibit    Page 65
                                                      1, Page 65
Guardian Protection
          CaseCase  Products, Inc.
                 1:15-cv-00321-SKO
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23       February
                                                                      Page57
                                                            02/13/18 Page  58     3005, 2016
                                                                             ofof68
ID: GPPI 1104957                                                           Page 8
Invoice No.: 20329465


Date       Description                                                                Init   Hours

01/26/16   Continue                                                                   EBV     6.40


01/27/16   Prepare correspondence to Attorney Dylan Liddiard regarding proposed       GAC     0.20
           deposition dates.

01/27/16   Continue re arin len h memorandum anal zin                                 GAC     1.10




01/27/16   Prepare email to client re                                                 CED     0.40

01/27/16   Review additional documents from                                           CED     0.30

01/27/16   Review J. Green deposition transcript and prepare memo re same             CED     1.50

01/27/16   Continue                                                                   EBV     2.80


01/28/16   Continue re arin len by memorandum analyzin                                GAC     1.40




01/28/16   Prepare                                                                    GAC     0.60


01/28/16   Exchange emails with client re                                             CED     0.40

01/28/16   Continued review and preparation of                                        CED     1.40

01/28/16   Review                                                                     CED     0.70

01/28/16   Analysis re                                                                CED     0.60

01/28/16   Continue                                                                   EBV     1.60


01/29/16   Prepare correspondence to Attorney Dylan Liddiard regarding third set of   GAC     0.20
           documents produced in response to plaintiffs document demands.

01/29/16   Continue reviewing client documents for                                    GAC     6.70



                                            Exhibit 1,
                                            Exhibit    Page 66
                                                    1, Page 66
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page58
                                                            02/13/18 Page  59ofof68
                                                                                  3005, 2016
                                                                           February
ID: GPPI 1104957                                                           Page 9
Invoice No.: 20329465


Date       Description                                                          Init          Hours


01/29/16   Analysis re                                                          CED              0.50

01/29/16   Review                                                               CED              0.60

01/29/16   Review and anal ze client documents in Summation database            RJS              3.10




01/29/16   Continue                                                             EBV              3.30


01/31/16   Continue review/anal sis of various documents for                    TK               4.00




                                           Services Recap
Init       Name                              Title                      Rate       Hours     Amount
CED        Calvin Davis                      Senior Partner            420.00       59.30   24,906.00
EBV        Elizabeth Vanalek                 Associate                 325.00       29.50    9,587.50
GAC        Gary Collis                       Senior Counsel            375.00       67.60   25,350.00
RJS        Randall Stubblefield              Paralegal                 150.00        8.20    1,230.00
TK         Tamar Karaguezian                 Senior Counsel            375.00       16.00    6,000.00




                         TOTAL FOR SERVICES                             $67,073.50




                                            Exhibit 1,
                                            Exhibit 1, Page
                                                       Page 67
                                                            67
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-4  LLP09/12/23
                                                    Filed           Page59
                                                          02/13/18 Page  60ofof68
                                                                                300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 March 14, 2016
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20337525
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.


                      BILLING SUMMARY THROUGH February 29, 2016
Fees For Professional Services:                                                                                  $118,952.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                       Exhibit 1,
                                                       Exhibit 1, Page
                                                                  Page 68
                                                                       68
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page60
                                                            02/13/18 Page  61ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20337525

                                        Professional Services

Date       Description                                                     Init          Hours
02/01/16   Continue review of electronic information for                   GAC            6.80


02/01/16   Travel to Florida for meetings with clients, prepare for same   CED                8.50

02/01/16   Plan and prepare with attorneys regarding                       RJS                0.50


02/02/16   Continue review of electronic information for                   GAC                8.20


02/02/16   Meetin with clients                                             CED                2.90


02/02/16   Meeting with clients                                            CED                1.00


02/02/16   Continue review/analysis of various documents in re             TK                 2.70


02/03/16   Continue review of electronic information for                   GAC                7.10


02/03/16   Analysis re                                                     CED                0.40

02/04/16   Continue review of electronic information for                   GAC                6.80


02/04/16   Prepare email to client re                                      CED                0.40

02/04/16   Analysis re document review for                                 CED                0.50

02/04/16   Continue review/anal sis of various documents in re             TK                 4.30


02/05/16   Continue review of electronic information for                   GAC                8.40


02/05/16   Analysis re                                                     CED                0.50

02/05/16   Exchange emails with clients re                                 CED                0.20



                                              Exhibit 1,
                                              Exhibit 1, Page
                                                         Page 69
                                                              69
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page61
                                                            02/13/18 Page  62ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20337525


Date       Description                                                               Init   Hours
02/05/16   Review and mark non-res s onsive documents in Summation database          RJS     1.90


02/08/16   Pre are corres ondence to                                                 GAC      0.30


02/08/16   Prepare email to client                                                   CED      0.50


02/08/16   Review client email and documents re                                      CED      0.40

02/08/16   Review and analysis of leadin s and recent discovery responses I          MMD2     3.20


02/08/16   Anal is re ardin                                                          MMD2     1.40



02/08/16   Continue review/analysis of various documents in re                       TK       1.30


02/08/16   Communications with IT personnel regarding                                RJS      0.40


02/08/16   Review and mark non-res. onsive documents in Summation database to        RJS      0.40


02/08/16   Export emails in database for further analysis by attorney to             RJS      2.20


02/09/16   Prepare FRCP 30(b)(6) deposition notice re Plaintiff GPP, Inc.            GAC      0.60

02/09/16   Prepare correspondence to Dylan Liddiard regarding deposition dates for   GAC      0.20
           Johnny Green and Ronnie Holman

02/09/16   Review client email re                                                    CED      0.30

02/09/16   Exchange emails with                                                      CED      0.30

02/09/16   Review documents in next production set for production                    CED      2.10

02/09/16   Review and revise 30(b)(6) notice to plaintiff                            CED      0.40

02/09/16   Analysis re                                                               CED      0.50



                                              Exhibit 1,
                                              Exhibit    Page 70
                                                      1, Page 70
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page62
                                                            02/13/18 Page  63ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20337525


Date       Description                                                                Init   Hours
02/09/16   Anal sis re ardin discuss                                                  MMD2    2.50



02/09/16   Review/analyze various documents re                                        TK      3.40


02/10/16   Continue review of electronic information for                              GAC     2.30


02/10/16   Preparation of email RE: GIS v. Guardian document production               MMD2    0.70

02/10/16   Analysis re ardin                                                          MMD2    2.00
                                                     in response to meet and confer
           from GIS counsel

02/10/16   Preparation of draft response to GIS' meet and confer regarding Guardian   MMD2    0.70
           document production and depositions of Guardian witnesses

02/10/16   Continue review/analysis of various documents in re                        TK      4.20


02/10/16   Review and analyze our first supplemental document production              RJS     4.00
           produced (GUARD 000936 - 001662) to reconcile issues addressed in
           opposing counsel email dated February 10, 2016 regarding document
           sequence

02/11/16   Pre are corres ondence to                                                  GAC     0.50


02/11/16   Continue review of electronic information for                              GAC     7.40


02/11/16   Prepare chronology of                                                      GAC     0.50


02/11/16   Anal sis re                                                                CED     1.50


02/11/16   Anal sis re ardin                                                          MMD2    1.20



02/11/16   Preparation of response to GIS' meet and confer on document production     MMD2    0.50
           and Guardian depositions in preparation of conference call


                                             Exhibit 1,
                                             Exhibit    Page 71
                                                     1, Page 71
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page63
                                                            02/13/18 Page  64ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20337525


Date       Description                                                             Init      Hours

02/11/16   Review and anal sis of GIS initial document roduction                  MMD2        3.50



02/11/16   Continue review/analysis of various documents in re                     TK         2.20


02/11/16   Reviewed and coded documents for production                             FR         5.00

02/11/16   Review and analyze our first supplemental document production           RJS        3.70
           produced (GUARD 000936 - 001662) to address issues regarding
           document sequence

02/11/16   Review documents for document production                                ITl        4.50

02/12/16   Analysis re meet and confer issues on discovery disputes                CED        0.70

02/12/16   Pre are email to client re                                              CED        0.40


02/12/16   Preparation for telephone conference with counsel for GIS regarding        MMD2    1.50
           document production issues and preparation of electronic discovery file in
           response to GIS' meet and confer letter on document production including
           overview of summation file and prior productions

02/12/16   Telephone conference with GIS' attorneys regarding document production MMD2        0.50
           and electronic discovery issues regarding meet and confer on Guardian's
           document production in preparation of revised production and discussion
           of status conference report and objection to the deposition of Ken Nota

02/12/16   Anal sis re ardin                                                       MMD2       0.30




02/12/16   Begin review and analysis of Guardian's document roduction on           MMD2       3.30
           summation



02/12/16   Reviewed and coded documents for production                             FR         7.50

02/12/16   Reviewed electronically stored information for                          IT1        6.00


                                             Exhibit 1,
                                             Exhibit    Page 72
                                                     1, Page 72
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page64
                                                            02/13/18 Page  65ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 6
Invoice No.: 20337525


Date       Descri tion                                                                Init   Hours




02/15/16   Performed detailed review and analysis of documents and records,           FR      7.40
           including contracts, financial documents, and communications

02/15/16   Review electronically stored information for                               IT1     7.00




02/16/16   Analysis re                                                                CED     0.40

02/16/16   Prepare email to clients re                                                CED     0.20

02/16/16   Edit, revise and supplement Joint Report to Court in preparation of Mid-   MMD2    0.20
           Discovery Status Conference

02/16/16   Review and analysis of                                                     MMD2    1.60



02/16/16   Anal sis re ardin    rivile e lo                                           MMD2    0.40


02/16/16   Reviewed electronically stored information for                             FR      7.40



02/16/16   Review and com are documents                                               RJS     5.00



02/16/16   Review electronically stored information for                               IT1     7.00




02/17/16   Review and analysis of Guardian's electronic data to determine             GAC     2.30



02/17/16   Reviewed documents for                                                     FR      7.30


                                              Exhibit 1,
                                              Exhibit    Page 73
                                                      1, Page 73
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page65
                                                            02/13/18 Page  66ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 7
Invoice No.: 20337525


Date       Descri tion                                                        Init       Hours


02/17/16   Review and re are emails from                                      RJS             0.50


02/17/16   Review documents                                                   RJS             2.10


02/17/16   Review electronically stored information for                       IT1             7.00




02/18/16   Code Guardian's electronic data for                                GAC             6.70


02/18/16   Exchange emails with client re                                     CED             0.40

02/18/16   Review documents in preparation for                                CED             2.50

02/18/16   Review and res and to communications                               MMD2            0.50



02/18/16   Preparation of email to GIS counsel regarding meet and confer on   MMD2            0.20
           document production and deposition issues

02/18/16   Reviewed electronically stored document for                        FR              3.30


02/18/16   Review documents produced                                          RJS             2.20


02/18/16   Review of electronicall stored information for                     IT I            7.40




02/19/16   Review and anal sis of Guardian's electronic data to               GAC             5.90



02/19/16   Continued review of documents                                      CED             1.10




                                             Exhibit 1,
                                             Exhibit    Page 74
                                                     1, Page 74
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page66
                                                            02/13/18 Page  67ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 8
Invoice No.: 20337525


Date       Description                                                              Init   Hours
02/19/16   Exchange emails with                                                     CED     0.20

02/19/16   Exchange emails with                                                     CED       0.40

02/19/16   Exchange emails with                                                     CED       0.30

02/19/16   Review and analyze emails from                                           RJS       1.10


02/19/16   Review and analyze our first su   lemental document roduction            RJS       0.90
           (GUARD 000936 - 001662) to


02/19/16   Review electronicall stored information for                              IT1       8.00




02/21/16   Prepare for                                                              CED       1.10

02/21/16   Travel to North Carolina for meetings with C. Taylor and J. Green        CED       7.10

02/22/16   Conference with client                                                   CED       1.50


02/22/16   Travel to and meeting with Chris Taylor to prepare for deposition        CED       4.30

02/22/16   Return travel from North Carolina                                        CED       7.90

02/22/16   Reviewed electronically stored information for                           FR        7.10


02/22/16   Review electronicall stored information for                              IT'       8.00




02/23/16   Continue preparing motion for partial summary judgment (portion          GAC       5.40
           regarding claim under California Franchise Investment Law being barred
           by its geographic limitation)

02/23/16   Analysis re                                                              CED       1.60




                                               Exhibit 1,
                                               Exhibit    Page 75
                                                       1, Page 75
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page67
                                                            02/13/18 Page  68ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 9
Invoice No.: 20337525


Date       Description                                                              Init   Hours
02/23/16   Analysis regarding                                                       MMD2    1.60


02/23/16   Review and analysis of                                                   MMD2      0.10


02/24/16   6:30am - 8:30am; 9:30am - 12:30 m; 1 m - 4 m Reviewed documents          FR        8.00
           for


02/24/16   Review electronically stored information                                 IT1       8.00



02/25/16   Continue preparing motion for partial summary judgment (portion          GAC       4.70
           regarding claim under California Franchise Investment Law being barred
           because of the applicable statute of limitations)

02/25/16   Analysis re                                                              CED       0.30

02/25/16   Reviewed electronic documents for                                        FR        6.90


02/25/16   Review electronically stored information for                             IT1       6.50




02/26/16   Continue preparing motion for partial summary judgment (portion          GAC       4.20
           regarding claim under California Business & Professions Code section
           17200 being barred by its geographic limitation)

02/26/16   Begin preparing motion for partial summary judgment (portion regarding GAC         3.90
           claim under California Business & Professions Code section 17200 being
           barred because the underlying claim for violation of the Federal Franchise
           Rule lacks a private right of action)

02/26/16   Analysis re                                                              CED       0.30


02/26/16   7am - 8:30am; 9:30pm - 12:30 m; 1 m - 4:30 m Review electronically       FR        6.60
           stored information for


02/26/16   Review electronically stored information for                             IT1       8.00


                                             Exhibit 1,
                                             Exhibit    Page 76
                                                     1, Page 76
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-4 Filed
                                                      Filed 09/12/23  Page68
                                                            02/13/18 Page  69ofof68
                                                                           March  300
                                                                                   14, 2016
ID: GPPI 1104957                                                           Page 10
Invoice No.: 20337525


Date       Descri tion                                                                     Init           Hours




02/29/16   Continue preparing motion for partial summary judgment (portion                 GAC              3.10
           regarding exemptions to "offer to sell" for out of state franchises)

02/29/16   Continue preparing motion for partial summary judgment (portion                 GAC              2.40
           regarding inability to "opt in" to the California Franchise Investment Law
           by a California choice of law provision)

02/29/16   Reviewed electronicall stored documents for                                     FR               6.50




                                             Services Recap
Init       Name                                Title                               Rate       Hours     Amount
CED        Calvin Davis                        Senior Partner                     420.00       51.10   21,462.00
FR         Filip Reich                         Associate                          295.00       73.00   21,535.00
GAC        Gary Collis                         Senior Counsel                     375.00       87.70   32,887.50
IT1        Isabelle Talleyrand                 Associate                          295.00       77.40   22,833.00
MMD2       Margaret Drugan                     Senior Counsel                     375.00       25.90    9,712.50
RJS        Randall Stubblefield                Paralegal                          150.00       24.90    3,735.00
TK         Tamar Karaguezian                   Senior Counsel                     375.00       18.10    6,787.50




                         TOTAL FOR SERVICES                                       $118,952.50




                                              Exhibit 1,
                                              Exhibit 1, Page
                                                         Page 77
                                                              77
Case 1:15-cv-00321-SKO   Document 534-4   Filed 09/12/23   Page 70 of 300
           Case 1:15-cv-00321-SKO
             Case                   Document
                                  GORDON
                   1:15-cv-00321-SKO Document534-4
                                               REESFiled
                                             &338-5  LLP09/12/23
                                                    Filed          Page171
                                                          02/13/18 Page  ofof
                                                                            61300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 April 6, 2016
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20341917
                                                                                                 Davis, Calvin E



RE: G.P.P., Inc. v. Guardian Protection Products, Inc.


                       BILLING SUMMARY THROUGH March 31, 2016
Fees For Professional Services:                                                                                  $149,532.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1,
                                                      Exhibit 1, Page
                                                                 Page 78
                                                                      78
          Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page272
                                                           02/13/18 Page  ofof
                                                                         April 300
                                                                             616, 2016
ID: GPPI 1104957                                                         Page 2
Invoice No.: 20341917

                                         Professional Services

Date       Descri tion                                                  hit              Hours
03/01/16   Anal sis re                                                  CED               0.40


03/01/16   Reviewed client documents for production                     FR                6.90

03/01/16   Review electronically stored information for                 IT1               7.50




03/02/16   Review and anal sis of reviously roduced documents for       GAC               3.70



03/02/16   Anal sis re ardin review of                                  MMD2              0.20



03/02/16   Reviewed electronically stored information for               FR                7.20


03/02/16   Review electronicall stored information for                  IT1               7.50




03/03/16   Review and anal sis of documents roduced b Guardian to       GAC               4.10



03/03/16   Analysis re ardin                                            MMD2              2.90



03/03/16   Review                                                       FR                7.20


03/03/16   Review electronically stored information for                 IT1               7.10




                                             Exhibit 1,
                                             Exhibit 1, Page
                                                        Page 79
                                                             79
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page373
                                                           02/13/18 Page  ofof
                                                                         April 300
                                                                             616, 2016
ID: GPPI 1104957                                                         Page 3
Invoice No.: 20341917


Date       Descri tion                                                              Init   Hours


03/04/16   Reviewed documents for                                                   FR      7.10


03/04/16   Reviewed electronically stored information re ardin                      IT1     6.90




03/06/16   Review and analysis of Guardian contracts with GIS and the initial       MMD2    1.70
           documents produced by GIS for


03/06/16   Conduct research on                                                      MMD2    1.60


03/06/16   Preparation                                                              MMD2    2.80

03/07/16   Continue reviewing documents for                                         GAC     5.30


03/07/16   Analysis re                                                              CED     1.50


03/07/16   Analysis regarding                                                       MMD2    1.50


03/07/16   Begin review and anal sis of Plaintiffs second document roduction in     MMD2    2.90
            re aration of



03/07/16   Begin Review and analysis of De osition of Johnnie Green as the Person   MMD2    0.90
           Most Knowledgeable for


03/07/16   Analysis re ardin                                                        MMD2    1.50



03/07/16   eviewed documents for                                                    FR      7.20




                                              Exhibit 1,
                                              Exhibit 1, Page
                                                         Page 80
                                                              80
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page474
                                                           02/13/18 Page  ofof
                                                                             61300
                                                                         April 6, 2016
ID: GPPI 1104957                                                         Page 4
Invoice No.: 20341917


Date       Description                                                       Init        Hours

03/07/16   Review electronicall stored information for                       IT1          4.30




03/08/16   Review and analysis of                                            GAC          0.80



03/08/16   Review and analysis of                                            GAC          4.20



03/08/16   Review and analysis of                                            GAC          2.10



03/08/16   6:30am - 8:30am; 9:30 m - 12:30 m; 1 m - 4 m Reviewed documents   FR           7.00



03/08/16   Reviewed electronicall stored information                         IT1          6.00




03/09/16   Memorandum re ardin                                               GAC          2.70


03/09/16   Continue reviewing documents for                                  GAC          5.30


03/09/16   Analysis re review of                                             CED          0.50

03/09/16   Initial review of draft rivile e lo and rivile e documents for    MMD2         1.90




03/09/16   Analysis re ardin                                                 MMD2         0.20




                                            Exhibit 1,
                                            Exhibit 1, Page
                                                       Page 81
                                                            81
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page575
                                                           02/13/18 Page  ofof
                                                                         April 300
                                                                             616, 2016
ID: GPPI 1104957                                                         Page 5
Invoice No.: 20341917


Date       Description                                                                    Init   Hours
03/09/16   Reviewed electronically stored information for                                 FR      7.50


03/09/16   Reviewed electronicall stored information for                                  IT1     6.50




03/10/16   Continue preparing memorandum regarding                                        GAC     0.20


03/10/16   Review and analysis of                                                         GAC     6.10



03/10/16   Analysis re                                                                    CED     0.50

03/10/16   Review electronically stored information for                                   FR      6.40


03/10/16   Reviewed electronicall stored information for                                  IT1     4.00




03/11/16   Prepare motion for partial summary judgment (portion regarding fifth           GAC     5.60
           cause of action for declaratory relief with regard to the Illinois Franchise
           Disclosure Act).

03/11/16   Finalize memorandum re ardin                                                   GAC     0.20


03/11/16   Review and analysis of                                                         GAC     1.80



03/11/16   Analysis re                                                                    CED     0.50

03/11/16   Analysis re                                                                    CED     0.40

03/11/16   Analysis re ardin                                                              MMD2    0.00



03/11/16   Preparation of privilege log for Guardian's document production in             MMD2    4.20


                                               Exhibit 1,
                                               Exhibit    Page 82
                                                       1, Page 82
Guardian Protection
          CaseCase  Products, Inc.
                 1:15-cv-00321-SKO
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23       April
                                                                    Page676
                                                           02/13/18 Page     616,
                                                                          ofof 3002016
ID: GPPI 1104957                                                         Page 6
Invoice No.: 20341917


Date       Description                                                               Init   Hours
           response to agreement with GIS' attorney for exchange of privilege logs

03/11/16   Review and analysis of set of documents                                   MMD2    1.30



03/11/16   Reviewed electronically stored information for                            FR      6.20


03/11/16   Reviewed electronically stored information for                            IT1     6.30




03/14/16   Review and analysis of electronic documents for                           GAC     7.30


03/14/16   Revise letter to clients re                                               CED     0.60

03/14/16   Continue review and analysis of Person Most Knowled eable de osition      MMD2    0.60
           of Guardian by witness Johnn Green



03/14/16   Reviewed documents                                                        FR      6.20


03/14/16   Reviewed electronically stored information for                            IT1     5.90




03/15/16   Be in re arin len byprivilege lo                                          GAC     5.10



03/15/16   Analysis re privilege log                                                 CED     0.30

03/15/16   Revise email to                                                           CED     0.30

03/15/16   Analysis re ardin GIS' re uest for more detail onprivilege lo             MMD2    0.50




                                             Exhibit 1,
                                             Exhibit    Page 83
                                                     1, Page 83
          Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page777
                                                           02/13/18 Page  ofof 300
                                                                             616,
                                                                         April    2016
ID: GPPI 1104957                                                         Page 7
Invoice No.: 20341917


Date       Description                                                          Init     Hours

03/15/16   Edit, revise and su lement rivile e lo report                        MMD2      0.40



03/15/16   Reviewed documents for                                               FR        6.40



03/15/16   Analysis regarding                                                   RJS       0.30


03/15/16          electronically stored information for
           Reviewed                                                             IT1       5.00



03/16/16   Continuepreparinglen th       rivile e lo                            GAC       7.40



03/16/16   Revise letter to clients re                                          CED       0.50

03/16/16   Analysis re                                                          CED       0.30

03/16/16   Continue re aration                                                  MMD2      0.90




03/16/16   Anal sis re ardin                                                    MMD2      1.10




03/16/16   Edit, revise and sue element evaluation retort to client re:arding   MMD2      0.80


03/16/16   Review electronically stored information for                         FR        7.50


03/16/16   Reviewed electronicall stored information for                        IT1       7.10



03/17/16   Analysis re agreement to take status conference off calendar         CED       0.20

                                               Exhibit 1,
                                               Exhibit    Page 84
                                                       1, Page 84
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page878
                                                           02/13/18 Page  ofof
                                                                         April 300
                                                                             616, 2016
ID: GPPI 1104957                                                         Page 8
Invoice No.: 20341917


Date       Description                                                                 Init   Hours

03/17/16   Finalize letter to clients re                                               CED     0.50

03/17/16   Review and respond to communications with court clerk regarding option      MMD2    0.10
           to vacate date of the mid-discovery status conference including review of
           GIS' response to same

03/17/16   Edit, revise and su lementprivilege lo                                      MMD2    4.60




03/17/16   Reviewed documents for                                                      FR      7.10


03/17/16   Review electronically stored data for                                       IT1     3.00



03/18/16   Review and analysis of GIS' Requests for Production of Documents Set        MMD2    0.20
           No. 2 in preparation of responses and


03/18/16   Prepare communication to GIS' attorney regarding revised privilege log      MMD2    0.20
           and documents that Guardian will produce either in total or redacted form

03/18/16   Review and analysis of additional documents for privilege log review in     MMD2    4.60
           preparation of production of documents and preparation of revised
           privilege log

03/18/16   Reviewed electronically stored documents,                                   FR      6.30


03/18/16   Reviewed electronicall stored information for                               IT1     7.00




03/20/16   Pre aration                                                                 MMD2    0.70


03/21/16   Prepare responses to the second demand for production of documents.         GAC     5.80

03/21/16   Exchange correspondence with                                                GAC     0.50


                                              Exhibit 1,
                                              Exhibit    Page 85
                                                      1, Page 85
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page979
                                                           02/13/18 Page  ofof
                                                                         April 300
                                                                             616, 2016
ID: GPPI 1104957                                                         Page 9
Invoice No.: 20341917


Date       Descri tion                                                              Init    Hours


03/21/16   Analysis re new document production request                              CED      1.00

03/21/16   Prepare for meeting with R. Holman and J. Green                          CED      0.90

03/21/16   Evaluate documents                                                       CED      0.50


03/21/16   Analysis regarding respondin to Plaintiff's Re uests for Production of   MMD2     0.40
           Documents Set Number 2



03/21/16   6:30am - 8:30am; 9:30 m - 12:30 m; 1 m - 4 m Reviewed electronically FR           8.00
           stored information for


03/21/16   Review electronically stored information for                             IT I     6.20




03/22/16   Review and anal sis of documents transmitted b                           GAC      4.80



03/22/16   Review documents in current Summation database for                       GAC      2.20



03/22/16   Tele hone conference with                                                GAC      0.40


03/22/16   Prepare for meeting with R. Holman and J. Green to prepare for           CED      1.10
           depositions

03/22/16   Analysis re document production issues                                   CED      1.00

03/22/16   Tele hone conference with                                                MMD2     0.60



03/22/16   Analysis regarding preparation of responses to Requests for Production of MMD2    0.30


                                             Exhibit 1,
                                             Exhibit    Page 86
                                                     1, Page 86
Guardian Protection
          CaseCase  Products, Inc.
                 1:15-cv-00321-SKO
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23       April
                                                                      Page10
                                                            02/13/18 Page  80     6,
                                                                             ofof61
                                                                                  3002016
ID: GPPI 1104957                                                           Page 10
Invoice No.: 20341917


Date       Description                                                                Init   Hours
           Documents Set No. 2 and the depositions of Ronnie Holman and Johnny
           Green

03/22/16   Analysis regardin res onses to Re uests for Production of Documents        MMD2    0.50
           Set Number 2

03/22/16   Review of additional documents to be roduced to GIS in res onse to         MMD2    1.50
            rivile e lo



03/22/16   Review electronically stored information for                               FR      6.30


03/22/16   Review and prepare for sup lemental res onse to document demands           RJS     3.60
           from opposing counsel and

03/22/16   Review electronicall stored data for                                       IT1     4.00




03/23/16   Review responses to discovery in preparation for deposition meeting with   CED     0.70
           clients

03/23/16   Prepare for pre-deposition meeting with J. Green and R. Holman             CED     2.30

03/23/16   Edit, revise and su   lement documents for                                 MMD2    0.90


03/23/16   Prepare communication to GIS attorneys regarding privilege log             MMD2    0.10
           production

03/23/16   Reviewed documents                                                         FR      5.90


03/23/16   Review and analyze documents (GUARD 008413 — 008723) and repare            RJS     1.80
           for supplemental production to opposing counsel


03/23/16   Reviewed electronicallystored information for                              IT1     7.10




                                             Exhibit 1,
                                             Exhibit    Page 87
                                                     1, Page 87
          Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.    Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page11
                                                            02/13/18 Page  81ofof61
                                                                           April  300
                                                                                  6, 2016
ID: GPPI 1104957                                                           Page 11
Invoice No.: 20341917


Date       Description                                                             Init     Hours

03/24/16   Continue preparing responses to requests for production of documents,   GAC       3.30
           set one, after analysis of documents provided in response.

03/24/16   Continue reviewin documents in Summation for                            GAC       3.20



03/24/16   Prepare correspondence to                                               GAC       0.30


03/24/16   Exchange emails with clients re                                         CED       0.30

03/24/16   Prepare outline for                                                     CED       1.50

03/24/16   Analysis re                                                             CED       0.40

03/24/16   Review and respond to communications with Craig Bolton regarding        MMD2      0.20
           Guardian's response to Requests for Production of Documents Set 2 and
           additional document production

03/24/16   Preparation of document production in response to GIS' Requests for     MMD2      2.10
           Production of Documents Set No. 2 includin review of documents



03/24/16   Reviewed materials for                                                  FR        7.50


03/24/16   Reviewed electronicall stored documents for                             ITI       5.50




03/25/16   Prepare documents for                                                   GAC       5.20


03/25/16   Begin preparing documents for                                           GAC       2.70


03/25/16   Review documents in preparation for                                     CED       2.00

03/25/16   Detailed review of                                                      CED       1.10



                                             Exhibit 1,
                                             Exhibit    Page 88
                                                     1, Page 88
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page12
                                                            02/13/18 Page  82ofof61
                                                                           April  300
                                                                                  6, 2016
ID: GPPI 1104957                                                           Page 12
Invoice No.: 20341917


Date       Description                                                               Init   Hours

03/25/16   Analysis re                                                               CED     0.50

03/25/16   Exchange emails with client re                                            CED     0.30

03/25/16   Review of                                                                 CED     1.60


03/25/16   Prepare communication to GIS' attorney regarding document production      MMD2    0.40
           in response to Requests for Production of Documents Set No. 2 including
           review of documents in the production for confidentiality

03/25/16   Anal sis re ardin                                                         MMD2    1.40




03/25/16   Review and respond to communications with GIS' attorney regarding         MMD2    0.20
           continuation of depositions and document production issue

03/25/16   Review electronically stored information for                              FR      5.50


03/25/16   Review and analyze documents (labeled GUARD 00008741 - 00008877) RJS              1.50
           and prepare for response to plaintiffs discovery request and for use in
           continuing litigation

03/25/16   Review and analyze all documents                                          RJS     3.00


03/25/16   Reviewed electronically stored information for                            IT1     7.80




03/28/16   Review and analysis re subpoena served on RPN,                            CED     0.70


03/28/16   Travel to North Carolina for pre-deposition                               CED     6.50


03/29/16   Review and analysis of documents to be produced in final production of
           items in response to the first demand for production of documents II
                                                                                             •
                                             Exhibit 1,
                                             Exhibit    Page 89
                                                     1, Page 89
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page13
                                                            02/13/18 Page  83ofof61
                                                                           April  300
                                                                                  6, 2016
ID: GPPI 1104957                                                           Page 13
Invoice No.: 20341917


Date       Descri tion                                                              Init    Hours



03/29/16   Return travel from client meeting                                        CED      9.50

03/29/16   Pre are for and meet with R. Holman and J. Green re                      CED      7.40


03/29/16   Review and respond to communications with GIS' attorneys regarding       MMD2     0.20
           status of document production and deposition dates for Guardian
           witnesses

03/30/16   Analysis re                                                              CED      0.50

03/30/16   Draft letter re                                                          CED      0.40

03/30/16   Draft letter re MINIM                                                    CED      0.40

03/30/16   Prepare memorandum re                                                    CED      0.80

03/30/16   Review and analysis of                                                   MMD2     1.20


03/30/16   Prepare communication to GIS' attorneys regarding Guardian's final       MMD2     0.10
           document production

03/30/16   Review and analyze documents (GUARD 0088768- 009069) and prepare         RJS      1.00
           for supplemental production to opposing counsel

03/31/16   Prepare                                                                  GAC      2.20

03/31/16
                                                                    •
           Review and analysis of documents designated for production in response
           to last s roduction in resionse to the first document demand
                                                                                    GAC      1.40



03/31/16   Analysis re                                                              CED      0.60


03/31/16   Analysis re                                                              CED      0.50

03/31/16   Exchange emails with client re                                           CED      0.30

03/31/16   Pre are drafts of letters                                                CED      0.80




                                               Exhibit 1,
                                               Exhibit 1, Page
                                                          Page 90
                                                               90
          Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.    Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page14
                                                            02/13/18 Page  84ofof61
                                                                           April  300
                                                                                  6, 2016
ID: GPPI 1104957                                                           Page 14
Invoice No.: 20341917


Date       Description                                                               Init         Hours
03/31/16   Exchange emails with client re                                            CED           0.30

03/31/16   Anal sis re ardin                                                         MMD2            1.20




03/31/16   Prepare communication to GIS' attorneys regarding Guardian's final        MMD2            0.10
           document production

03/31/16   Review and analysis of                                                    MMD2            0.20


03/31/16   Edit, revise and su    lement draft letters for client                    MMD2            0.50



03/31/16   Prepare documents (GUARD 00008878-009069) for supplemental                RJS             1.00
           response to document demands from opposing counsel and for use in
           continuing litigation




                                               Services Recap
Init       Name                                   Title                       Rate     Hours     Amount
CED        Calvin Davis                           Senior Partner            420.00      50.40   21,168.00
FR         Filip Reich                            Associate                 295.00     129.40   38,173.00
GAC        Gary Collis                            Senior Counsel            375.00      95.00   35,625.00
IT1        Isabelle Talleyrand                    Associate                 295.00     114.70   33,836.50
MMD2       Margaret Drugan                        Senior Counsel            375.00      50.40   18,900.00
RJS        Randall Stubblefield                   Paralegal                 150.00      12.20    1,830.00




                        TOTAL FOR SERVICES                                  $149,532.50




                                                 Exhibit 1,
                                                 Exhibit 1, Page
                                                            Page 91
                                                                 91
           Case 1:15-cv-00321-SKO
             Case 1:15-cv-00321-SKO Document
                                     Document534-4
                                  GORDON       REESFiled
                                             &338-5   LLP09/12/23
                                                    Filed           Page15
                                                          02/13/18 Page  85ofof61
                                                                                300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      May 6, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20348728
                                                                      Davis, Calvin E


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $43,848.00




                                               Exhibit 1,
                                               Exhibit 1, Page
                                                          Page 92
                                                               92
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page16
                                                            02/13/18 Page  86ofof61
                                                                           May   6,300
                                                                                    2016
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20348728

                                        Professional Services

Date       Description                                                          Init       Hours
04/01/16   Exchange emails with C. Taylor re                                    CED         0.30

04/01/16   Analysis re                                                          CED         0.60


04/01/16   Exchange emails with clients re                                      CED         0.40

04/01/16   Review and respond to communications with Calvin Davis and Gary      MMD2        0.30
           Collis


04/04/16   Review correspondence re                                             CED         0.50

04/04/16   Review and retrieve emails and documents referencing                 RJS         3.00


04/05/16   Review and respond to communications with Craig Bolton regarding     MMD2        0.20
           deposition dates for Guardian witnesses and for GIS witnesses

04/05/16   Review emails and documents referencing                              RJS         3.80


04/06/16   Analysis re                                                          CED         0.50


04/06/16   Review and respond to communications with GIS' attorneys regarding   MMD2        0.20
           depositions of Guardian witnesses and


04/06/16   Preparation                                                          MMD2        0.40


04/07/16   Revise and finalize                                                  GAC         0.30

04/07/16   Review and revise                                                    CED         0.50

04/07/16   Analysis re                                                          CED         0.40

04/07/16   Prepare email to client re                                           CED         0.30

04/07/16   Review and respond to communications with Calvin Davis and Gary      MMD2        0.20
           Collis regarding


                                               Exhibit 1,
                                               Exhibit 1, Page
                                                          Page 93
                                                               93
          Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.    Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page17
                                                            02/13/18 Page  87ofof61
                                                                           May   6,300
                                                                                    2016
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20348728


Date       Description                                                         Init        Hours

04/07/16                                                                       MMD2         1.20


04/08/16   Exchange emails with client re                                      CED          0.10

04/08/16   Analysis re document production from plaintiff                      CED          0.40

04/08/16   Telephone with client J. Green re                                   CED          0.30


04/08/16       forms for I
           Review                       IIIIIIIIIIIIMMIIa                      CED          0.30


04/11/16   Review recent case corres ondence and emails to                     RJS          0.30


04/12/16   Review and analysis of documents produced by Guardian foi GAC                    7.40



04/12/16   Tele hone with client J. Green re                                   CED          0.30


04/12/16   Review and respond to communications with Calvin Davis and Ga       MMD2         0.20
           Collis regarding


04/12/16   Review and respond to communications with GIS attorney Dylan        MMD2         0.20
           Liddiard regarding deposition of Johnny Green

04/13/16   Exchange emails with clients re                                     CED          0.30

04/14/16   Review and analysis of documents produced by Guardian and GIS for   GAC          7.40



04/15/16   Review documents selected for                                       CED          2.10


04/15/16   Review and anal sis of emails from Darrin Lease re:ardin •          MMD2         0.20


04/15/16   Review                                                              RJS          1.60


                                               Exhibit 1,
                                               Exhibit 1, Page
                                                          Page 94
                                                               94
          Case   1:15-cv-00321-SKO
Guardian Protection
             Case   Products, Inc.
                   1:15-cv-00321-SKO Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed 09/12/23  Page18
                                                           02/13/18 Page  88ofof61
                                                                          May    300
                                                                                 6, 2016
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20348728


Date       Description                                                              Init   Hours

04/18/16   Review series of                                                         CED     1.10

04/18/16   Review                                                                   CED     0.60

04/18/16   Review                                                                   CED     0.70

04/18/16   Review                                                                   CED     0.90

04/18/16   Review and analysis of                                                   MMD2    0.70




04/18/16   Review and analysis of                                                   MMD2    0.50



04/19/16   Travel to North Carolina for meetin:s with clients and de • osition of   CED     6.50
           Johnny Green


04/19/16   Continued review and annotation of                                       CED     2.20


04/19/16   Review and analysis of                                                   MMD2    1.30




04/20/16   Review and analysis of discovery requests to determine                   GAC     0.50


04/20/16   Review and analysis of                                                   GAC     1.60



04/20/16   Travel and meeting with clients                                          CED     9.50


04/20/16   Continue review and analysis of GIS' additional document production      MMD2    2.30


04/21/16   Return travel from de osition of J. Green                                CED     7.10



                                              Exhibit 1,
                                              Exhibit 1, Page
                                                         Page 95
                                                              95
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page19
                                                            02/13/18 Page  89ofof61
                                                                           May   6,300
                                                                                    2016
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20348728


Date       Description                                                                Init   Hours

04/21/16   Defend deposition of Johnny Green                                          CED     7.50

04/22/16   Internal conference to discuss                                             CED     2.00


04/22/16   Review                                                                     CED     1.10

04/22/16   Initial review and analysis of                                             MMD2    1.20




04/22/16   Conference with Calvin Davis and Gary Collis regarding                     MMD2    2.20




04/25/16   Analysis re                                                                CED     0.50

04/25/16   Conduct public records search regarding                                    MMD2    1.80




04/25/16   Review and respond to communications with Craig Bolton regarding           MMD2    0.20
           depositions and meet and confer on document production

04/26/16   Review documents produced in Summation database to identify                GAC     1.80



04/26/16   Prepare description of categories of documents that Guardian should send   GAC     1.10
           to GIS in light of meet and confer discussion with attorneys Dylan
           Liddiard and Craig Bolton.

04/26/16   Participate in meet and confer conference call regarding document          GAC     0.80
           production with attorneys Dylan Liddiard and Craig Bolton.

04/26/16   Review and analysis of documents in Summation database for evidence        GAC     0.50




                                             Exhibit 1,
                                             Exhibit    Page 96
                                                     1, Page 96
Guardian Protection
          CaseCase  Products, Inc.
                 1:15-cv-00321-SKO
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23       May
                                                                      Page20
                                                            02/13/18 Page  90    6,300
                                                                             ofof61 2016
ID: GPPI 1104957                                                           Page 6
Invoice No.: 20348728


Date       Description                                                                Init   Hours

04/26/16   Analysis re deposition notices for Darin Lease and additional 30(b)(6)     CED     0.30
           witness

04/26/16   Analysis re new RPM subpoenas                                              CED     0.40

04/26/16   Telephone with J. Green                                                    CED     0.30

04/26/16   Telephone conference with GIS' attorneys Dylan Liddiard and Craig          MMD2    0.90
           Bolton regarding meet and confer on Guardian document production and
           depositions, GIS' document production and depositions and stipulation to
           extend fact discovery

04/26/16   Preparation for telephone conference with GIS' attorneys Dylan Liddiard    MMD2    1.80
           and Craig Bolton regarding meet and confer on Guardian document
           production and depositions, GIS' document production and depositions
           and stipulation to extend fact discovery regarding identify documents
           Plaintiffs counsel requested from Johnny Green deposition testimony

04/26/16   Telephone conference with Gary Collis regarding                            MMD2    0.30




04/26/16   Pre aration of                                                             MMD2    0.50




04/26/16   Preparation of                                                             MMD2    0.50



04/26/16   Review and anal sis of                                                     MMD2    0.70




04/27/16   Revise                                                                     GAC     0.30

04/27/16   Prepare response to questions by Attorney Dylan Liddiard regarding         GAC     1.30
           redactions to various documents produced by Guardian in response to
           document demands.

04/27/16   Begin searching for                                                        GAC     1.60


                                             Exhibit 1,
                                             Exhibit    Page 97
                                                     1, Page 97
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page21
                                                            02/13/18 Page  91ofof61
                                                                           May   6,300
                                                                                    2016
ID: GPPI 1104957                                                           Page 7
Invoice No.: 20348728


Date       Description                                                                 Init   Hours


04/27/16   Prepare draft correspondence to Johnny Green regarding                      GAC     0.40


04/27/16   Telephone conference with Karl Schulz Botential damales ex • ert            GAC     0.90
           regarding

04/27/16   Prepare objections to the deposition notice regarding Guardian's witness    GAC     1.40
           under Federal Rule 30(b)(6).

04/27/16   Analysis of                                                                 GAC     0.70

04/27/16   Review and analysis of                                                      GAC     0.50



04/27/16   Exchange emails with K. Nota re                                             CED     0.30

04/27/16   Analysis re                                                                 CED     0.30

04/27/16   Review and revise objections to Guardian 30(b)(6) deposition                CED     0.40

04/27/16   Revise email to clients re                                                  CED     0.30

04/27/16   Prepare communication to GIS' attorneys regarding draft of Stipulation to   MMD2    0.20
           Extend Deadline for Fact Witness Discovery

04/27/16   Review and respond to communications with Calvin Davis and Gary             MMD2    0.30
           Collis regarding


04/27/16   Review and respond to communications with Gary Collis regarding             MMD2    0.40




04/27/16   Review and analysis of communication from GIS' attorney Craig Bolton        MMD2    0.20
           regarding meet and confer issues discussed and status of same in
           preparation of response

04/28/16   Review, analyze, and organize documents transmitted by                      GAC     4.40




                                             Exhibit 1,
                                             Exhibit    Page 98
                                                     1, Page 98
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page22
                                                            02/13/18 Page  92ofof61
                                                                           May   6,300
                                                                                    2016
ID: GPPI 1104957                                                           Page 8
Invoice No.: 20348728


Date       Description                                                            Init     Hours
           the meet and confer process; prepare memo re same.

04/28/16   Exchange correspondence with Karl Schulz regarding                     GAC       0.20


04/28/16   Pre are corres ondence to AttorneyPeter Bronstein in res onse to       GAC       0.10



04/28/16   Exchan e corres ondence with AttorneyOwen Praskievicz re arding        GAC       0.40


04/28/16   Pre are                                                                GAC       1.20


04/28/16   Telephone with client J. Green re                                      CED       0.30

04/28/16   Conduct research o                                                     MMD2      0.80


04/29/16   Exchange correspondence with Johnny Green regarding                    GAC       0.30




04/29/16   Exchange emails with counsel for RPM re subpoenas                      CED       0.40

04/29/16   Prepare email to client re                                             CED       0.40

04/29/16   Conference with Gary Collis regarding                                  MMD2      1.50




04/29/16   Review and analysis of communications with Johnny Green regarding      MMD2      0.20




04/29/16   Review and analysis of communication from RPM International attorney   MMD2      0.30
           and Calvin Davis regarding




                                               Exhibit 1,
                                               Exhibit    Page 99
                                                       1, Page 99
          Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.    Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page23
                                                            02/13/18 Page  93ofof61
                                                                           May    6,300
                                                                                     2016
ID: GPPI 1104957                                                           Page 9
Invoice No.: 20348728


Date      Description                                                       Init            Hours




                                       Services Recap
Init      Name                           Title                       Rate      Hours     Amount
CED       Calvin Davis                   Senior Partner            420.00       50.40   21,168.00
GAC       Gary Collis                    Senior Counsel            375.00       35.10   13,162.50
MMD2      Margaret Drugan                Senior Counsel            375.00       21.90    8,212.50
RJS       Randall Stubblefield           Paralegal                 150.00        8.70    1,305.00




                        TOTAL FOR SERVICES                           $43,848.00




                                       Exhibit 1, Page
                                       Exhibit 1, Page 100
                                                       100
           Case 1:15-cv-00321-SKO
             Case                   Document
                                     Document534-4
                                  GORDON
                  1:15-cv-00321-SKO            REESFiled
                                             &338-5  LLP09/12/23
                                                    Filed           Page24
                                                          02/13/18 Page  94ofof61
                                                                                300
                                                www.gordonrees.corn
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      June 22, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20359774
                                                                      Davis, Calvin E


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $59,251.50




                                              Exhibit 1, Page
                                              Exhibit 1, Page 101
                                                              101
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page25
                                                            02/13/18 Page  95ofof61
                                                                           June    3002016
                                                                                  22,
ID: GPPI 1104957                                                           Page 2
Invoice No.: 20359774

                                        Professional Services

Date       Description                                                             Init   Hours
05/02/16   Search for appropriate expert witness to testify regarding              GAC     3.20


05/02/16   Review and analysis of deposition subpoenas served on RPM               GAC       0.60
           International and RPM Wood Finishes Group for


05/02/16   Draft written objections to the deposition subpoena served on RPM       GAC       1.00
           International.

05/02/16   Telephone conference with Karl Schulze                                  GAC       0.30


05/02/16   Review, analyze, and prepare additional documents for fourth round of   GAC       2.80
           production.

05/02/16   Prepare correspondence to Martha Shockley at TASA regarding             GAC       0.10


05/02/16   Review deposition exhibits in preparation for Holman deposition         CED       0.50

05/02/16   Analysis re response to RPM subpoenas                                   CED       0.30

05/02/16   Exchange emails with RPM re service of subpoenas                        CED       0.30

05/02/16   Review and analysis of RPM subpoena issues                              MMD2      1.80



05/02/16   Review and analysis of subpoenas served on RPM International and RPM MMD2         0.30
           Wood Finishes Group for Person Most Knowledgeable depositions and
           topics on which testimony is being sought in preparation of objections
           and meet and confer with GIS' attorneys regarding same

05/02/16   Review and analysis of communications from Ronnie Holman and            MMD2      0.20
           Johnny Green re ardin


05/02/16   Review and analysis of GIS' document production for                     MMD2      0.30




                                             Exhibit 1, Page
                                             Exhibit 1, Page 102
                                                             102
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page26
                                                            02/13/18 Page  96ofof61
                                                                           June   3002016
                                                                                 22,
ID: GPPI 1104957                                                           Page 3
Invoice No.: 20359774


Date       Description                                                              Init   Hours
05/03/16   Telephone conference with Jim Ayers regarding                            GAC     0.80


05/03/16   Prepare correspondence to Jim Ayers, possible expert witness regarding   GAC     0.20


05/03/16   Begin identifying and preparing document                                 GAC     2.00


05/03/16   Continue searching for appropriate expert witness to testify regarding   GAC     2.30


05/04/16   Meeting with Karl Schulz to discuss                                      GAC     1.60


05/04/16   Telephone conference with Glen Balzer re ardin                           GAC     1.20


05/04/16   Prepare corressondence to T ra Merinar of TASA regarding                 GAC     0.20


05/04/16   Begin preparing package of documents for Karl Schulze's review to        GAC     1.50


05/04/16   Prepare correspondence to Karl Schulze regarding                         GAC     0.10


05/04/16   Prepare correspondence to Jim Ayers regarding                            GAC     0.20


05/04/16   Continue identi in and re arin documents that an expert in               GAC     3.20


05/04/16   Meeting with expert Karl Schulze to discuss                              CED     0.70

05/04/16   Exchange emails with client re                                           CED     0.30

05/04/16   Attend meeting with business valuation and dams es ex pert Karl          MMD2    1.80
           Schulze, Calvin Davis and Gary Collis regarding


05/04/16   Review and analysis of privilege emails                                  MMD2    0.70




                                             Exhibit 1,
                                             Exhibit    Page 103
                                                     1, Page 103
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page27
                                                            02/13/18 Page  97ofof61
                                                                           June    3002016
                                                                                  22,
ID: GPPI 1104957                                                           Page 4
Invoice No.: 20359774


Date       Description                                                            Init   Hours
05/04/16   Review and respond to communications with Craig Bolton regarding       MMD2    0.30
           RPM subpoena and depositions of GIS' witnesses

05/04/16   Plan and prepare with team members regarding                           RJS        0.40


05/05/16   Exchange correspondence with Tyra Merinar of TASA regarding            GAC        0.10


05/05/16   Exchange correspondence with Jim Ayers regarding                       GAC        0.10


05/05/16   Prepare correspondence to Tyra Merinar of TASA regarding               GAC        0.20



05/05/16   Prepare correspondence to Glen Balzer regarding                        GAC        0.20



05/05/16   Review and analysis of Glen Balzer's rates and proposed Consultation   GAC        0.40
           Agreement

05/05/16   Review and anal sis of de osition testimon of Johnn Green to           GAC        2.60


05/05/16   Exchange correspondence with Glen Balzer regarding                     GAC        0.20


05/05/16   Analysis re                                                            CED        0.60


05/05/16   Prepare for deposition of R. Holman by                                 CED        0.60


05/05/16   Review Johnny Green deposition v. 2 for                                CED        2.50

05/05/16   Review and respond to communications with Calvin Davis re:ardin:       MMD2       0.30


05/05/16   Review and analyze documents (GUARD 009070 — 009204) and prepare       RJS        1.60
           for supplemental production to opposing counsel for further use in
           litigation

05/06/16   Prepare correspondence to Attorneys Dylan Liddiard and Craig Bolton    GAC        0.20


                                            Exhibit 1,
                                            Exhibit    Page 104
                                                    1, Page 104
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page28
                                                            02/13/18 Page  98ofof61
                                                                           June   300
                                                                                 22, 2016
ID: GPPI 1104957                                                           Page 5
Invoice No.: 20359774


Date       Description                                                           Init   Hours
           regarding fourth production of documents.

05/06/16   Finalize fourth production of documents                               GAC        0.70

05/06/16   Pre are strate y in advance of de osition of Ronnie Holman            GAC        2.40



05/06/16   Pre are corres ondence to Glen Balzer regarding                       GAC        0.10


05/06/16   Be in identi in and re arin documents that                            GAC        2.10


05/06/16   Exchange emails with clients re                                       CED        0.30

05/06/16   Analysis re                                                           CED        1.50


05/06/16   Analysis re                                                           CED        0.50

05/06/16   Continued review of Green deposition v. 2 to                          CED        0.60

05/10/16   Travel to North Carolina for                                          CED        7.10


05/10/16   Prepare for deposition preparation meeting with Ronnie Holman         CED        1.50

05/10/16   Initial review of de ositions testimony of Johnny Green re arding     MMD2       1.60



05/11/16   Travel to and from and meet with                                      CED        8.80


05/12/16   Telephone conference with Karl Schulze regarding                      GAC        0.30


05/12/16   Return travel from deposition of Ronnie Holman                        CED        7.50

05/12/16   Defend deposition of Ronnie Holman                                    CED        7.00

05/16/16   Conduct initial review of GIS' fifth set of document production for   MMD2       1.10




                                              Exhibit 1, Page
                                              Exhibit 1, Page 105
                                                              105
          Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKO Document
                                       Document534-4
                                                338-5 Filed
                                                      Filed 09/12/23  Page29
                                                            02/13/18 Page  99ofof61
                                                                           June    3002016
                                                                                  22,
ID: GPPI 1104957                                                           Page 6
Invoice No.: 20359774


Date       Description                                                           Init      Hours

05/16/16   Conduct analysis of                                                   MMD2        2.50




05/17/16   Review and analysis of new notice of deposing Guardian's 30(b)(6)     GAC         0.50
           witness and prepare written objections to same.

05/17/16   Review Chris Taylor documents                                         CED         2.10

05/17/16   Analysis re                                                           CED         0.50

05/17/16   Analysis re                                                           CED         0.50

05/17/16   Preparation of documents for                                          MMD2        0.80

05/18/16   Analysis re                                                           CED         0.50

05/18/16   Review Darin Lease documents                                          CED         1.90

05/18/16   Prepare for Taylor and Lease depositions                              CED         0.60

05/18/16   Telephone with J. Green re                                            CED         0.40

05/18/16   Conference with Calvin Davis re ardin                                 MMD2        0.30



05/18/16   Preparation of                                                        MMD2        0.50


05/18/16   Review and analysis of communication from GIS attorney regarding         MMD2     2.30
           Presidential Letters that Ronnie Holman discussed in his deposition and
           whether such documents have been produced including review of
           documents in the database to prepare response to request and reasons why
           such documents are not responsive

05/18/16   Analyze and organize electronic versions of deposition exhibits for   RJS         0.90
           further use in litigation

05/19/16   Review and anal sis of                                                GAC         2.10




                                             Exhibit 1,
                                             Exhibit    Page 106
                                                     1, Page 106
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page30
                                                           02/13/18 Page 100ofof
                                                                          June   300
                                                                                22,
                                                                               61   2016
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20359774


Date       Description                                                               Init   Hours

05/19/16   Review and analysis of meet and confer correspondence with Dylan          GAC     0.80
           Liddiard and ascertain whether the document demands called for
           production of the so-called "President's Letter" about which Ronnie
           Holman testified.

05/19/16   Prepare correspondence to Karl Shulze regarding                           GAC     0.20


05/19/16   Exchange emails with client re                                            CED     0.30

05/19/16   Preparation for meet and confer conference with GIS' attorney regarding   MMD2    0.80
           privilege documents, AIG agreement and Bob's subpoena

05/19/16   Telephone conference with GIS' attorney Craig Bolton regarding meet       MMD2    0.50
           and confer on issues of privilege, AIG agreement and Bob's subpoena

05/19/16   Preparation of summary of telephone conference with GIS' attorney Craig MMD2      0.50
           Bolton regarding meet and confer on issues of privilege, AIG agreement
           and Bob's subpoena in preparation of follow up on stipulation and
           agreement for further discovery

05/20/16   Review and analysis of                                                    MMD2    3.50




05/20/16   Review and res and to communications with client re ardin                 MMD2    0.40




05/23/16   Travel to North Carolina for                                              CED     7.50



05/23/16   Review and respond to communications with GIS' attorneys re ardin         MMD2    0.60
           subpoena on Bob's for sales information


05/24/16   Meeting with J. Green, R. Holman re                                       CED     9.50



05/24/16   Telephone conference with Calvin Davis regarding                          MMD2    0.20


                                            Exhibit 1,
                                            Exhibit    Page 107
                                                    1, Page 107
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page31
                                                           02/13/18 Page 101ofof
                                                                          June 61300
                                                                               22, 2016
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20359774


Date       Description                                                            Init   Hours



05/25/16   Defend depositions of Chris Taylor and Darin Lease                     CED     7.50

05/25/16   Prepare email to clients re                                            CED     0.40

05/25/16   Return travel from Lease and Taylor depositions                        CED     8.40

05/25/16   Receipt, review and analysis of correspondence from                    MMD2    0.30


05/25/16   Review and analysis                                                    MMD2    0.80




05/25/16   Preparation of deposition notice for GIS witnesses                     MMD2    0.30

05/26/16   Meetin with Calvin Davis and Mar aret Dru an to discuss                GAC     1.20



05/26/16   Analysis re                                                            CED     1.40


05/26/16   Telephone with                                                         CED     0.40


05/26/16   Conference with Calvin Davis and Ga     Collis re l ardin              MMD2    1.50




05/27/16   Analysis re                                                            CED     0.50


05/27/16   Review and respond to communications with GIS' attorney Craig Bolton   MMD2    0.20
           regarding compromise proposal regarding Bob's subpoena

05/27/16   Review and respond to communications with client regarding             MMD2    0.40



05/31/16   Exchange emails with client re                                         CED     0.30


                                             Exhibit 1,
                                             Exhibit    Page 108
                                                     1, Page 108
Guardian Protection
         Case Case  Products, Inc.
                1:15-cv-00321-SKO
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page32
                                                           02/13/18 Page  June
                                                                         102ofof22,
                                                                               613002016
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20359774


Date       Description                                                            Init           Hours

05/31/16   Analysis re                                                            CED              0.40

05/31/16   Preparation for the depositions of GIS' witnesses by                   MMD2             1.50


05/31/16   Review and respond to communications with client regarding             MMD2             0.60



05/31/16   Review and respond to communications with Craig Bolton regarding       MMD2             0.50
           Bob's subpoena compromise and finalize discovery stipulation




                                            Services Recap
Init       Name                               Title                        Rate      Hours     Amount
CED        Calvin Davis                       Senior Partner             420.00       83.70   35,154.00
GAC        Gary Collis                        Senior Counsel             375.00       35.70   13,387.50
MMD2       Margaret Drugan                    Senior Counsel             375.00       27.40   10,275.00
RJS        Randall Stubblefield               Paralegal                  150.00        2.90      435.00




                         TOTAL FOR SERVICES                               $59,251.50




                                             Exhibit 1, Page
                                             Exhibit 1, Page 109
                                                             109
          Case 1:15-cv-00321-SKO
            Case                   Document
                                  GORDON
                  1:15-cv-00321-SKO Document534-4
                                             &338-5
                                               REES Filed
                                                      LLP09/12/23
                                                    Filed          Page33
                                                          02/13/18 Page 103
                                                                          ofof
                                                                             61300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      July 7, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20362504
                                                                      Davis, Calvin E


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $95,845.00




                                              Exhibit 1, Page
                                              Exhibit 1, Page 110
                                                              110
Guardian Protection
         Case Case  Products, Inc.
                1:15-cv-00321-SKO
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page34
                                                           02/13/18 Page  July
                                                                         104   7,300
                                                                            ofof
                                                                               61 2016
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20362504

                                         Professional Services

Date       Description                                                               Init   Hours
06/01/16   Prepare for meeting with                                                  CED     1.60

06/01/16   Prepare                                                                   CED     0.60


06/03/16   Telephone with                                                            CED     0.40

06/03/16   Review and analysis of                                                    MMD2    1.20




06/03/16   Review and respond to communications with GIS' attorneys regarding        MMD2    0.30
           request for informal discovery conference on issues of Lease deposition
           testimony, privilege documents and attachment to AIG contract

06/06/16   Travel to Charlotte for meeting with                                      CED     7.50

06/06/16   Analysis regarding                                                        MMD2    0.40


06/06/16   Review and respond to communications with GIS' attorney Dylan             MMD2    0.10
           Liddiard and the court clerk regarding GIS' request for an informal
           discovery conference

06/07/16   Review and analysis of                                                    GAC     1.40



06/07/16   Prepare for and meet                                                      CED     3.20

06/07/16   Meeting with                                                              CED     1.50

06/07/16   Return travel from                                                        CED     5.50

06/07/16   Analysis re                                                               CED     0.40

06/07/16   Preparation of letter brief to court regarding informal discovery         MMD2    2.80
           conference requested by GIS

06/07/16   Review and analysis of                                                    MMD2    0.40



                                              Exhibit 1, Page
                                              Exhibit 1, Page 111
                                                              111
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page35
                                                           02/13/18 Page 105ofof
                                                                          July 7,300
                                                                               612016
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20362504


Date       Description                                                        Init      Hours

06/07/16   Review and respond to communications with Gary Collis and Calvin   MMD2       0.20
           Davis re ardin


06/08/16   Continue preparing                                                 GAC        2.20

06/08/16   Pre aration for                                                    MMD2       1.30



06/08/16   Analysis                                                           MMD2       1.00


06/08/16   Edit, revise and supplement                                        MMD2       2.60


06/08/16   Edit,         and supplement                                       MMD2       0.20


06/09/16   Pre are cones ondence to Johnny Green regarding                    GAC        0.20


06/09/16   Review and analysis                                                GAC        0.70


06/09/16   Review and anal sis of                                             GAC        5.90


06/09/16   Edit, revise and su   lement                                       MMD2       0.70


06/09/16   Review and anal sis of communication from Johnn Green re ardin     MMD2       0.10



06/10/16   Pre are corres ondence to Johnny Green regarding                   GAC        0.10


06/10/16   Review and analysis of                                             GAC        1.10


06/10/16   Prepare email to R. Holman                                         CED        0.30

06/11/16   Prepare for                                                        CED        4.10


                                           Exhibit 1, Page
                                           Exhibit 1, Page 112
                                                           112
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page36
                                                           02/13/18 Page 106ofof
                                                                          July 7,300
                                                                               612016
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20362504


Date       Description                                                             Init    Hours

06/12/16   Prepare for                                                             CED      9.50

06/13/16   Telephone with R. Holman and J. Green re                                CED      0.50

06/13/16   Analysis re                                                             CED      0.80

06/13/16   Review documents and exhibits for                                       CED      1.10

06/13/16   Analysis regarding                                                      MMD2     0.40


06/13/16   Analysis re ardin                                                       MMD2     1.00



06/14/16   Review and analysis                                                     GAC      0.30


06/14/16   Travel to Pittsburgh for C. Gibson and D. Gibson depositions (prepare for CED    9.50
           depositions en route)

06/14/16   Meeting with                                                            CED      1.10

06/14/16   Continued preparation                                                   CED      2.50

06/14/16   Review and res and to communications with Calvin Davis re ardin         MMD2     0.40



06/15/16   Prepare for and take deposition of C. Gibson                            CED      6.50

06/15/16   Continued preparation                                                   CED      3.40

06/15/16   Analysis re                                                             CED      1.50

06/16/16   Review and analysis                                                     GAC      1.30



06/16/16   Prepare for                                                             CED      6.00

06/16/16   Return travel from Pittsburgh                                           CED     12.50

06/17/16   Prepare                                                                 GAC      1.80


                                            Exhibit 1,
                                            Exhibit    Page 113
                                                    1, Page 113
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page37
                                                           02/13/18 Page 107ofof
                                                                          July 7,300
                                                                               612016
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20362504


Date       Description                                                                Init   Hours

06/17/16   Analysis re                                                                CED     0.60


06/17/16   Revise                                                                     CED     1.50

06/17/16   Review and anal sis of                                                     MMD2    0.50




06/17/16   Conference with Judge Oberto and Dylan Liddiard, counsel for GIS,          MMD2    1.20
           regarding informal discovery conference on issue of privilege documents,
           confidential financial statement and Darrin Lease's email retention and
           review

06/17/16   Anal sis re ardin                                                          MMD2    1.00



06/17/16   Analysis re ardin                                                          MMD2    0.20



06/17/16   Conference with Ga    Collis re ardin                                      MMD2    0.50




06/20/16   Review and analysis of                                                     GAC     0.20


06/20/16   Review and analysis of                                                     GAC     0.50



06/20/16   Exchange corres ondence with                                               GAC     0.70


06/20/16   Investigate background and skills of Magistrate Judge Stanley Boone,       GAC     0.70
           appointed to preside over mandatory settlement conference.

06/20/16   Travel to Pennsylvania for depositions of F. Gibson and C. Nolan           CED    10.50

06/20/16   Strategy re                                                                CED     1.00


                                            Exhibit 1,
                                            Exhibit    Page 114
                                                    1, Page 114
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page38
                                                           02/13/18 Page 108ofof
                                                                          July 7,300
                                                                               612016
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20362504


Date       Description                                                     Init         Hours
06/20/16   Prepare for                                                     CED           2.10

06/20/16   Analysis re                                                     CED           0.80


06/20/16   Review and analysis of                                          MMD2          0.40

06/20/16   Review and analysis of                                          MMD2          0.10


06/21/16   Tileii,o.
                  ffereme with                                             GAC           0.40


06/21/16   Review and anal sis of                                          GAC           2.80



06/21/16   Begin preparing                                                 GAC           2.20


06/21/16   Prepare for                                                     CED           9.00

06/21/16   Conference with Gary Collis to                                  MMD2          0.50



06/21/16   Review and respond to communications with Calvin Davis and Ga   MMD2          0.30
           Collis re ardin


06/21/16   Tele hone conference with                                       MMD2          0.50


06/22/16   Exchan e corres ondence with                                    GAC           0.50



06/22/16   Assemble additional materials for review b                      GAC           2.80



06/22/16   Review and analysis of                                          GAC           0.40




                                            Exhibit 1,
                                            Exhibit    Page 115
                                                    1, Page 115
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page39
                                                           02/13/18 Page 109ofof
                                                                          July 7,300
                                                                               612016
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20362504


Date       Description                                                            Init   Hours
06/22/16   Tele hone conference with                                              GAC     1.20


06/22/16   Review and analysis of                                                 GAC     0.90



06/22/16   Len   y tee hone conference with                                       GAC     1.30


06/22/16   Prepare for                                                            CED     2.00

06/22/16   Analysis re                                                            CED     1.10


06/22/16   Analysis re                                                            CED     0.50

06/22/16   Review                                                                 CED     1.50


06/22/16   Conference with Calvin Davis and Ga   Collis re ardin                  MMD2    1.30



06/22/16   Review and res and to communications with Gary Collis and Erin Otero   MMD2    0.90
           re ardin



06/22/16   Analysis re ardin                                                      MMD2    0.80


06/22/16   Review and anal sis of                                                 MMD2    0.60



06/23/16   Review and analysis of                                                 GAC     0.40



06/23/16   Pre are correspondence to Glen Balzer regarding                        GAC     0.30


06/23/16   Assemble documents for review by Glen Balzer to                        GAC     2.20



                                           Exhibit 1,
                                           Exhibit    Page 116
                                                   1, Page 116
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page40
                                                           02/13/18 Page 110ofof
                                                                          July 7,300
                                                                               612016
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20362504


Date       Description                                                  Init            Hours

06/23/16   Review and anal sis of                                       GAC              2.50




06/23/16   Tele hone conference with Karl Schulze re ardin              GAC              0.30



06/23/16   Pre are                                                      GAC              1.70


06/23/16   Exchange correspondence with Karl Schulze regarding          GAC              0.50


06/23/16   Return travel from C. Nolan deposition                       CED             10.50

06/23/16   Prepare for                                                  CED              7.50

06/23/16   Pre aration of                                               MMD2             2.90




06/24/16   Telephone conference with expert Glen Balzer regarding       GAC              0.70


06/24/16   Prepare correspondence to Glen Balzer regarding              GAC              0.10
                   •

06/24/16   Review and analysis of                                       GAC              1.20


06/24/16   Review                                                       CED              0.50


06/24/16   Telephone with distribution expert Glen Balzer re            CED              0.60

06/24/16   Continue re aration of                                       MMD2             3.60



06/24/16   Analysis regarding                                           MMD2             0.20



                                            Exhibit 1,
                                            Exhibit    Page 117
                                                    1, Page 117
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page41
                                                           02/13/18 Page 111ofof
                                                                          July 7,300
                                                                               61 2016
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20362504


Date       Description                                                              Init   Hours

06/24/16   Analysis regarding                                                       MMD2    0.30




06/27/16   Exchange correspondence with Glen Balzer regarding                       GAC     1.00



06/27/16   Pre are                                                                  GAC     3.70


06/27/16   Review and analysis of                                                   MMD2    2.60



06/27/16   Review and analysis of                                                   MMD2    1.30



06/27/16   Prepare communication to Erin Otero regarding                            MMD2    0.20



06/28/16   Continue preparing                                                       GAC     3.50


06/28/16   Telephone conference with Karl Schulze regarding                         GAC     0.20

06/28/16   Review and analysis of                                                   GAC     0.40

06/28/16   Review and revise                                                        CED     1.20

06/28/16   Exchange emails with D. Liddiard re moving deadline for expert reports   CED     0.30
           given pending motion to amend complaint

06/28/16   Review and respond to communications with Calvin Davis and Gary          MMD2    0.30
           Collis re ardin



06/28/16   Pre are communication to Erin Otero re ardin                             MMD2    0.10




                                            Exhibit 1, Page
                                            Exhibit 1, Page 118
                                                            118
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page42
                                                           02/13/18 Page 112ofof
                                                                          July 7,300
                                                                               61 2016
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20362504


Date       Description                                                   Init            Hours

06/28/16   Pre aration                                                   MMD2             4.40


06/28/16   Conduct research re ardin                                     MMD2             3.30




06/29/16   Review and analyze legal authori regarding                    CKC1             1.60


06/29/16   Telephone conference with Karl Schulze regarding              GAC              0.40


06/29/16   Exchange correspondence with Johnny Green regarding           GAC              0.40


06/29/16   Exchange correspondence with Karl Schulze regarding           GAC              1.00


06/29/16   Review and analysis of                                        GAC              2.20


06/29/16   Exchange correspondence with Glen Balzer regarding            GAC              0.20


06/29/16   Review
                and analysis of                                          GAC              2.40



06/29/16   Continue preparing                                            GAC              0.70


06/29/16   Exchan e corres ondence with Karl Schulze regarding           GAC              0.20


06/29/16   Analysis re                                                   CED              0.80

06/29/16   Pre aration                                                   MMD2             2.70




06/29/16   Continue preparation of                                       MMD2             2.30

                                           Exhibit 1,
                                           Exhibit    Page 119
                                                   1, Page 119
Guardian Protection
         Case Case  Products, Inc.
                1:15-cv-00321-SKO
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page43
                                                           02/13/18 Page  July
                                                                         113   7,300
                                                                            ofof
                                                                               612016
ID: GPPI 1104957                                                          Page 11
Invoice No.: 20362504


Date       Descri tion                                                             Init          Hours



06/30/16   Tele hone conference with Glen Balzer about                             GAC             0.60


06/30/16   Review and analysis of                                                  GAC             0.30


06/30/16   Exchan e corres ondence with expert Karl Shulze regarding               GAC             0.80


06/30/16   Telephone conference with Karl Schulze, Johnny Green, and Darin Lease   GAC             0.70
           regarding

06/30/16   Review and finalize                                                     CED             0.50

06/30/16   Preparation of                                                          MMD2            1.20


06/30/16   Review and analysis of                                                  MMD2            0.30




                                          Services Recap
Init       Name                             Title                          Rate      Hours     Amount
CED        Calvin Davis                     Senior Partner                420.00     132.50   55,650.00
CKC1       Connie Chang                     Associate                     325.00       1.60      520.00
GAC        Gary Collis                      Senior Counsel                375.00      58.20   21,825.00
MMD2       Margaret Drugan                  Senior Counsel                375.00      47.60   17,850.00




                         TOTAL FOR SERVICES                                $95,845.00




                                           Exhibit 1, Page
                                           Exhibit 1, Page 120
                                                           120
          Case 1:15-cv-00321-SKO
            Case                   Document
                                  GORDON
                  1:15-cv-00321-SKO Document534-4
                                             &338-5
                                               REES Filed
                                                      LLP
                                                    Filed 09/12/23  Page44
                                                           02/13/18 Page 114
                                                                           ofof
                                                                              61300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      August 9, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20370191
                                                                      Davis,Calvin E


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $20,946.00




                                              Exhibit 1, Page
                                              Exhibit 1, Page 121
                                                              121
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page45
                                                           02/13/18 Page 115
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20370191

                                       Professional Services

Date       Description                                                              Init   Hours
07/01/16   Review and analysis re                                                   CED     0.70

07/01/16   Review and analysis of                                                   MMD2    0.40

07/01/16   Edit,                                                                    MMD2    3.80


07/01/16   Prepare communication to Judge Oberto regarding reply brief in support   MMD2    0.10
           of Guardian's position on attorney client privileged documents

07/05/16   Revise and finalize                                                      GAC     2.60


07/05/16   Review and analysis of                                                   GAC     0.70


07/05/16   Review and revise                                                        CED     0.60

07/05/16   Analysis re                                                              CED     0.50

07/05/16   Due diligence on                                                         CED     0.40

07/06/16   Pre are corres ondence to Karl Schulze regarding                         GAC     0.10


07/06/16   Analysis re                                                              CED     0.50

07/06/16   Analysis re                                                              CED     0.30

07/06/16   Pre aration for                                                          MMD2    0.90




07/07/16   Tele hone conference with Karl Schulze regarding                         GAC     0.20


07/07/16   Tele hone conference with Karl Schulze regarding                         GAC     1.00


07/07/16   Elan
              ironclervitlIJI..
                e con    m Green re ardini                                          GAC     0.30
                                    m


                                            Exhibit 1, Page
                                            Exhibit 1, Page 122
                                                            122
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page46
                                                           02/13/18 Page 116
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20370191


Date       Description                                                              Init   Hours

07/07/16   Pre are corres ondence to Karl Schulze re ardin                          GAC     0.30



07/07/16   Telephone with damages expert Karl Schulze re                            CED     0.50

07/07/16   Continued analysis of                                                    CED     0.50

07/07/16   Analysis re                                                              CED     0.80


07/07/16   Analysis re ardm                                                         MMD2    0.30




07/07/16   Telephone conference with Judge Oberto and GIS attorney Dylan            MMD2    1.20
           Liddiard and Craig Bolton regarding informal discovery conference on
           attorney client privilege documents, consolidated financial report and
           Darin Lease emails

07/07/16   Review and respond to communications with Erin Otero regarding           MMD2    0.10


07/08/16   Exchange correspondence with Chris Taylor regarding                      GAC     0.30


07/08/16   Prepare correspondence to Karl Schulze regarding                         GAC     0.20


07/08/16   Tele shone conference with Erin Otero and Darin Lease re• ardin:         GAC     0.70


07/08/16   Prepare email to client re                                               CED     0.20

07/08/16   Due diligence on                                                         CED     0.60

07/08/16   Review documents needed for                                              CED     0.40

07/08/16   Analysis re                                                              CED     0.40

07/08/16   Telephone with plaintiffs counsel re settlement                          CED     0.30



                                             Exhibit 1,
                                             Exhibit    Page 123
                                                     1, Page 123
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page47
                                                           02/13/18 Page 117
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20370191


Date       Descri tion                                                            Init   Hours
07/08/16   Analysis re                                                            CED     0.40

07/08/16   Tele hone conference with Erin Otero, Darin Lease re ardin             MMD2     0.70




07/08/16   Review and analysis of                                                 MMD2     0.10




07/08/16   Review and analysis of                                                 MMD2     0.10


07/11/16   Analysis re                                                            CED      0.30

07/11/16   Prepare communication to Judge Oberto in response to court order for   MMD2     0.30
           document for in camera review of attorney client privilege

07/11/16   Anal sis re ardin                                                      MMD2     0.30



07/11/16   Pre are communication to Erin Otero re ardin                           MMD2     0.10



07/12/16   Pre aration of draft of                                                MMD2     0.70




07/12/16   Review and analysis of                                                 MMD2     0.20




07/13/16   Exchange correspondence with Darin Lease regarding                     GAC      0.40


07/13/16   Review and analysis of                                                 GAC      0.50




                                            Exhibit 1,
                                            Exhibit    Page 124
                                                    1, Page 124
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page48
                                                           02/13/18 Page 118
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20370191


Date       Description                                                            Init   Hours
07/13/16   Telephone with D. Liddiard re mediation issues                         CED     0.40

07/13/16   Analysis re                                                            CED      0.30

07/13/16   Exchange emails with client re                                         CED      0.40

07/13/16   Review and res and to communications with Darin Lease and Erin Otero   MMD2     0.30
           regarding


07/13/16   Analysis re ardin                                                      MMD2     0.20


07/13/16   Prepare communication to Johnny Green regarding                        MMD2     0.20




07/14/16   Analysis re                                                            CED      0.50

07/14/16   Additional due diligence on                                            CED      0.40

07/14/16   Prepare email to plaintiff re scheduling expert depositions            CED      0.30

07/14/16   Review and analysis of                                                 MMD2     1.90




07/14/16   Pre aration of                                                         MMD2     0.80




07/14/16   Review of communication from client regarding                          MMD2     0.10


07/14/16   Multiple telephone conferences with Sharon Bates, Erin Otero and       MMD2     1.10
           Tammy from RPM re ardin


07/15/16   Exchan e corres ondence with expert Karl Schulze regarding             GAC      0.20


07/15/16   Exchange emails with plaintiffs counsel re expert depositions          CED      0.40


                                             Exhibit 1,
                                             Exhibit    Page 125
                                                     1, Page 125
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page49
                                                           02/13/18 Page 119
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20370191


Date       Description                                                                Init   Hours

07/15/16   Review and analysis of                                                     MMD2    4.90




07/15/16   Preparation of letter to GIS attorneys regarding production of Lease       MMD2    0.60
           documents from his hard drive regarding quota calculation and index of
           emails from Lease to Green regarding quota calculations as ordered by
           court

07/15/16   Prepare communication to Judge Oberto regarding Johnny Green               MMD2    0.10
           declaration in support of preliminary facts necessary to assert attorney
           client privilege on GUARD 00008554 - 8556

07/15/16   Telephone conference with Erin Otero and Darin Lease regarding             MMD2    0.70




07/18/16   Analysis re                                                                CED     0.40

07/18/16   Review and revise                                                          CED     0.80

07/18/16   Review                                                                     CED     0.50


07/18/16   Review and respond to communications with court clerk regarding            MMD2    0.20
           schedule of court ordered conference on informal discovery dispute

07/18/16   Review and respond to communications with GIS attorney regarding           MMD2    0.20
           production of additional emails for spreadsheets from Lease quota
           calculations

07/19/16   Pre are                                                                    GAC     0.50



07/19/16   Exchange emails with client re                                             CED     0.30

07/20/16   Prepare notice of deposing expert Peter Wrobel, including requests for     GAC     1.10
           production of documents.

07/20/16   Prepare email to expert re                                                 CED     0.20



                                              Exhibit 1,
                                              Exhibit    Page 126
                                                      1, Page 126
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page50
                                                           02/13/18 Page 120
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20370191


Date       Description                                                               hut    Hours
07/20/16   Prepare email to client re                                                CED     0.30

07/21/16   Review and revise                                                         CED     0.30

07/22/16   Analysis re                                                               CED     0.30

07/22/16   Draft memorandum for                                                      CED     1.20

07/22/16   Analysis re                                                               CED     0.50

07/22/16   Pre aration of additional documents for                                   MMD2    0.60



07/22/16   Review and respond to communications with GIS' attorneys regarding        MMD2    0.20
           additional document production as ordered by Judge Oberto

07/22/16   Pre aration of                                                            MMD2    0.70




07/22/16   Telephone conference with Judge Oberto and GIS attorney Dylan             MMD2    0.60
           Liddiard regarding discovery issues regarding attorney client privilege
           document, Lease production and other discovery matters

07/22/16   Anal sis re ardin                                                         MMD2    0.20




07/22/16   Anal sis re ardin                                                         MMD2    0.20




07/27/16   Review and analysis of                                                    GAC     0.50


07/27/16   Review and analysis of                                                    CED     0.50

07/27/16   Review and analysis of                                                    MMD2    0.50




                                             Exhibit 1,
                                             Exhibit    Page 127
                                                     1, Page 127
          Case  1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page51
                                                           02/13/18 Page 121
                                                                           ofof
                                                                              61300
                                                                          August 9, 2016
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20370191


Date       Description                                                               Init   Hours

07/28/16   Exchange emails with client re                                            CED     0.30

07/28/16   Analysis re                                                               CED     0.80


07/28/16   Analysis re                                                               CED     1.10


07/28/16   Prepare communication to GIS attorney Dylan Liddiard regarding meet       MMD2    0.10
           and confer to discuss court order on Motion for Leave to Amend and to
           discuss discovery issues

07/28/16   Analysis regarding                                                        MMD2    0.50




07/29/16   Analysis re                                                               CED     0.30

07/29/16   Review                                                                    CED     0.20

07/29/16   Exchange emails with expert re                                            CED     0.20

07/29/16   Exchange emails with plaintiff re expert deposition scheduling            CED     0.20

07/29/16   Analysis re                                                               CED     0.30

07/29/16   Telephone conference with GIS attorneys Dylan Liddiard and Craig          MMD2    0.50
           Bolton regarding meet and confer in response to court's order granting
           leave to amend complaint and discussion of additional production of
           Lease documents from his computer hard drives and discussion of other
           depositions that GIS wants to take in preparation of report to court on
           new scheduling order dates and potential motion to compel by GIS on
           new discovery

07/29/16   Anal sis re ardin                                                         MMD2    0.50




                                             Exhibit 1,
                                             Exhibit    Page 128
                                                     1, Page 128
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document534-4
                                   338-5 Filed
                                         Filed09/12/23  Page52
                                               02/13/18 Page 122
                                                               ofof
                                                                  61300




                           Exhibit 1, Page
                           Exhibit 1, Page 129
                                           129
          Case 1:15-cv-00321-SKO
            Case                   Document
                                  GORDON
                  1:15-cv-00321-SKO Document534-4
                                             &338-5
                                               REES Filed
                                                      LLP
                                                    Filed 09/12/23  Page53
                                                           02/13/18 Page 123
                                                                           ofof
                                                                              61300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      September 8, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20377234
                                                                      Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $47,136.00




                                              Exhibit 1, Page
                                              Exhibit 1, Page 130
                                                              130
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page54
                                                           02/13/18 Page 124
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20377234

                                        Professional Services

Date       Description                                                                Init   Hours
08/01/16   Review and analysis of                                                     CED     1.00

08/01/16   Pre are for call with clients R. Holman and J. Green to discuss            CED     1.10


08/01/16   Review and analysis of                                                     CED     0.90

08/01/16   Review and respond to communications with GIS attorneys regarding          MMD2    0.20
           additional discovery on Guardian regarding new allegations in the
           complaint and service on RPM Wood Finishes Group

08/02/16   Review and analysis of                                                     CED     1.30

08/02/16   Review and analysis of                                                     CED     1.60

08/02/16   Analysis re                                                                CED     0.30


08/02/16   Conference call with clients R. Holman, J Green and E. Otero re            CED     0.80


08/02/16   Analysis re                                                                MMD2    0.30

08/03/16   Conference call with clients S. ICnoo , K. Nota, R. Holman, J. Green re    CED     0.90


08/03/16   Review and analysis of                                                     CED     1.50


08/03/16   Review and analysis of                                                     CED     0.90
           with clients

08/03/16   Meeting with expert Karl Schulze re                                        CED     1.00


08/03/16   Exchange emails with plaintiffs counsel re scheduling expert depositions   CED     0.30

08/03/16   Review documents for                                                       CED     0.70

08/04/16   Review and analysis of                                                     CED     1.00




                                             Exhibit 1, Page
                                             Exhibit 1, Page 131
                                                             131
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page55
                                                           02/13/18 Page 125
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20377234


Date       Descri lion                                                   Init         Hours
08/04/16   Prepare for                                                   CED           1.00

08/05/16   Prepare for                                                   CED            0.80


08/05/16   Analysis re                                                   CED            0.60

08/05/16   Prepare response to                                           CED            0.80

08/05/16   Prepare                                                       CED            1.50

08/05/16   Prepare for                                                   CED            0.50

08/05/16   Telephone with plaintiffs counsel re expert report issues     CED            0.40

08/05/16   Begin draft of                                                APR            0.60

08/05/16   Research case authority re:                                   APR            1.70


08/08/16   Review and revise                                             CED            0.90

08/08/16   Analysis re                                                   CED            0.40

08/08/16   Review and analysis of                                        CED            0.40

08/08/16   Further draft                                                 APR            2.30


08/08/16   Further                                                       APR            1.20


08/09/16   Review and analysis of                                        CED            0.40


08/09/16   Finalize                                                      CED            0.30

08/09/16   Analysis re                                                   CED            0.40

08/09/16   Analysis re a                                                 CED            0.40

08/09/16   Review and analyze                                            APR            0.20


08/10/16   Review and analysis of                                        CED            0.30

                                             Exhibit 1,
                                             Exhibit    Page 132
                                                     1, Page 132
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page56
                                                           02/13/18 Page 126
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20377234


Date       Descri tion                                                               Init    Hours


08/10/16   Pre are res onse to                                                       CED      0.30


08/10/16   Prepare for                                                               CED      0.40

08/10/16   Review and analysis of                                                    CED      0.30

08/10/16   Analysis re                                                               CED      0.50

08/10/16   Analysis re                                                               CED      0.40

08/10/16   Review and analysis of                                                    CED      0.40


08/11/16   Review                                                                    CED      0.20

08/11/16   Conference call with Judge Stanley Boone re settlement conference         CED      0.30

08/11/16   Conference call with clients E. Moore, S. Knoop, K. Nota, J. Green, R.    CED      0.90
           Holman re

08/11/16   Finalize                                                                  CED      0.20


08/11/16   Telephone with client re                                                  CED      0.30

08/11/16   Exchange emails with court re                                             CED      0.30

08/11/16   Telephone with expert Karl Schulze re                                     CED      0.30


08/11/16   Exchange emails with client re                                            CED      0.30

08/11/16   Prepare                                                                   CED      0.70

08/12/16   Attend conference call with judge and plaintiffs counsel re expert rebuttal CED    0.00
           report issues

08/12/16   Telephone with plaintiffs counsel re discovery schedule                   CED      0.30

08/12/16   Conference call with court and plaintiffs counsel re discovery schedule   CED      0.30

08/12/16   Analysis re                                                               CED      0.60


                                             Exhibit 1,
                                             Exhibit    Page 133
                                                     1, Page 133
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page57
                                                           02/13/18 Page 127
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20377234


Date       Description                                                               Mit    Hours

08/12/16   Review                                                                    CED     0.30


08/12/16   Prepare                                                                   CED     1.00

08/12/16   Prepare                                                                   CED     0.50

08/12/16   Pre aration of                                                            MMD2    5.90



08/13/16   Review and revise                                                         CED     2.10

08/15/16   Exchange correspondence with Attorney Dylan Liddiard regarding            GAC     0.30
           deadline of Guardian to answer Second Amended Complaint.

08/15/16   Prepare                                                                   GAC     0.70


08/15/16   Continued preparation of                                                  CED     0.00

08/15/16   Analysis re                                                               CED     0.40

08/15/16   Exchan e emails with expert K. Schulze re                                 CED     0.20


08/16/16   Prepare                                                                   GAC     4.70

08/16/16   Revise                                                                    GAC     2.80

08/17/16   Continue preparing                                                        GAC     2.20

08/17/16   Exchange correspondence with Attorney Dylan Liddiard regarding            GAC     0.40
           stipulation and proposed order to continue the deadline for Guardian to
           answer the Second Amended Complaint.

08/17/16   Analysis re                                                               CED     0.50

08/17/16   Finalize                                                                  CED     0.50

08/17/16   Analysis re                                                               CED     0.40

08/17/16   Analysis re                                                               CED     0.30



                                             Exhibit 1,
                                             Exhibit    Page 134
                                                     1, Page 134
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page58
                                                           02/13/18 Page 128
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20377234


Date       Description                                                          Init   Hours
08/17/16   Review and analysis of                                               MMD2    3.80




08/18/16   Review and revise                                                    CED     1.00

08/18/16   Review and analysis of                                               CED     0.50

08/18/16   Exchange emails with plaintiff re trial schedules                    CED     0.40

08/18/16   Prepare for                                                          CED     1.00

08/19/16   Prepare correspondence to Erin Otero regarding                       GAC     0.20


08/19/16   Prepare                                                              GAC     0.30


08/19/16   Analysis re                           s                              CED     0.40

08/19/16   Exchange emails with plaintiffs counsel re trial scheduling issues   CED     0.30

08/19/16   Exchange emails with plaintiff re expert depositions                 CED     0.20

08/19/16   Analysis re                                                          CED     0.30

08/19/16   Prepare documents for                                                CED     1.40

08/22/16   Pre are corres ondence to Erin Otero regarding                       GAC     0.10


08/22/16   Attend further scheduling conference.                                GAC     0.70

08/22/16   Travel to Fresno for settlement conference                           CED     4.20

08/22/16   Meeting with clients to prepare for                                  CED     1.00

08/22/16   Exchange emails with plaintiff re expert deposition scheduling       CED     0.20

08/22/16   Prepare email to K. Schulze re                                       CED     0.20

08/22/16   Prepare for and attend scheduling conference with court              CED     0.60



                                             Exhibit 1,
                                             Exhibit    Page 135
                                                     1, Page 135
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page59
                                                           02/13/18 Page 129
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20377234


Date       Descri tion                                                             Init   Hours
08/22/16   Analysis re                                                             CED     0.70

08/23/16   Pre are                                                                 GAC     1.30


08/23/16   Be in review and anal sis of                                            GAC     1.60



08/23/16   Prepare                                                                 GAC     2.10

08/23/16   Finalize                                                                GAC     0.30


08/23/16   Travel to/from and attend settlement conference, meeting with clients   CED     7.00

08/23/16   Return travel from settlement conference in Fresno                      CED     4.10

08/23/16   Analysis re ardin                                                       MMD2    0.50



08/23/16   Analysis re ardin                                                       MMD2    0.40




08/24/16   Review and revise                                                       CED     0.20

08/24/16   Telephone with client re                                                CED     0.30

08/24/16   Review                                                                  CED     0.60

08/24/16   Analysis re                                                             CED     0.30

08/24/16   Prepare for                                                             CED     0.50

08/25/16   Review                                                                  CED     0.60


08/25/16   Analysis re                                                             CED     0.50

08/25/16   Telephone with Karl Schulze re                                          CED     0.40

08/25/16   Exchange emails with client re                                          CED     0.40


                                            Exhibit 1,
                                            Exhibit    Page 136
                                                    1, Page 136
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page60
                                                           02/13/18 Page 130
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20377234


Date       Description                                                      Init      Hours

08/25/16   Telephone with expert re                                         CED         0.40

08/25/16   Analysis re                                                      CED         0.50

08/25/16   Analysis re                                                      CED         0.50

08/25/16   Review                                                           CED         1.10

08/25/16   Analysis re                                                      CED         1.00

08/25/16   Pre aration of                                                   MMD2        0.50



08/25/16   Review and analysis of                                           MMD2        1.20



08/25/16   Review and analysis of                                           MMD2        0.20



08/25/16   Identify and select documents for                                MMD2        0.90


08/26/16   Prepare email to client re                                       CED         0.80

08/26/16   Review                                                           CED         0.30

08/26/16   Review                                                           CED         0.30

08/26/16   Prepare email to client re                                       CED         0.30

08/26/16   Prepare for                                                      CED         1.50

08/26/16   Analysis re                                                      CED         0.70

08/26/16   Pre aration of                                                   MMD2        0.80


08/26/16   Preparation of                                                   MMD2        0.60


08/26/16   Review and respond to communications with Calvin Davis regarding I. MMD2     0.50


                                               Exhibit 1, Page
                                               Exhibit 1, Page 137
                                                               137
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-5 Filed
                                                     Filed09/12/23  Page61
                                                           02/13/18 Page 131
                                                                           ofof
                                                                              61300 8, 2016
                                                                          September
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20377234


Date       Descri tion                                                            Init          Hours



08/26/16   Review and res and to communications with Calvin Davis regarding       MMD2             0.20


08/27/16   Review information from client re                                      CED              0.30

08/27/16   Analysis re                                                            CED              0.30

08/29/16   Prepare                                                                CED              3.30

08/30/16   Revise                                                                 CED              1.10

08/31/16   Pre are                                                                GAC              1.10


08/31/16   Finalize                                                               CED              0.50




                                           Services Recap
Init       Name                                 Title                     Rate       Hours     Amount
APR        Aaron Rudin                          Partner                  375.00        6.00    2,250.00
CED        Calvin Davis                         Senior Partner           420.00       75.80   31,836.00
GAC        Gary Collis                          Senior Counsel           375.00       18.80    7,050.00
MMD2       Margaret Drugan                      Senior Counsel           375.00       16.00    6,000.00




                         TOTAL FOR SERVICES                               $47,136.00




                                               Exhibit 1, Page
                                               Exhibit 1, Page 138
                                                               138
Case 1:15-cv-00321-SKO   Document 534-4   Filed 09/12/23   Page 132 of 300
          Case 1:15-cv-00321-SKO
             Case                  Document
                                 GORDON
                  1:15-cv-00321-SKO         534-4
                                     Document&338-6
                                               REES Filed
                                                      LLP09/12/23
                                                     Filed 02/13/18 Page
                                                                    Page 133
                                                                         1 of of
                                                                              82300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      October 5, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20384213
                                                                      Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $54,366.00




                                              Exhibit 1, Page
                                              Exhibit 1, Page 139
                                                              139
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 134
                                                                             of of
                                                                                82300
                                                                           2October 5, 2016
ID: GPPI 1104957                                                            Page 2
Invoice No.: 20384213

                                        Professional Services


Date       Descri tion                                                           Init    Hours
09/01/16   Analysis re                                                           CED      0.40

09/01/16   Review and revise                                                     CED          0.30

09/01/16   Review and respond to communications with Calvin Davis and Ga         MMD2         0.20
           Collis regarding


09/02/16   Telephone with J. Green re                                            CED          0.40

09/02/16   Telephone with R. Holman re                                           CED          0.30

09/02/16   Analysis re                                                           CED          1.60

09/02/16   Analysis re                                                           CED          0.40

09/02/16   Prepare for                                                           CED      3.30

09/02/16   Review and res and to communications with Calvin Davis re ardin       MMD2         0.20




09/05/16   Review                                                                CED          1.50


09/06/16   Inco or                                                               CED          1.00


09/06/16   Prepare for                                                           CED          1.90

09/06/16   Analysis re                                                           CED          0.40

09/06/16   Review and res and to communications with Erin Otero re ardin         MMD2         0.30



09/07/16   Take deposition of Peter Wrobel, damages expert for plaintiff         CED          4.50

09/07/16   Review documents relating to                                      s   CED          1.50




                                            Exhibit 1, Page
                                            Exhibit 1, Page 140
                                                            140
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 135
                                                                             of of
                                                                                82300
                                                                           3October 5, 2016
ID: GPPI 1104957                                                            Page 3
Invoice No.: 20384213


Date       Description                                                           Init    Hours
09/07/16   Bein review, anal sis and codin of                                    MMD2     6.20




09/08/16   Prepare email to client re                                            CED          0.40

09/08/16   Prepare email to clients re                                           CED          0.30

09/08/16   Telephone with damages expert Karl Schulze re                         CED          0.30


09/08/16   Exchange emails with damages expert re                                CED          0.20

09/08/16   Prepare memorandum re                                                 CED          0.70

09/08/16   Analysis re                                                           CED          0.50


09/08/16   Review and analysis of Lease documents for additional documents to    MMD2     2.40
            roduce in response to


09/08/16   Telephone conference with Dylan Liddiard and Craig Bolton regarding   MMD2         0.50




09/08/16   Pre aration of                                                        MMD2     2.60



09/08/16   Pre aration of                                                        MMD2     3.10



09/08/16   Pre are communication to Erin Otero re ardin                          MMD2         0.10



09/08/16   Tele hone conference with Erin Otero re ardin                         MMD2         1.40



09/09/16   Edit, revise and supplement                                           MMD2         0.90


                                           Exhibit 1,
                                           Exhibit    Page 141
                                                   1, Page 141
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 136
                                                                             of of
                                                                                82300
                                                                           4October 5, 2016
ID: GPPI 1104957                                                            Page 4
Invoice No.: 20384213


Date       Descri tion                                                             Init   Hours



09/09/16   Review and res and to communications with Erin Otero re ardin           MMD2       0.50




09/09/16   Edit, revise and su lement                                              MMD2       0.60



09/09/16   Review and res and to communications with Chris Taylor regarding        MMD2       0.20



09/09/16   Continue review, analysis and codin of                                  MMD2       5.70




09/12/16   Analysis re                                                             CED        0.40

09/12/16   Exchange emails with client re                                          CED        0.30

09/12/16   Finalize                                                                MMD2       0.90



09/12/16   Continue review, anal sis and codin of                                  MMD2       5.30




09/12/16   Review and res and to communications with Erin Otero re ardin           MMD2       1.50




09/12/16   Review and respond to communications with Chris Taylor regarding        MMD2       0.40


           11111111111PIIIIM
09/12/16   Telephone conference with Renaissance partner David Bregler regarding   MMD2       0.20

                                            Exhibit 1,
                                            Exhibit    Page 142
                                                    1, Page 142
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 137
                                                                             of of
                                                                                82300
                                                                           5October 5, 2016
ID: GPPI 1104957                                                            Page 5
Invoice No.: 20384213


Date       Descri tion                                                     Init          Hours


09/13/16   Prepare email to client re                                      CED                0.50


09/13/16   Telephone with clients re                                       CED                0.40

09/13/16   Telephone with expert (2) re                                    CED                0.50

09/13/16   Review, analysis and redactin of                                MMD2               5.90




09/14/16   Review                                                          CED                2.20


09/14/16   Prepare memo for                                                CED                0.80

09/14/16   Analysis re                                                     CED                0.30

09/14/16   Analysis re                                                     CED                0.40

09/14/16   Telephone with damages expert Karl Schulze re                   CED                0.30

09/14/16   Continue review, analysis and coding of                         MMD2               4.60




09/14/16   Follow u tele hone call to David Bregler regarding              MMD2               0.20


09/15/16   Review                                                          CED                2.50

09/15/16   Telephone with C. Taylor re                                     CED                0.40

09/15/16   Review and analysis of                                          CED                1.50

09/15/16   Analysis re                                                     CED                0.20

09/16/16   Analysis re                                                     CED                0.30

09/16/16   Analysis re                                                     CED                0.30



                                              Exhibit 1,
                                              Exhibit    Page 143
                                                      1, Page 143
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 138
                                                                             of of
                                                                                82300
                                                                           6October 5, 2016
ID: GPPI 1104957                                                            Page 6
Invoice No.: 20384213


Date       Description                                                            Init      Hours
09/16/16   Preparation of memo                                                    CED        1.00


09/16/16   Finalize preparation for                                               CED         0.80

09/16/16   Review and analysis of                                                 CED         0.70


09/19/16   Analysis re                                                            CED         1.00

09/19/16   Further review of                                                      CED         1.20


09/19/16   Telephone conference with GIS attorneys regarding meet and confer on      MMD2    1.30
           Guardian and RPM Wood Finishes Group's responses to interrogatories
           and requests for production in preparation of supplementing the discovery

09/19/16   Review and analysis of                                                 MMD2        1.30



09/19/16   Review and analysis of                                                 MMD2       2.50



09/20/16   Analysis re                                                            CED        0.50

09/20/16   Tele hone conference with Erin Otero re ardin                          MMD2       0.90




09/20/16   Review and anal sis of                                                 MMD2       4.20



09/21/16   Prepare email to expert re                                             CED        0.30

09/21/16   Telephone conference with GIS attorneys Dylan Liddiard and Craig       MMD2       0.80
           Bolton regarding further meet and confer on Guardian's responses to
           written discovery and document production

09/21/16   Tele 'hone conference with David Bre ler and Chris Taylor regarding    MMD2       0.30




                                            Exhibit 1,
                                            Exhibit    Page 144
                                                    1, Page 144
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 139
                                                                             of of
                                                                                82300
                                                                           7October 5, 2016
ID: GPPI 1104957                                                            Page 7
Invoice No.: 20384213


Date       Description                                                               Init   Hours
09/21/16   Review and respond to communications with Erin Otero re ardin             MMD2    0.50




09/21/16   Prepare client's documents for                                            AS5      0.50


09/22/16   Analysis re                                                               CED      0.50

09/22/16   Telephone with client re                                                  CED      0.40

09/22/16   Telephone conference to David Bregler of Renaissance regarding            MMD2     0.10


09/22/16   Review and res and to communications with client and Calvin Davis         MMD2     0.40
           regarding


09/23/16   Analysis re                                                               CED      0.40

09/23/16   Pre aration of                                                            MMD2    2.10


09/23/16   Preparation of                                                            MMD2    2.50



09/23/16   Review and respond to communications with GIS attorney Craig Bolton       MMD2     1.00
           regarding response to GIS' proposed joint letter to the court for an
           informal discovery conference on discovery issues including tax returns
           and Defendants' response to their joint letter

09/26/16   Review and analysis of                                                    GAC      0.20


09/26/16   Analysis re                                                               CED      0.80

09/26/16   Analysis re                                                               CED      0.50

09/26/16   Analysis re                                                               CED      1.00

09/26/16   Review                                                                    CED      0.50



                                            Exhibit 1,
                                            Exhibit    Page 145
                                                    1, Page 145
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 140
                                                                             of of
                                                                                82300
                                                                           8October 5, 2016
ID: GPPI 1104957                                                            Page 8
Invoice No.: 20384213


Date       Description                                                               Init   Hours
09/26/16   Detailed review of                                                        CED     1.10


09/26/16   Edit, revise and su lement                                                MMD2    3.70



09/27/16                                                                             CED      1.40

09/27/16   Review                                                                    CED      1.70


09/27/16   Conference call with clients and M. Everts re                             CED      1.10

09/27/16   Prepare for call with clients re                                          CED     0.50

09/27/16   Pre are memorandum regarding                                              CED      1.00


09/27/16   Review and respond to communications with Erin Otero regarding            MMD2    0.40




09/27/16   Identify and select documents from                                        MMD2    2.50


09/28/16   Finalize memorandum regarding                                             CED      1.30


09/28/16   Analysis re                                                               CED      0.90

09/28/16   Prepare email to plaintiffs counsel re scheduling of Schulze deposition   CED     0.20

09/28/16   Review                                                                    CED     1.40

09/28/16   Prepare email to M. Evert re                                              CED     0.30

09/28/16   Continue re aration of                                                    MMD2    5.40



09/28/16   Review and anal sis of                                                    MMD2    1.60




                                              Exhibit 1,
                                              Exhibit    Page 146
                                                      1, Page 146
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument 534-4
                                       Document 338-6 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 141
                                                                             of of
                                                                                82300
                                                                           9October 5, 2016
ID: GPPI 1104957                                                            Page 9
Invoice No.: 20384213


Date       Descri tion                                                             Init   Hours


09/29/16   Review, analyze, and revise                                             GAC        0.80

09/29/16   Prepare for                                                             CED        0.80

09/29/16   Review and revise                                                       CED        1.10

09/29/16   Exchange emails with M. Everts re                                       CED        0.20

09/29/16   Review and anal sis of                                                  CED        0.70


09/29/16   Preparation for                                                         MMD2    0.40



09/29/16   Preparation for                                                         MMD2    0.80


09/30/16   Follow-u tele hone conference with Karl Schulze re ardin                GAC     0.40



09/30/16   Tele hone conference with Karl Schulze regarding                        GAC     0.70


09/30/16   Review and anal sis of                                                  GAC     0.40


09/30/16   Review and analysis of                                                  GAC     0.20



09/30/16   Telephone with D. Liddiard re deposition issues                         CED     0.40

09/30/16   Analysis re                                                             CED     0.30

09/30/16   Analysis re                                                             CED     0.60

09/30/16   Analysis re                                                             CED     0.40

09/30/16   Exchange emails with clients re                                         CED     0.30

09/30/16   Exchange emails with plaintiffs counsel re exchange of expert reports   CED     0.40


                                             Exhibit 1,
                                             Exhibit    Page 147
                                                     1, Page 147
         Case   1:15-cv-00321-SKO
Guardian Protection
             Case   Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page10
                                                           02/13/18 Page 142
                                                                           ofof
                                                                              82300
                                                                          October 5, 2016
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20384213


Date       Description                                                            Init             Hours

09/30/16   Review and analysis of                                                 CED                 0.40

09/30/16   Review and respond to communications with Chris Taylor, Darin Lease    MMD2                0.20
           and Erin Otero re ardin


09/30/16   Tele hone conference with expert Karl Schulze re arding                MMD2                0.30


09/30/16   Review and analysis of                                                 MMD2                0.40




09/30/16   Conference with Calvin Davis and Gary Collis regarding                 MMD2                0.40




                                          Services Recap
Init       Name                              Title                         Rate      Hours        Amount
AS5        Alexander Simonenko               Technical Services and      150.00       0.50          75.00
                                             Support
CED        Calvin Davis                      Senior Partner              420.00          57.30   24,066.00
GAC        Gary Collis                       Senior Counsel              375.00           2.70    1,012.50
MMD2       Margaret Drugan                   Senior Counsel              375.00          77.90   29,212.50




                         TOTAL FOR SERVICES                                $54,366.00




                                           Exhibit 1, Page
                                           Exhibit 1, Page 148
                                                           148
          Case 1:15-cv-00321-SKO
            Case                   Document
                                  GORDON
                  1:15-cv-00321-SKO Document534-4
                                             &338-6
                                               REES Filed
                                                       LLP
                                                    Filed 09/12/23  Page11
                                                           02/13/18 Page 143
                                                                           ofof
                                                                              82300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      November 7, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20392045
                                                                      Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $60,151.00




                                              Exhibit 1, Page
                                              Exhibit 1, Page 149
                                                              149
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page12
                                                           02/13/18 Page 144
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20392045

                                        Professional Services

Date       Description                                                            Init   Hours
10/02/16   Prepare for meetings with R. Holman and C. Taylor                      CED     3.10

10/03/16   Tele hone conference with Karl Schulze regarding                       GAC     0.40


10/03/16   Travel to Charlotte, including detailed review of                      CED     5.50


10/03/16   Travel from Charlotte to Hickory, meeting with J. Green and E. Otero   CED     2.00
           (not including dinner)

10/03/16   Review and analysis of                                                 CED     0.60

10/03/16   Review and res and to communications with Karl Schulze regarding       MMD2    0.50


10/03/16   Pre are                                                                MMD2    0.80


10/03/16   Review and res and to communications with Calvin Davis re ardin        MMD2    0.40


10/03/16   Review and res and to communications with Chris Taylor re ardin        MMD2    0.40




10/03/16   Pre are                                                                MMD2    0.90


10/03/16   Pre aration of                                                         MMD2    0.20


10/03/16   Pre aration of                                                         MMD2    1.60


10/04/16   Meeting with R. Holman and J. Green to                                 CED     3.10

10/04/16   Review memorandum re                                                   CED     0.30

10/04/16   Review memorandum re                                                   CED     0.30



                                             Exhibit 1, Page
                                             Exhibit 1, Page 150
                                                             150
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page13
                                                           02/13/18 Page 145
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20392045


Date       Description                                                        Init     Hours
10/04/16   Meeting with C. Taylor to                                          CED       1.90

10/04/16   Review                                                             CED       1.50


10/04/16   Review                                                             CED       0.50

10/04/16   Initial meeting with D. Lease to                                   CED       0.50

10/04/16   Review                                                             CED       0.30

10/04/16   Review                                                             CED       0.50


10/04/16   Edit, revise and su lement                                         MMD2      0.50



10/04/16   Review and res and to communications with Erin Otero re ardin      MMD2      0.30



10/04/16   Pre aration of                                                     MMD2      0.90


10/04/16   Review and res and to communications with Erin Otero re ardin      MMD2      0.30




10/04/16   Review and respond to communications with Karl Schulze regarding   MMD2      0.30


10/04/16   Review and analysis of                                             MMD2      1.50



10/04/16   Finalize                                                           MMD2      0.50



10/04/16   Edit, revise and su lement                                         MMD2      0.60




                                              Exhibit 1,
                                              Exhibit    Page 151
                                                      1, Page 151
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page14
                                                           02/13/18 Page 146
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20392045


Date       Description                                                   Init          Hours
10/05/16   Meeting with Darin Lease to                                   CED            2.20

10/05/16   Finalize review of                                            CED            1.50

10/05/16   Follow up meeting with Chris Taylor to                        CED            0.40

10/05/16   Travel from Hickory to Charlotte                              CED            1.20

10/05/16   Meeting with client J. Green re                               CED            0.50

10/05/16   Review                                                        CED            0.30

10/05/16   Review and analysis of                                        MMD2           0.90



10/06/16   Appear for and defend deposition of Darin Lease               CED            4.00

10/06/16   Prepare email to expert K. Schulze re                         CED            0.30

10/06/16   Appear for and defend deposition of Ronnie Holman             CED            2.70

10/07/16   Tele hone conference with Karl Schulze regarding              GAC            0.30


10/07/16   Return travel from Charlotte                                  CED            8.20

10/07/16   Attend and defend deposition of Chris Taylor                  CED            2.10

10/07/16   Telephone with R. Holman and W. Harris re                     CED            0.30

10/10/16   Telephone with R. Holman re                                   CED             0.30

10/10/16   Telephone with J. Green re                                    CED             0.30

10/10/16   Analysis re                                                   CED             0.40

10/11/16   Exchange emails with expert re                                CED             0.20

10/13/16   Review email from client re                       s           CED             0.10

10/13/16   Exchange emails with M. Everts re                             CED             0.10

10/14/16   Analysis re                                                   CED             0.30



                                              Exhibit 1, Page
                                              Exhibit 1, Page 152
                                                              152
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page15
                                                           02/13/18 Page 147
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20392045


Date       Description                                                              Init   Hours
10/14/16   Review and analysis of                                                   MMD2    0.10


10/18/16   Prepare correspondence to Dylan Liddiard regarding mandatory meet and    GAC     0.20
           confer in advance of filing motion for summary judgment.

10/18/16   116one conference with Karl Schulze regarding                            GAC     0.20


10/19/16   Travel to Atlanta from Florida for meeting with Mike Evert and prepare   CED     5.20
           for same

10/20/16   Continue work in                                                         GAC     0.80

10/20/16   Analysis re                                                              CED     0.60

10/20/16   Return travel (Evert office to departure from Atlanta)                   CED     5.90

10/20/16   Meeting with Mike Evert to discuss                                       CED     2.20

10/20/16   Tele hone conference with Calvin Davis and Ga      Collis re arding      MMD2    0.40




10/21/16   Review and analysis                                                      GAC     1.50



10/21/16   Meet and confer with attorneys Dylan Liddiard and Craig Bolton           GAC     1.00
           regarding meet and confer as to MSJ.

10/21/16   Continuepreparing                                                        GAC     3.80



10/21/16   Analysis re                                                              CED     0.50

10/21/16   Review                                                                   CED     0.70


10/21/16   Prepare email to clients re                                              CED     0.40


10/21/16   Conference with Gary Collis and Calvin Davis regarding                   MMD2    1.20


                                             Exhibit 1, Page
                                             Exhibit 1, Page 153
                                                             153
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page16
                                                           02/13/18 Page 148
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20392045


Date       Descri tion                                                            Init   Hours



10/21/16   Telephone conference with GIS' attorneys regarding required meet and   MMD2    0.40
           confer prior to filing motions for summary judgment

10/24/16   Be in re arin                                                          GAC     1.50



10/24/16   Continue re arin                                                       GAC     2.80


10/24/16   Review and analysis of                                                 MMD2    1.60



10/25/16   Draft and revise                                                       GAC     1.10


10/25/16   Continue review and anal sis of                                        GAC     4.10




10/25/16   Exchange correspondence with Erin Otero regarding                      GAC     0.90


10/25/16   Analysis re                                                            CED     0.40


10/25/16   Analysis re                                                            CED     0.40

10/25/16   Telephone with J. Green re                                             CED     0.30


10/25/16   Review                                                                 RJS     0.20


10/26/16   Prepare correspondence to Erin Otero regarding                         GAC     0.20



10/26/16   Review and analysis                                                    GAC     0.80



                                             Exhibit 1,
                                             Exhibit    Page 154
                                                     1, Page 154
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page17
                                                           02/13/18 Page 149
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20392045


Date       Descri tion                                                              Init   Hours

                                                          •

10/26/16   Revise                                                                   GAC     1.00



10/26/16   Tele hone conference with Erin Otero regarding                           GAC     0.40


10/26/16   Pre are corres ondence to Erin Otero regarding                           GAC     0.10


10/26/16   Continue review and analysis of                                          GAC     3.80




10/26/16   Meeting with expert K. Schulze re                                        CED     0.30

10/26/16   Analysis re                                                              CED     0.30

10/26/16   Meeting with expert K. Schulze re                                        CED     0.30

10/26/16   Analysis re                                                              CED     0.30

10/26/16   Conference with Guardian expert Karl Schulze in                          MMD2    1.80


10/26/16   Review and analysis of                                                   MMD2    0.90



10/27/16   Prepare correspondence to Attorney Craig Bolton regarding the parties'   GAC     0.30
           exchange of joint statements of undisputed facts in connection with
           motions for partial summary judgment.

10/27/16   Research                                                                 GAC     0.30


10/27/16   Continue preparing                                                       GAC     2.80

10/27/16   Prepare                                                                  GAC     4.60




                                             Exhibit 1, Page
                                             Exhibit 1, Page 155
                                                             155
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page18
                                                           02/13/18 Page 150
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20392045


Date       Descri tion                                                         Init   Hours
10/27/16   Analysis re                                                         CED     0.50

10/27/16   Analysis re                                                         CED      0.40

10/27/16   Conference with Gary Collis and Calvin Davis regarding              MMD2     0.30


10/27/16   Attend and defend the deposition of Guardian expert Karl Schulze    MMD2     7.20

10/28/16   Pre are                                                             GAC      8.40


10/28/16   Telephone with Chris Schall re                                      CED      0.60

10/28/16   Analysis re                                                         CED      0.60


10/28/16   Analysis re                                                         CED      0.70

10/28/16   Analysis re                                                         CED      0.30

10/28/16   Review and analysis of                                              MMD2     1.20


10/28/16   Tele hone conference with Chris Schall and Calvin Davis re arding   MMD2     0.50



10/28/16   Review and analyze                                                  SRI      1.60

10/29/16   Pre are                                                             GAC      5.80


10/30/16   Prepare                                                             GAC      1.90


10/31/16   Continuepreparing                                                   GAC      4.40


10/31/16   Review and analysis of                                              GAC      3.40


10/31/16   Analysis re                                                         CED      0.60




                                            Exhibit 1,
                                            Exhibit    Page 156
                                                    1, Page 156
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page19
                                                           02/13/18 Page 151
                                                                           ofof
                                                                              82300 7, 2016
                                                                          November
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20392045


Date       Description                                                    Init          Hours
10/31/16   Review and revise                                              CED            0.80




                                     Services Recap
Init       Name                        Title                      Rate      Hours     Amount
CED        Calvin Davis                Senior Partner            420.00      67.80   28,476.00
GAC        Gary Collis                 Senior Counsel            375.00      56.80   21,300.00
MMD2       Margaret Drugan             Senior Counsel            375.00      26.20    9,825.00
'US        Randall Stubblefield        Paralegal                 150.00       0.20       30.00
SRI        Steven Inouye               Associate                 325.00       1.60      520.00




                       TOTAL FOR SERVICES                         $60,151.00




                                      Exhibit 1, Page
                                      Exhibit 1, Page 157
                                                      157
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document
                                  GORDON    534-4
                                             &338-6
                                               REES Filed
                                                    Filed
                                                      LLP 09/12/23  Page20
                                                           02/13/18 Page 152
                                                                           ofof
                                                                              82300
                                                www.gordonrees.com
                                          1111 Broadway, Suite 1700
                                          Oakland, California 94607
                                                (510) 463-8600
                                                 Tax ID: XX-XXXXXXX



                                                                      December 5, 2016
                                                                      ID: GPPI 1104957
                                                                      Invoice No. 20398003
                                                                      Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




Fees For Professional Services:                                                 $64 130 00




                                              Exhibit 1, Page
                                              Exhibit 1, Page 158
                                                              158
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection1:15-cv-00321-SKO
                    Products, Inc.  Document
                                     Document534-4
                                              338-6 Filed
                                                    Filed09/12/23  Page21
                                                          02/13/18 Page 153
                                                                          ofof
                                                                             82300 5, 2016
                                                                         December
ID: GPPI 1104957                                                         Page 2
Invoice No.: 20398003

                                       Professional Services

Date       Description                                                               Init   Hours
11/01/16   Exchange corres ondence with Erin Otero regarding                         GAC     1.20


11/01/16   Prepare request                                                           GAC     3.70


11/01/16   Review and analysis of                                                    GAC     1.70


11/01/16   Continue preparing                                                        GAC     1.00

11/01/16   Exchange emails with M. Evert re                                          CED     0.30

11/01/16   Analysis re                                                               CED     0.40

11/01/16   Preparation of                                                            MMD2    0.30


11/01/16   Review and res and to communications with Calvin Davis re ardin           MMD2    0.30



11/01/16   Conference with Gary Collis.re                                            MMD2    0.40



11/01/16   Review and analyze                                                        SRI     1.10


11/02/16   Prepare correspondence to Craig Bolton regarding joint statement of       GAC     0.10
           undisputed facts.

11/02/16   Continue drafting                                                         GAC     1.50

11/02/16   Pre are corres ondence to Mike Evert regarding 11111111               r   GAC     0.40


11/02/16   Pre aration of                                                            MMD2    4.90



11/03/16   Continue drafting                                                         GAC     3.40


                                            Exhibit 1, Page
                                            Exhibit 1, Page 159
                                                            159
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page22
                                                           02/13/18 Page 154
                                                                           ofof
                                                                              823005, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20398003


Date       Description                                                                 Init   Hours

11/03/16   Review and analysis of                                                      GAC     1.30



11/03/16   Prepare                                                                     GAC     1.20


11/03/16   Prepare correspondence to Craig Bolton regarding facts to which             GAC     0.70
           Guardian is willing to stipulate with regard to cross-motions for summary
           judgment.

11/03/16   Exchange correspondence with Craig Bolton regarding request that GIS        GAC     0.40
           withdraw its confidentiality designations over items we intend to use in
           connection with the motion for summary judgment.

11/03/16   Review and analysis of                                                      CED     0.70

11/03/16   Pre aration of                                                              MMD2    1.10




11/03/16   Draft                                                                       SRI     1.20

11/03/16   Review and re are                                                           RJS     2.00


11/04/16   Pre aration                     for                                         MMD2    1.30


11/04/16   Telephone conference with court clerk regarding filings documents under     MMD2    0.20
           seal in support of motion for partial summary judgment

11/04/16   Pre aration of                                                              MMD2    4.90



11/04/16   Review and re are                                                           RJS     3.60


11/06/16   Continue re aration                                                         MMD2    2.30




                                             Exhibit 1,
                                             Exhibit    Page 160
                                                     1, Page 160
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page23
                                                           02/13/18 Page 155
                                                                           ofof
                                                                              82300 5, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20398003


Date       Description                                                                  Init   Hours

11/07/16   Prepare correspondence to Craig Bolton regarding preserving                  GAC     0.30
           confidentiality of documents that GIS intends to use to support its motion
           for summary judgment.

11/07/16   Continue drafting                                                            GAC     5.30


11/07/16   Continue re aration of                                                       MMD2    4.70



11/07/16   Review and analysis of                                                       MMD2    0.50



11/07/16   Review and respond to communications with Gary Collis and Randall            MMD2    0.40
           Stubblefield regarding




11/08/16   Prepare correspondence to Mike Evert regarding                               GAC     0.10


11/08/16   Continue drafting                                                            GAC     5.40


11/08/16   Prepare correspondence to Attorney Craig Bolton regarding joint              GAC     0.10
           statement of undisputed facts.

11/08/16   Continue preparation of                                                      MMD2    4.60


11/08/16   Pre aration of                                                               MMD2    0.80



11/08/16   Pre are communication to Mike Evert regarding                                MMD2    0.20


11/09/16   Prepare correspondence to Attorney Craig Bolton regarding joint              GAC     0.10
           statement of undisputed facts.

11/09/16   Begin review and analysis of                                                 GAC     2.50


                                             Exhibit 1,
                                             Exhibit    Page 161
                                                     1, Page 161
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page24
                                                           02/13/18 Page 156
                                                                           ofof
                                                                              82300 5, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20398003


Date       Descri tion                                                   Init          Hours



11/09/16   Review and analysis of                                        GAC             5.40



11/09/16   Pre aration of                                                MMD2            4.20



11/09/16   Preparation                                                   MMD2            0.20


11/09/16   Finalize                                                      MMD2            3.30


11/10/16   Review and analysis of                                        GAC             6.10



11/10/16   Continue review and analysis of                               GAC             1.70



11/10/16   Analysis re                                                   CED             0.50

11/11/16   Review and analysis of                                        GAC             2.50


11/11/16   Review and analysis of                                        GAC             5.50



11/15/16   Be in re arin o    osition to                                 GAC             2.10




11/15/16   Review and analysis of                                        GAC             4.40


11/15/16   Prepare notice           regarding                            GAC             0.60

11/15/16   Analysis re                                                   CED             0.50


                                                Exhibit 1,
                                                Exhibit    Page 162
                                                        1, Page 162
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page25
                                                           02/13/18 Page 157
                                                                           ofof
                                                                              82300 5, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20398003


Date       Description                                                   Init          Hours

11/15/16   Review and analysis of                                        MMD2            1.70



11/16/16   Pre are correspondence in response to                         GAC             0.10


11/16/16   Continue preparing                                            GAC             5.70


11/16/16   Continue re arin                                              GAC             1.50



11/18/16   Continue preparing                                            GAC             2.90



11/18/16   Continue preparing                                            GAC             4.70



11/18/16   Analysis re                                                   CED             0.60

11/18/16   Review and analysis of                                        CED             2.30


11/18/16   Conference with Calvin Davis and Gary Collis regarding        MMD2            2.00


11/19/16   Continue preparing                                            GAC             2.70



11/21/16   Continue preparing                                            GAC             5.90

11/21/16   Analysis re                                                   CED             0.40

11/22/16   Prepare                                                       GAC             2.00


11/22/16   Pre are                                                       GAC             4.40




                                            Exhibit 1, Page
                                            Exhibit 1, Page 163
                                                            163
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page26
                                                           02/13/18 Page 158
                                                                           ofof
                                                                              82300 5, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20398003


Date       Description                                                   Init          Hours
11/22/16   Review and analysis of                                        GAC            0.30


11/22/16   Analysis re                                                   CED             0.50

11/22/16   Prepare update for clients on                                 CED             0.50

11/22/16   Prepare update to clients on                                  CED             0.30

11/23/16   Review and revise                                             CED             0.50


11/23/16   Continue preparation of                                       MMD2            0.50


11/28/16   Prepare opposition to                                         GAC             4.40

11/28/16   Review and revise                                             CED             1.50


11/28/16   Review and revise                                             CED             0.60

11/28/16   Be in to review and analyze                                   EMW             0.60



11/28/16   Be in to draft                                                EMW             0.80



11/28/16   Be in to review and anal ze                                   EMW             0.50



11/28/16   Be in to review and analyze                                   EMW             0.60



11/28/16   Be in to review and analyze                                   EMW             0.60



11/28/16   Be in to review and anal ze                                   EMW             0.80




                                           Exhibit 1,
                                           Exhibit    Page 164
                                                   1, Page 164
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page27
                                                           02/13/18 Page 159
                                                                           ofof
                                                                              82300 5, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20398003


Date       Description                                                              hilt   Hours

11/29/16   Prepare                                                                  GAC     8.30

11/29/16   Analysis re                                                              CED     0.50

11/29/16   Prepare for conference call with clients                                 CED     0.70

11/29/16   Conference call with S. Knoop, M. Evert, R. Holman, J. Green, E. Otero   CED     0.50

11/29/16   Conference call with J. Green and E. Otero re                            CED     0.50

11/29/16   Analysis re                                                              CED     0.60

11/29/16   Exchange emails with M. Evert re                                         CED     0.30

11/29/16   Continue to review                                                       EMW     0.70



11/29/16   Continue to draft                                                        EMW     0.80



11/30/16   Prepare                                                                  GAC     3.40

11/30/16   Review revised version of                                                CED     0.30

11/30/16   Analysis re                                                              CED     0.60


11/30/16   Review revised version of                                                CED     0.40

11/30/16   Review and analysis of                                                   MMD2    1.50




11/30/16   Conference with Gary                                                     MMD2    0.40




                                              Exhibit 1,
                                              Exhibit    Page 165
                                                      1, Page 165
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page28
                                                           02/13/18 Page 160
                                                                           ofof
                                                                              82300 5, 2016
                                                                          December
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20398003

                                     Services Recap
}nit     Name                          Title                       Rate     Hours     Amount
CED      Calvin Davis                  Senior Partner            420.00      14.00    5,880.00
EMW      Eleanor Welke                 Senior Counsel            375.00       5.40    2,025.00
GAC      Gary Collis                   Senior Counsel            375.00     105.00   39,375.00
MMD2     Margaret Drugan               Senior Counsel            375.00      40.70   15,262.50
RJS      Randall Stubblefield          Paralegal                 150.00       5.60      840.00
SRI      Steven Inouye                 Associate                 325.00       2.30      747.50




                     TOTAL FOR SERVICES                            $64,130.00




                                      Exhibit 1, Page
                                      Exhibit 1, Page 166
                                                      166
Case 1:15-cv-00321-SKO
  Case                  GORDON
        1:15-cv-00321-SKODocument
                          Document &338-6
                                     REES
                                  534-4      LLP
                                          Filed
                                          Filed 09/12/23  Page29
                                                 02/13/18 Page 161
                                                                 ofof
                                                                    82300
                                          www.gordonrees.com
                                  1111 Broadway, Suite 1700
                                  Oakland, California 94607
                                        (510) 463-8600
                                            Tax ID: XX-XXXXXXX



                                                                                   January 10, 2017
                                                                                   ID: GPPI 1104957
                                                                                   Invoice No. 20405711
                                                                                   Davis, Calvin E.




             Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                        Exhibit 1, Page
                                        Exhibit 1, Page 167
                                                        167
Guardian Protection
         Case Case  Products, Inc.
                1:15-cv-00321-SKO
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page30
                                                           02/13/18 Page  January
                                                                         162ofof  10, 2017
                                                                               82300
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20405711

                                      Professional Services

Date       Description                                                      Init       Hours
12/01/16   Continue to draft                                                EMW         3.60



12/02/16   Prepare correspondence to Ronnie Holman                          GAC          0.10


12/02/16   Prepare                                                          GAC          1.00

12/02/16   Revise                                                           GAC          0.30


12/02/16   Tele hone conference with Johnny Green and Erin Otero re ardin   GAC          0.80



12/02/16   Exchan e corres ondence with Erin Otero re ardin                 GAC          0.40



12/02/16   Analysis re                                                      CED          0.40


12/02/16   Revise                                                           CED          0.40

12/02/16   Tele hone conference with Johnn Green and Erin Otero re ardin    MMD2         0.50



12/03/16   Continue preparing                                               GAC          5.20

12/04/16   Continue preparing                                               GAC          2.90

12/04/16   Review and revise                                                CED          1.50

12/05/16   Prepare opposition                                               GAC          5.90


12/05/16   Pre•are cones tondence to Ronnie Holman re. arding               GAC          0.10


12/05/16   Analysis re                                                      CED          0.50


                                           Exhibit 1, Page
                                           Exhibit 1, Page 168
                                                           168
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page31
                                                           02/13/18 Page 163ofof
                                                                               82300
                                                                          January 10, 2017
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20405711


Date       Description                                                   Init          Hours

12/05/16   Pre aration of                                                MMD2            1.50




12/05/16   Continue to draft                                             EMW             3.80



12/06/16   Pre are                                                       GAC             5.60


12/06/16   Analysis re                                                   CED             0.30

12/06/16   Analysis re                                                   CED             0.50


12/06/16   Continue re aration                                           MMD2            7.80



12/06/16   Revise and u date                                             EMW             2.10


12/07/16   Revise                                                        GAC             1.60


12/07/16   Pre are                                                       GAC             3.30


12/07/16   Edit, revise and supplement                                   MMD2            2.60



12/09/16   Prepare                                                       GAC             5.60


12/09/16   Analysis re                                                   CED             0.40


12/09/16   Review and analysis                                           MMD2            1.50


12/12/16   Prepare                                                       GAC             7.20

                                         Exhibit 1,
                                         Exhibit    Page 169
                                                 1, Page 169
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page32
                                                           02/13/18 Page 164ofof
                                                                               82300
                                                                          January 10, 2017
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20405711


Date       Descri tion                                                   Init          Hours


12/13/16   Pre are                                                       GAC             6.10


12/13/16   Review                                                        CED             0.30

12/13/16   Analysis re                                                   CED             0.50

12/13/16   Review and revise                                             CED             0.70


12/13/16   Review and anal sis                                           MMD2            0.90




12/14/16   Prepare                                                       GAC             7.50


12/14/16   Outline issues in                                             CED             2.00

12/14/16   Outline issues on                                             CED             2.00

12/14/16   Preparation                                                   MMD2            2.80


12/15/16   Prepare                                                       GAC             1.50


12/15/16   Review and revise                                             CED             0.60

12/15/16   Continue outline                                              CED             1.00


12/15/16   Analysis re                                                   CED             0.60

12/15/16   Outline                                                       CED             1.60

12/15/16   Conference with Gary Collis re ardin                          MMD2            0.50



12/16/16   Review                                                        CED             0.40



                                           Exhibit 1,
                                           Exhibit    Page 170
                                                   1, Page 170
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document534-4
                                   338-6 Filed
                                         Filed09/12/23  Page33
                                               02/13/18 Page 165
                                                               ofof
                                                                  82300




                           Exhibit 1, Page 171
          Case 1:15-cv-00321-SKO
            Case                   Document
                                  GORDON
                  1:15-cv-00321-SKO Document534-4
                                             &338-6
                                                REESFiled
                                                       LLP
                                                    Filed 09/12/23  Page34
                                                           02/13/18 Page 166
                                                                           ofof
                                                                              82300
                                        www.gordonrees.com
                                   1111 Broadway, Suite 1700
                                   Oakland, California 94607
                                         (510) 463-8600
                                         Tax ID: XX-XXXXXXX



                                                               January 19, 2017
                                                               ID: GPPI 1104957
                                                               Invoice No. 20408260
                                                               Davis, Calvin E.




                     BILLING SUMMARY THROUGH December 31, 2016
Fees For Professional Services:                                               $0.00




01111111111111IM




                                  REMITTANCE COPY
                        PLEASE INCLUDE THIS PAGE WITH YOUR PAYMENT
                                      Exhibit 1, Page
                                      Exhibit 1, Page 172
                                                      172
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document
                        GORDON    534-4
                                   &338-6
                                      REESFiled
                                          Filed
                                             LLP09/12/23  Page35
                                                 02/13/18 Page 167
                                                                 ofof
                                                                    82300
                                          www.gordonrees.com
                                  1111 Broadway, Suite 1700
                                  Oakland, California 94607
                                        (510) 463-8600
                                            Tax ID: XX-XXXXXXX




                                                                                   February 3, 2017
                                                                                   ID: GPPI 1104957
                                                                                   Invoice No. 20412045
                                                                                   Davis, Calvin E.




             Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                       Exhibit 1, Page
                                       Exhibit 1, Page 173
                                                       173
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page36
                                                           02/13/18 Page 168
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20412045

                                     Professional Services

Date       Description                                                             Init   Hours
01/03/17   Analyze and organize                                                    RJS     4.00


01/05/17   Review and revise                                                       CED     0.40

01/05/17   Review and analysis                                                     CED     0.40

01/05/17   Preparation of                                                          MMD2    2.40




01/05/17   Review and anal sis of                                                  MMD2    0.20




01/09/17   Analysis re                                                             CED     0.50

01/09/17   Review                                                 xchange emails   CED     0.50
           with client re same

01/11/17   Prepare correspondence to Dylan Liddiard regarding proposed             GAC     0.20
           continuance of Pretrial Conference and Trial Date.

01/11/17   Analysis re                                                             CED     1.00

01/11/17   Analysis re                                                             CED     0.50

01/11/17   Analysis re                                                             CED     0.50

01/11/17   Exchange emails with client re                                          CED     0.30

01/12/17   Analysis re                                                             CED     0.50


01/12/17   Analysis re                                                             CED     0.50

01/12/17   Review and anal sis of                                                  MMD2    1.40

                                      iscussion with Gary Collis regarding same


                                            Exhibit 1, Page
                                            Exhibit 1, Page 174
                                                            174
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page37
                                                           02/13/18 Page 169
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20412045


Date       Description                                                               Init   Hours

01/12/17   Review and analyze                                                        APR     1.10

01/12/17   Review and analyze                                                        APR     0.40


01/13/17   Strategize re                                                             GAC     1.30

01/13/17   Prepare                                                                   GAC     0.80

01/13/17   Analysis re                                                               CED     1.50

01/13/17   Analysis re                                                               CED     0.40

01/13/17   Analysis re                                                               CED     0.50

01/13/17   Conference with Calvin Davis, Gary Collis and Aaron Rubin re arding       MMD2    1.30




01/13/17   Analyze                                                                   RJS     5.40


01/14/17   Review and revise                                                         CED     0.50


01/16/17   Exchange emails with plaintiffs counsel re stipulation to continue pre-   CED     0.30
           trial and trial, prepare email to plaintiffs counsel re same

01/16/17   Review and anal ze                                                        APR     0.10


01/17/17   Revise and finalize                                                       GAC     0.50


01/17/17   Finalize                                                                  CED     0.50


01/17/17   Prepare email                                                             CED     0.30

01/17/17   Analysis re                                                               CED     0.50

01/17/17   Analyze                                                                   RJS     6.90



                                           Exhibit 1, Page
                                           Exhibit 1, Page 175
                                                           175
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection1:15-cv-00321-SKO
                    Products, Inc.  Document
                                     Document534-4
                                              338-6 Filed
                                                    Filed09/12/23  Page38
                                                          02/13/18 Page 170
                                                                          ofof
                                                                             823003, 2017
                                                                         February
ID: GPPI 1104957                                                         Page 4
Invoice No.: 20412045


Date       Description                                                           Init   Hours

01/18/17   Prepare correspondence to Dylan Liddiard regarding meet and confer    GAC     0.10
           call to discuss Joint Pretrial Statement.

01/18/17                                                                         GAC     2.20

01/18/17   Review and analysis                                                   GAC     2.10



01/18/17   Review and analysis of                                                CED     2.50

01/18/17   Telephone with C. Taylor                                              CED     0.30

01/18/17   Prepare email to clients re                                           CED     1.20

01/18/17   Analysis re                                                           CED     0.50

01/18/17   Review and analyze                                                    APR     0.10


01/18/17   Review and analyze                                                    APR     0.10


01/18/17   Analyze                                                               APR     0.60


01/18/17   Review and analyze                                                    APR     0.10


01/18/17   Review and analyze                                                    APR     1.40


01/18/17   Analyze                                                               RJS     2.90


01/19/17   Prepare correspondence to Dylan Liddiard regarding meet and confer    GAC     0.10
           teleconference to discuss Joint Pretrial Report.

01/20/17                                                                         GAC     6.40

01/20/17   Telephone conference with Dylan Liddiard and Craig Bolton regarding   GAC     0.40
           meet and confer to discuss the joint pretrial report.

01/20/17   Exchange correspondence with Dylan Liddiard regarding the joint       GAC     0.90

                                         Exhibit 1,
                                         Exhibit    Page 176
                                                 1, Page 176
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page39
                                                           02/13/18 Page 171
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20412045


Date       Description                                                          Init    Hours
           pretrial report.

01/20/17   Prepare                                                              GAC      0.60


01/20/17   Pre are corres ondence to                                            GAC      0.30


01/20/17   Work on                                                              CED      1.50

01/20/17   Analysis re                                                          CED      0.50

01/20/17   Exchange emails with clients re                                      CED      0.50

01/20/17   Review and anal ze                                                   APR      2.30




01/23/17   Exchange correspondence with Dylan Liddiard regarding deadline for   GAC      0.20
           exchanging contributions to the Joint Pretrial Statement.

01/23/17   Revise                                                               GAC      0.70

01/23/17   Draft                                                                GAC      1.00

01/23/17   Prepare correspondence to Attorney Dylan Liddiard regarding efforts to GAC    0.10
           continue the Mandatory Settlement Conference.

01/23/17   Review and revise                                                    CED      0.30

01/23/17   Conference call with J. Green and E. Otero re                        CED      1.30


01/23/17   Exchange emails with client re                                       CED      0.50

01/23/17   Analysis re                                                          CED      0.40

01/23/17   Analysis re                                                          CED      0.90


01/23/17   Review and revise                                                    CED      1.10

01/23/17   Exchange emails with clients re                                      CED      0.40



                                             Exhibit 1,
                                             Exhibit    Page 177
                                                     1, Page 177
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page40
                                                           02/13/18 Page 172
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20412045


Date       Descri tion                                                        Init     Hours
01/23/17   Analysis re                                                        CED       0.50

01/23/17   Analysis re                                                        CED        0.50

01/23/17   Telephone with Judge Oberto's clerk                                CED        0.20

01/23/17   Review and analysis of                                             MMD2       3.60




                                        conference with Calvin Davis, Aaron
           Rudin and Gary Collis regarding same

01/23/17   Review and res and to communications with Calvin Davis re ardin    MMD2       0.50




01/23/17   Edit, revise and su   lement                                       MMD2       0.40



01/23/17   Analyze                                                            APR        0.90


01/23/17   Review and analyze                                                 APR        0.10

01/23/17   Review and analyze                                                 APR        0.10

01/24/17   Analysis re                                                        CED        0.50

01/24/17   Analysis re                                                        CED        1.00

01/24/17   Prepare for                                                        CED        0.50

01/24/17   Prepare memo re                                                    CED        0.50

01/24/17   Attend conference by phone with court on                           CED        0.40

01/24/17   Review and analyze                                                 APR        0.10

01/24/17   Draft                                                              APR        2.40



                                          Exhibit 1,
                                          Exhibit    Page 178
                                                  1, Page 178
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page41
                                                           02/13/18 Page 173
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20412045


Date       Description                                                                Init   Hours

01/24/17   Review                                                                     APR     0.10


01/24/17   Review and analyze                                                         APR     0.10

01/24/17   Review and analyze correspondence from client, re:                         APR     0.10


01/24/17   Review and analyze correspondence from Plaintiffs counsel, Dylan           APR     0.10
           Liddiard, re: settlement conference

01/25/17   Draft/revise                                                               APR     0.20


01/25/17   Draft correspondence to counsel for Plaintiff re: Guardian and RPM's       APR     0.10
           portion of Joint Pretrial Report

01/25/17   Review and analyze correspondence from counsel for Plaintiff, Craig        APR     0.90
           Bolton, with attached draft portion of Joint Pretrial Conference
           Statement

01/25/17   Review and analyze                                                         APR     0.10


01/26/17   Review and revise                                                          CED     1.00

01/26/17   Review and analyze correspondence from client                              APR     0.20


01/26/17   Finalize Motion for                                                        APR     0.10


01/26/17   Review and analyze correspondence from Dylan Liddiard, counsel for         APR     0.10
           Plaintiff; re: Joint Pretrial Conference Statement

01/26/17   Draft correspondence to Dylan Liddiard, counsel for Plaintiff, re: Joint   APR     0.10
           Pretrial Conference Statement

01/27/17   Analysis re                                                                CED     0.50

01/27/17   Review                                                                     CED     0.30

01/27/17   Prepare for conference call with plaintiffs counsel re joint pre-trial     CED     0.50
           statement


                                            Exhibit 1,
                                            Exhibit    Page 179
                                                    1, Page 179
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page42
                                                           02/13/18 Page 174
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20412045


Date       Description                                                               Init   Hours

01/27/17   Analysis re                                                               CED     0.70

01/27/17   Draft correspondence to Dylan Liddiard and Craig Bolton, counsel for      APR     0.10
           Plaintiff, with attached revised Joint Final Pretrial Conference
           Statement

01/27/17   Draft further correspondence to Dylan Liddiard and Craig Bolton, re:      APR     0.10
           further revised Joint Final Pretrial Conference Statement and attached
           draft

01/27/17   Review and analyze                                                        APR     0.10


01/27/17   Exchange correspondence with Dylan Liddiard and Craig Bolton, re:         APR     0.20
           status re: filing of Joint Final Pretrial Conference Statement

01/27/17   Further draft/revise                                                      APR     0.50



01/27/17   Review and analyze correspondence from Dylan Liddiard and Craig           APR     0.40
           Bolton, counsel for Plaintiff, and attached further revised Joint Final
           Pretrial Conference Statement

01/27/17   Exchange further correspondence with Craig Bolton, counsel for            APR     0.10
           Plaintiff, re: additional requirements pursuant to Judge Oberto's
           scheduling order

01/27/17   Conference call with Dylan Liddiard and Craig Bolton re: combining        APR     0.40
           plaintiff and defendants' portions of the Joint Pretrial Conference
           Statement

01/27/17   Review and analyze correspondence from Craig Bolton, counsel for          APR     0.30
           Plaintiff, re: final draft of joint pretrial conference statement and
           attached final draft

01/27/17   Review and analyze                                                        APR     0.10


01/27/17   Further draft/revise                                                      APR     0.30



01/28/17   Draft                                                                     APR     1.60


                                            Exhibit 1,
                                            Exhibit    Page 180
                                                    1, Page 180
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page43
                                                           02/13/18 Page 175
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20412045


Date       Description                                                                Init   Hours

01/30/17   Analysis re                                                                CED     0.40

01/30/17   Exchange emails with clients re                                            CED     0.40

01/31/17   Analysis re                                                                CED     0.50

01/31/17   Review                                                                     CED     0.30

01/31/17   Analysis re                                                                CED     0.70

01/31/17   Analysis re                                                                CED     0.50

01/31/17   Review and analysis of                                                     MMD2    1.20




01/31/17   Exchange further correspondence with Dylan Liddiard, plaintiffs            APR     0.10
           counsel, re: final pretrial conference

01/31/17   Review and analyze                                                         APR     0.10


01/31/17   Conference call with Dylan Liddiard re: final pretrial conference issues   APR     0.20

01/31/17   Review and analyze                                                         APR     0.10


01/31/17   Analyze                                                                    APR     0.60


01/31/17   Analysis re:                                                               APR     0.30


01/31/17   Review and analyze                                                         APR     0.10


01/31/17   Review and analyze                                                         APR     1.30


01/31/17   Review and analyze                                                         APR     0.10




                                             Exhibit 1, Page
                                             Exhibit 1, Page 181
                                                             181
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page44
                                                           02/13/18 Page 176
                                                                           ofof
                                                                              823003, 2017
                                                                          February
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20412045


Date         Description                                                  Init         Hours
01/31/17     Review and analyze                                           APR           0.50




                                     Services Recap
Init       Name                        Title                       Rate     Hours     Amount
APR        Aaron Rudin                 Partner                   420.00      19.60    8,232.00
CED        Calvin Davis                Senior Partner            420.00     31.40    13,188.00
GAC        Gary Collis                 Senior Counsel            375.00      17.90    6,712.50
MMD2       Margaret Drugan             Senior Counsel            375.00      11.00    4,125.00
RJS        Randall Stubblefield        Paralegal                 150.00      19.20    2,880.00




                       TOTAL FOR SERVICES                          $35,137.50




                                      Exhibit 1, Page
                                      Exhibit 1, Page 182
                                                      182
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document
                        GORDON    534-4
                                   &338-6
                                     REES Filed
                                          Filed
                                             LLP09/12/23  Page45
                                                 02/13/18 Page 177
                                                                 ofof
                                                                    82300
                             www.gordonrees.com
                         1111 Broadway, Suite 1700
                         Oakland, California 94607
                               (510) 463-8600
                               Tax ID: XX-XXXXXXX



                                                     February 3, 2017
                                                     ID: GPPI 1104957
                                                     Invoice No. 20412045
                                                     Davis, Calvin E.




                     REMITTANCE COPY
           PLEASE INCLUDE THIS PAGE WITH YOUR PAYMENT
                         Exhibit 1, Page
                         Exhibit 1, Page 183
                                         183
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document
                        GORDON    534-4
                                   &338-6
                                     REES Filed
                                          Filed
                                             LLP09/12/23  Page46
                                                 02/13/18 Page 178
                                                                 ofof
                                                                    82300
                                          www.gordonrees.com
                                  1111 Broadway, Suite 1700
                                  Oakland, California 94607
                                        (510) 463-8600
                                            Tax ID: XX-XXXXXXX




                                                                                    March 8, 2017
                                                                                    ID: GPPI 1104957
                                                                                    Invoice No. 20420439
                                                                                    Davis, Calvin E.




             Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                        Exhibit 1, Page
                                        Exhibit 1, Page 184
                                                        184
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page47
                                                           02/13/18 Page 179
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20420439

                                          Professional Services

Date       Description                                                                Init   Hours
02/01/17   Travel to Fresno for pre-trial conference                                  CED     3.50

02/01/17   Analysis re                                                                CED     0.50

02/01/17   Prepare for                                                                CED     1.50

02/01/17   Further draft                                                              APR     1.20

02/02/17   Prepare for                                                                CED     1.00

02/02/17   Attend pre-trial conference                                                CED     1.00

02/02/17   Prepare email to clients re                                                CED     0.40

02/02/17   Telephone with client re                                                   CED     0.40

02/02/17   Return travel from Fresno for pre-trial conference                         CED     4.00

02/02/17   Travel time to/from US District Court for Eastern District of California   APR     7.50
           in Fresno for Final Pretrial Conference

02/02/17   Prepare for                                                                APR     1.00


02/02/17   Appear for Final Pretrial Conference before Magistrate Judge Sheila K.     APR     0.50
           Oberto

02/02/17   Be in draftingo     osition to                                             APR     2.60



02/03/17   Further draft 0   osition to                                               APR     4.20



02/04/17   Review and revise                                                          CED     1.20

02/04/17   Further draft o osition                                                    APR     2.40



02/06/17   Further draft/revise                                                       APR     6.90


                                             Exhibit 1, Page
                                             Exhibit 1, Page 185
                                                             185
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page48
                                                           02/13/18 Page 180
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20420439


•Date      Descri tion                                                            Init   Hours


02/07/17   Further draft/revise                                                   APR      7.20



02/08/17   Review and revise                                                      CED      0.50

02/08/17   Telephone with M. Evert re                                             CED      0.40

02/10/17   Review and analyze court's minute order                                APR      0.10


02/10/17   Review and analyze                                                     APR      0.10


02/13/17   Analysis re                                                            CED      0.50


02/13/17   Conference call with counsel for Plaintiff, Dylan Liddiard and Craig   APR      0.40
           Bolton re: deposition designations

02/14/17   Analysis re                                                            CED      0.30

02/15/17   Travel to Fresno for MSC                                               CED      3.50

02/15/17   Conference with Calvin Davis and Aaron Rudin re ardin                  MMD2     1.20



02/15/17   Research                                                               APR      1.60



02/15/17   Pre are for                                                            APR      1.20


02/15/17   Begin draft of                                                         APR      3.20


02/15/17   Review and analyze correspondence from client, Johnny Green, re:       APR      0.10


02/15/17   Review and analyze correspondence from clients, Ken Nota and           APR      0.10
           Michael Evert re:


                                          Exhibit 1,
                                          Exhibit    Page 186
                                                  1, Page 186
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page49
                                                           02/13/18 Page 181
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20420439


Date       Description                                                              Init   Hours

02/16/17   Travel to and prepare for MSC                                            CED     2.00

02/16/17   Return travel from Fresno                                                CED     4.50

02/16/17   Meeting with J. Green and M. Evert                                       CED     1.00

02/16/17   Attend MSC                                                               CED     2.00

02/16/17   Travel to/from United State District Court for the Eastern District of   APR     6.10
           California in Fresno for Mandatory Settlement Conference

02/16/17   Appear for Mandatory Settlement Conference before Magistrate Judge       APR     3.00
           Grosjean

02/16/17   Review and analyze                                                       APR     0.10

02/16/17   Review and analyze correspondence from Johnny Green re:                  APR     0.20


02/17/17   Analysis re                                                              CED     0.40

02/17/17   Analysis re                                                              CED     0.50

02/17/17   Analysis re                                                              CED     0.60

02/17/17   Analysis re                                                              CED     0.50

02/17/17   Review and anal sis of                                                   MMD2    3.30




02/17/17   Communicate with attorneys re                                            RJS     0.30


02/18/17   Research                                                                 APR     1.30


02/18/17   Research case law re:                                                    APR     1.70


02/18/17   Further draft of                                                         APR     3.40



                                           Exhibit 1,
                                           Exhibit    Page 187
                                                   1, Page 187
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page50
                                                           02/13/18 Page 182
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20420439


Date       Descri tion                                                   Init          Hours



02/20/17   Further research case law re:                                 APR               0.80


02/20/17   Draft                                                         APR               3.10


02/21/17   Review and analysis of                                        CED               0.50

02/21/17   Analysis re                                                   CED               0.40

02/21/17   Review and analysis of                                        CED               0.50

02/21/17   Exchange emails with client re                                CED               0.30

02/21/17   Analysis re                                                   CED               2.50


02/21/17   Exchange emails with client re                                CED               0.30

02/21/17   Analyze                                                       APR               3.10




02/21/17   Review and analyze                                            APR               0.30

02/21/17   Draft                                                         APR               3.30

02/22/17   Analysis re                                                   CED               1.30

02/22/17   Analysis re                                                   CED               0.50

02/22/17   Telephone with client re                                      CED               0.40

02/22/17   Telephone with client re                                      CED               0.50


02/22/17   Prepare summary of                                            CED               1.50

02/22/17   Prepare email to clients                                      CED               0.80

02/22/17   Prepare email to                                              CED               0.50

                                            Exhibit 1,
                                            Exhibit    Page 188
                                                    1, Page 188
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page51
                                                           02/13/18 Page 183
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20420439


Date       Description                                                        Nit      Hours

02/22/17   Conference call with Johnn Green re:                               APR          0.40


02/22/17   Review and anal ze cones ondence from          Johnny Green 1111   APR          0.20


02/22/17   Draft                                                              APR          2.20


02/22/17   Review and anal ze correspondence from client, Johnny Green, re:   APR          0.20


02/22/17   Research law re:                                                   APR          0.80


02/23/17   Meeting                                                            CED          1.50


02/23/17   Analysis re                                                        CED          0.50

02/23/17   Review and analysis of                                             CED          0.80


02/23/17   Review and summary of                                              CED          1.50

02/23/17   Continued review and summary of                                    CED          1.80

02/23/17   Conduct research on                                                MMD2         0.50


02/23/17   Conference with                                                    MMD2         1.20


02/23/17   Conference with                                                    APR          1.50



02/23/17   Begin drafting                                                     APR          0.30

02/23/17   Draft notice of                                                    APR          1.40

02/23/17   Research                                                           APR          1.40




                                         Exhibit 1, Page
                                         Exhibit 1, Page 189
                                                         189
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page52
                                                           02/13/18 Page 184
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20420439


Date       Description                                                            Init    Hours
02/23/17   Communicate with attorneys                                             RJS      0.30


02/24/17   Review and summarize                                                   CED      3.50

02/24/17   Review                                                                 CED      0.50

02/24/17   Analysis re                                                            CED      1.10

02/24/17   Review and analysis of                                                 MMD2     1.50




02/24/17   Draft                                                                  APR      5.20


02/24/17   Draft                                                                  APR      1.70


02/24/17   Conference call with Dylan Liddiard, counsel for Plaintiff, re: exchange APR    0.10
           of deposition designations

02/24/17   Review and analyze                                                     APR      0.20

02/24/17   Review and analyze                                                     APR      0.10


02/24/17   Draft                                                                  APR      0.50

02/25/17   Analysis re                                                            CED      0.70


02/25/17   Review and summarize                                                   CED      1.20

02/25/17   Review and summarize                                                   CED      1.10

02/25/17   Review and summarize                                                   CED      4.50

02/25/17   Preparation of                                                         MMD2     2.30



02/25/17   Preparation of                                                         MMD2     1.90



                                         Exhibit 1,
                                         Exhibit    Page 190
                                                 1, Page 190
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page53
                                                           02/13/18 Page 185
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20420439


Date       Descri ption                                                  Init          Hours


02/25/17   Pre aration of                                                MMD2              2.90



02/26/17   Draft/revise                                                  APR               0.80



02/27/17   Review and revise                                             CED               0.60



02/27/17   Review and revise                                             CED               0.40

02/27/17   Review and revise                                             CED               0.20


02/27/17   Review and revise                                             CED               0.30


02/27/17   Review and revise                                             CED               0.30


02/27/17   Review and summarize                                          CED               5.10

02/27/17   Review and revise                                             CED               0.80

02/27/17   Review and summarize                                          CED               1.50

02/27/17   Review and revise                                             CED               0.20


02/27/17   Finalize strategy                                             CED               0.90

02/27/17   Review and revise                                             CED               0.70


02/27/17   Review and analyze                                            APR               0.10

02/27/17   Research re:                                                  APR               0.20

02/27/17   Draft                                                         APR               3.80



                                      Exhibit 1, Page
                                      Exhibit 1, Page 191
                                                      191
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page54
                                                           02/13/18 Page 186
                                                                           ofof
                                                                              82300
                                                                          March  8, 2017
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20420439


Date       Description                                                           Init   Hours
02/27/17   Further draft/revise/ re are                                          APR     2.10


02/28/17   Review and revise                                                     CED       0.50


02/28/17   Review and revise                                                     CED       0.40

02/28/17   Review and summarize                                                  CED       3.00

02/28/17   Review and summarize                                                  CED       2.10

02/28/17   Analysis re                                                           CED       0.50


02/28/17   Conference with Aaron Rudin regarding                                 MMD2      0.50



02/28/17   Further draft/revise                                                  APR       1.10


02/28/17   Exchange correspondence with plaintiffs counsel re: meet and confer   APR       0.20
           re: MILs

02/28/17   Draft                                                                 APR       1.10

02/28/17   Review and analyze                                                    APR       4.90



02/28/17   Draft/revise                                                          APR       0.80

02/28/17   Analyze                                                               RJS       3.60



02/28/17   Communicate with opposing counsel regarding scheduling of court-      RJS       0.30
           ordered tutorial for trial vendors

02/28/17   Communicate with litigation support company regarding scheduling of   RJS       0.20
           court-ordered tutorial for trial vendors




                                          Exhibit 1,
                                          Exhibit    Page 192
                                                  1, Page 192
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page55
                                                           02/13/18 Page 187
                                                                           ofof
                                                                              82300
                                                                          March 8, 2017
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20420439


                                     Services Recap
Init     Name                          Title                       Rate    Hours     Amount
APR      Aaron Rudin                   Partner                   420.00     98.00   41,160.00
CED      Calvin Davis                  Senior Partner            420.00     76.40   32,088.00
MMD2     Margaret Drugan               Senior Counsel            375.00     15.30    5,737.50
KIS      Randall Stubblefield          Paralegal                 150.00      4.70      705.00




                     TOTAL FOR SERVICES                           $79,690.50




                                      Exhibit
                                      - 1 1 1,9 Page 193
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document
                        GORDON    534-4
                                   &338-6
                                     REES Filed
                                          Filed
                                             LLP09/12/23  Page56
                                                 02/13/18 Page 188
                                                                 ofof
                                                                    82300
                                          www.gordonrees.com
                                  1111 Broadway, Suite 1700
                                  Oakland, California 94607
                                        (510) 463-8600
                                            Tax ID: XX-XXXXXXX



                                                                                   April 7, 2017
                                                                                   ID: GPPI 1104957
                                                                                   Invoice No. 20427442
                                                                                   Davis, Calvin E.




             Computer research charges calculated per the LexisNexis Transactional Pricing Plan.
                                       Exhibit 1, Page
                                       Exhibit 1, Page 194
                                                       194
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page57
                                                           02/13/18 Page 189ofof
                                                                          April 7,300
                                                                               82  2017
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20427442

                                      Professional Services

Date       Descri tion                                                           Init     Hours
03/01/17   Analysis re                                                           CED       0.60

03/01/17   Analysis re                                                           CED       0.50


03/01/17   Analysis re                                                           CED       0.30

03/01/17   Review and summarize                                                  CED       1.60

03/01/17   Exchange emails with                                                  CED       0.40


03/01/17   Telephone with J. Green, R. Holman and D. Lease                       CED       1.70

03/01/17   Draft                                                                 APR       3.20

03/01/17   Conference call with clients re:                                      APR       1.30

03/01/17   Conference call with Dylan Liddiard and Craig Bolton re: meet and     APR       0.40
           confer re: MILs and exchange of exhibit lists

03/01/17   Anal ze file                                                          RJS       2.40


03/01/17   Communications with                                                   RJS       0.10


03/01/17   Communications with                                                   RJS       0.20


03/01/17   Communications with opposing counsel regarding scheduling of court-   RJS       0.20
           ordered tutorial for trial vendors

03/01/17   Continued file analysis,                                              RJS       1.20



03/01/17   Analyze                                                               RJS       1.20


03/02/17   Review and revise                                                     CED       0.90



                                              Exhibit 1, Page
                                              Exhibit 1, Page 195
                                                              195
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page58
                                                           02/13/18 Page 190
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20427442


Date       Description                                                         Init       Hours
03/02/17   Prepare email to client re                                          CED         0.30

03/02/17   Analysis re                                                         CED         0.50

03/02/17   Analysis re                                                         CED         0.40


03/02/17   Exchange emails with                                                CED         0.30

03/02/17   Review and summarize                                                CED         2.50

03/02/17   Review                                                              CED         0.30


03/02/17   Finalize                                                            CED         0.40

03/02/17   Further draft                                                       APR         6.30

03/02/17   Draft                                                               APR         6.60

03/02/17   Anal ze file,                                                       RJS         3.30



03/02/17   Continued analysis of                                               RJS         0.80


03/02/17   Communications with opposing counsel and litigation support         RJS         0.20
           consultant regarding court-ordered meeting for technology vendors
           prior to trial

03/03/17   Analysis re                                                         CED         0.70

03/03/17   Review and analysis of                                              CED         0.90

03/03/17   Review and revise                                                   CED         1.10

03/03/17   Analysis re                                                         CED         0.60

03/03/17   Review and summarize                                                CED         1.00

03/03/17   Analysis re                                                         CED         0.40

03/03/17   Exchange emails                                                     CED         0.30



                                          Exhibit 1, Page
                                          Exhibit 1, Page 196
                                                          196
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page59
                                                           02/13/18 Page 191
                                                                           ofof
                                                                              82
                                                                          April 300
                                                                                7, 2017
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20427442


Date       Description                                                   Init             Hours

03/03/17   Exchange emails                                               CED               0.30

03/03/17   Further draft/revise                                          APR               2.20


03/03/17   Further draft                                                 APR               5.70

03/03/17   Review and analyze                                            APR               0.10


03/03/17   Review and analyze                                            APR               0.30

03/03/17   Review and analyze                                            APR               0.20

03/03/17   Review and analyze                                            APR               1.30

03/03/17   Review and analyze                                            APR               0.70


03/03/17   Continued anal sis of                                         RJS               3.00



03/03/17   Communications with                                           RJS               0.30


03/03/17   Analyze file                                                  RJS               1.90


03/04/17   Review and summarize                                          CED               6.50

03/05/17   Review and summarize                                          CED               6.10

03/05/17   Draft                                                         APR               2.70


03/06/17   Analysis re                                                   CED               2.70




03/06/17   Analysis re                                                   CED               0.40




                                      Exhibit 1,
                                      Exhibit    Page 197
                                              1, Page 197
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page60
                                                           02/13/18 Page 192ofof
                                                                          April 7,300
                                                                               82  2017
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20427442


Date       Description                                                   Init             Hours
03/06/17   Mark Chris Taylor deposition for use at trial                 CED               1.20

03/06/17   Mark Darin Lease deposition for use at trial                  CED               2.10

03/06/17   Analysis re                                                   CED               0.50

03/06/17   Meeting with t                          ill.                  CED               0.50

03/06/17   Conference with Calvin Davis and Aaron Rudin re ardin         MMD2              2.50




03/06/17    Trial     ugioi                                              APR               2.50


03/06/17   Draft Opposition to                                           APR               3.70

03/06/17   Continued analysis                                            RJS               4.10


03/07/17   Research                                                      HWB               0.30


03/07/17   Review and revise                                             CED               0.40


03/07/17   Conference call                                               CED               0.80

03/07/17    Analysis re                                                  CED               0.40

03/07/17   Mark                 depositions                              CED               0.70

03/07/17    Work on                                                      CED               0.80

03/07/17   Work on                                                       CED               2.50

03/07/17   Mark                  depositions                             CED               0.70

03/07/17    Review and revise                                            CED               0.50


03/07/17    Preparation of                                               MMD2              5.40


                                              Exhibit 1, Page
                                              Exhibit 1, Page 198
                                                              198
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page61
                                                           02/13/18 Page 193
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20427442


Date       Descriution                                                   Init             Hours


03/07/17   Preparation of opposition                                     MMD2              0.60
                     n

03/07/17   Conduct investi ation                                         MMD2              0.70



03/07/17   Telephone conference                                          MMD2              1.10


03/07/17   Draft declaration of                                          APR               0.30


03/07/17   Analyze            eposition                                  APR               1.40


03/07/17   Conference call                                               APR               0.80


03/07/17   Analyze deposition                                            RJS               2.30


03/07/17   Continued analysis of                                         RJS               2.40


03/07/17   Analyze deposition                                            RJS               1.10


03/07/17   Analyze de osition                                            RJS               1.20



03/07/17   Analyze deposition                                            RJS               0.60


03/08/17   Telephone with                                                CED               0.40

03/08/17   Continued work on                                             CED               2.50


03/08/17   Review                                                        CED               0.50

03/08/17   Analysis re                                                   CED               0.60

                                          Exhibit 1,
                                          Exhibit    Page 199
                                                  1, Page 199
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page62
                                                           02/13/18 Page 194
                                                                           ofof
                                                                              82
                                                                          April  300
                                                                                7, 2017
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20427442


Date       Description                                                   Init             Hours

03/08/17   Analysis                                                      CED               0.50


03/08/17   Prepare email to                                              CED               0.30

03/08/17   Review                                                        CED               0.60


03/08/17   Prepare email to                                              CED               0.20

03/08/17   Start work on                                                 CED               0.50

03/08/17   Edit, revise and supplement                                   MMD2              1.90


03/08/17   Draft/revise o osition to                                     APR               1.50


03/08/17   Analyze                                                       APR               1.10

03/08/17   Draft correspondence to                                       APR               0.10


03/08/17   Draft correspondence to                                       APR               0.10


03/08/17   Analyze
                deposition                                               RJS               0.40


03/08/17   Continued analysis of                                         RJS               4.80


03/08/17   Analyze deposition                                            RJS               0.50


03/09/17   Analysis re                                                   CED               0.50

03/09/17   Anal sis re                                                   CED               0.50


03/09/17   Mark                 eposition                                CED               1.50


03/09/17   Prepare for                                                   CED               1.00

                                            Exhibit 1,
                                            Exhibit    Page 200
                                                    1, Page 200
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page63
                                                           02/13/18 Page 195
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20427442


Date       Description                                                             Init   Hours

03/09/17   Prepare for                                                             CED     0.60

03/09/17   Prepare for                                                             CED     1.00

03/09/17   Review deposition                                                       CED     0.40


03/09/17   Mark                  eposition                                         CED     1.20


03/09/17   Prepare for                                                             CED     0.50

03/09/17   Review and analysis                                                     MMD2    4.50




03/09/17   Prepare for meet and confer with counsel for Plaintiff regarding pre-   APR     3.40
           trial documents, including outline of issues concerning jury
           instructions, model jury verdict form, joint neutral statement and
           exhibits

03/09/17   Begin review and analysis of                                            APR     1.40

03/09/17   Review and analyze                                                      APR     0.10


03/09/17   Draft correspondence to counsel for Plaintiff re: meet and confer per   APR     0.10
           Court Order re: pre-trial documents and jury instructions

03/09/17   Revise                                                                  APR     0.50


03/09/17   Continued analysis of                                                   RJS     5.60


03/09/17   Analyze and mark             testimony                                  RJS     2.90



03/10/17   Prepare and mark                                                        CED     1.10

03/10/17   Analysis re                                                             CED     0.70



                                             Exhibit 1, Page
                                             Exhibit 1, Page 201
                                                             201
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page64
                                                           02/13/18 Page 196
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20427442


Date       Description                                                   Init             Hours

03/10/17   Prepare email to                                              CED               0.90

03/10/17   Analysis re                                                   CED               0.60

03/10/17   Prepare for                                                   CED               1.50

03/10/17   Telephone with                                                CED               1.70

03/10/17   Revise                                                        CED               0.70

03/10/17   Tele hone conference                                          MMD2              2.10




03/10/17   Edit, revise and supplement                                   MMD2              7.30




03/10/17   Conference with Calvin Davis and Aaron Rudin re ardin         MMD2              0.50




03/10/17   Analyze                                                       APR               1.70



03/10/17   Conference call                                               APR               2.80


03/10/17    Pre are for                                                  APR               1.70


03/10/17    Conference call                                              APR               1.30


03/10/17    Communications with                                          RJS               0.40


03/10/17    Continued analysis of                                        RJS               4.00



                                         Exhibit 1, Page
                                         Exhibit 1, Page 202
                                                         202
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page65
                                                           02/13/18 Page 197
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20427442


Date       Description                                                    Init            Hours

03/11/17   Prepare summary of                                             CED              0.60

03/11/17    Work on                                                       CED              2.50

03/11/17   Work on                                                        CED              2.00

03/12/17   Prepare for                                                    CED              1.60

03/12/17   Analysis re                                                    CED              0.50

03/12/17   Prepare for                                                    CED              0.60


03/12/17   Analysis re                                                    CED              1.30

03/12/17   Review                                                         CED              1.50


03/12/17   Prepare for                                                    CED              0.80


03/12/17    Analysis re                                                   CED              0.40


03/12/17    Review                                                        APR              0.10


03/12/17    Research                                                      APR              1.20


03/12/17    Review and analyze                                            APR              0.90

03/13/17    Return travel from hearing in Fresno on motions in limine     CED              2.00

03/13/17    Prepare for                                                   CED              1.50

03/13/17    Travel to Fresno for hearing on motions in limine in Fresno   CED              4.00

03/13/17    Attend hearing on motions in limine in Fresno                 CED              1.50

03/13/17    Conference with                                               CED              1.00


03/13/17    Review and respond to                                         MMD2             0.30

                                           Exhibit 1,
                                           Exhibit    Page 203
                                                   1, Page 203
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page66
                                                           02/13/18 Page 198
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 11
Invoice No.: 20427442


Date                                                                             •
03/13/17   Continue re aration of                                                MMD2     1.50


03/13/17   Further prepare for and attend hearing on Motions in Limine before    APR      2.70
           Judge Oberto

03/13/17   Travel to/from United States District Court for Eastern District of   APR      7.30
           California in Fresno, for hearing on Motions in Limine before Judge
           Oberto

03/13/17   Continued analysis of                                                 RJS      0.70



03/13/17   Analyze                                                               RJS      0.40



03/13/17   Analyze                                                               RJS      1.70



03/14/17   Prepare email to client re                                            CED      0.30

03/14/17   Telephone with client re                                              CED      0.50

03/14/17   Review and analysis of                                                CED      0.60


03/14/17   Prepare email to M. Evert re                                          CED      0.30

03/14/17   Analysis re                                                           CED      1.50


03/14/17   Return travel from motion in limine hearing                           CED      2.50

03/14/17   Analysis re                                                           CED      0.50



03/14/17   Analysis re                                                           CED      0.40

                                          Exhibit 1, Page
                                          Exhibit 1, Page 204
                                                          204
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page67
                                                           02/13/18 Page 199
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 12
Invoice No.: 20427442


Date       Descri tion                                                   Init             Hours


03/14/17   Review and analyze                                            APR               0.10

03/14/17   Review and analyze                                            APR               0.20

03/14/17   Analyze                                                       APR               1.20


03/14/17   Review and revise                                             APR               0.10


03/14/17   Review and anal ze correspondence from client re:             APR               0.10


03/14/17   Review and analyze                                            APR               0.10

03/14/17   Review and analyze                                            APR               0.10

03/14/17   Review and analyze                                            APR               0.10


03/14/17   Analyze and mark                                              RIS               0.90



03/14/17   Analyze and mark                                              RJS               1.10



03/14/17   Analyze and mark                                              R.JS              0.90



03/15/17   Review transcript of                                          CED               0.60

03/15/17   Review and analysis of                                        CED               1.00

03/15/17   Prepare for                                                   CED               0.50

03/15/17             preparation     for                                 CED               0.40

03/15/17   Analysis re                                                   CED               0.80




                                           Exhibit 1,
                                           Exhibit    Page 205
                                                   1, Page 205
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page68
                                                           02/13/18 Page 200
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 13
Invoice No.: 20427442


Date       Descri i tion                                                              Init   Hours
03/15/17                                                                              CED     0.40

03/15/17   Review                                    e ositions                       CED     1.50


03/15/17                                                                              CED     0.40

03/15/17   Analysis re                                                                CED     0.80

03/15/17   Review                        s                                            CED     0.40

03/15/17   Review and analyze                                                         APR     0.10


03/15/17   Draft                                                                      APR     0.10

03/15/17   Draft                                                                      APR     0.10

03/15/17    Anal ze                                                                   APR     0.50


03/15/17   Review and analyze                                                         APR     0.10


03/15/17   Draft                                                                      APR     0.10

03/15/17    Review and analyze                                                        APR     0.80


03/15/17    Draft                                                                     APR     1.20


03/15/17    Review and anal ze                                                        APR     0.10


03/15/17    Research                                                                  APR     1.40


03/15/17    Exchange correspondence with counsel for Plaintiff, Dylan Liddiard,       APR     0.10
            re: conference call to discuss status

03/15/17    Conference call with counsel for Plaintiff, Dylan Liddiard, re: counter   APR     0.30
            designation of deposition transcript, court deadlines for remaining
            issues and additional discovery period issues



                                             Exhibit 1, Page
                                             Exhibit 1, Page 206
                                                             206
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page69
                                                           02/13/18 Page 201
                                                                           ofof
                                                                          April
                                                                              827,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 14
Invoice No.: 20427442


Date       Description                                                   Init             Hours
03/15/17   Review and analyze                                            APR               0.70

03/15/17   Anal ze and mark                                              RJS               1.10



03/15/17    Analyze and mark                                             RJS               1.10



03/15/17   Analyze and mark                                              RJS               0.80



03/16/17    Analysis re                                                  CED               1.00


03/16/17    Analysis re                                                  CED               1.00

03/16/17    Exchange emails with client re                               CED               0.20

03/16/17    Analysis re                                                  CED               0.90

03/16/17    Research                                                     APR               3.10



03/16/17    Review and analyze                                           APR               0.10


03/17/17    Conference with Calvin Davis and Aaron Rudin re ardin        MMD2              0.80




03/17/17    Review and analysis of                                       MMD2              3.60




03/17/17    Analyze




                                             Exhibit 1,
                                             Exhibit    Page 207
                                                     1, Page 207
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page70
                                                           02/13/18 Page 202
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 15
Invoice No.: 20427442


Date       Description                                                   Init             Hours
03/20/17   Analysis re                                                   CED               0.60


03/20/17   Prepare email to clients re                                   CED               0.30


03/20/17        and analysis of
           Review                                                        CED               1.00


03/20/17   Exchange emails with M. Evert re                              CED               0.30

03/20/17   Exchange emails with clients re                               CED               0.70


03/20/17   Conduct initial review of                                     MMD2              0.50



03/20/17   Conference with Aaron Rudin re ardin                          MMD2              0.30



03/20/17   Review and anal sis of                                        MMD2              0.60




03/20/17   Research                                                      APR               1.60


03/20/17   Review and analyze                                            APR               0.10


03/20/17    Review and analyze                                           APR               0.10


03/20/17    Review and anal ze                                           APR               0.30


03/20/17    Review and analyze                                           APR               0.20


03/20/17    Draft discovery motion re:                                   APR               1.70




                                             Exhibit 1,
                                             Exhibit    Page 208
                                                     1, Page 208
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page71
                                                           02/13/18 Page 203
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 16
Invoice No.: 20427442


Date       Description                                                          Init      Hours
03/20/17   Initial review and analysis of                                       APR        1.40


03/21/17   Review charts from client on                                         CED        0.30

03/21/17   Initial preparation for                                              CED        1.60

03/21/17   Anal sis re                                                          CED        0.60


03/21/17   Review and analyze                                                   APR        0.50


03/21/17   Research re:                                                         APR        2.40



03/21/17   Further draft discovery motion re:                                   APR        3.20
                                     s

03/21/17   Draft letter brief to Jude Oberto re:                                APR        1.60


03/21/17   Exchange correspondence with Plaintiffs counsel re: depositions of   APR        0.20
           GIS's 30(b)(6), Frank Gibson, Chris Nolan and Chuck Gibson

03/21/17   Analyze                                                              RJS        0.50


03/22/17   Review and revise                                                    CED        0.70


03/22/17   Prepare email to clients re                                          CED        0.20

03/22/17   Analysis re                                                          CED        0.90


03/22/17   Draft letter brief to Sheila Oberto re:                              APR        1.40


03/22/17    Further draft/revise letter brief to Judge Oberto re:               APR        0.70


03/22/17   Conference call with Dylan Liddiard, Craig Bolton and Jason,         APR        0.40
           plaintiffs counsel, re: meet and confer re: informal discovery

                                             Exhibit 1,
                                             Exhibit    Page 209
                                                     1, Page 209
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page72
                                                           02/13/18 Page 204
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 17
Invoice No.: 20427442


Date       Description                                                            Init    Hours
           conference with Court re: Plaintiffs document production

03/23/17   Review documents                                                       CED      1.50

03/23/17   Prepare for call                                                       CED      0.50

03/23/17   Pre are examinations                                                   CED      1.40


03/23/17   Analysis re                                                            CED      0.60

03/23/17    Analysis re                                                           CED      0.50

03/23/17    Review                                                                CED      0.30

03/23/17    Telephone with J. Green and R. Holman re                              CED      0.50


03/23/17    Telephone with Greg Webb                                              CED      0.50


03/23/17    Review                                                                CED      0.30

03/23/17    Review and analysis of                                                MMD2     3.40



03/23/17    Telephonic conference with Plaintiffs counsel re: discovery dispute   APR      0.30
            issues

03/23/17    Review and analyze                                                    APR      0.20

03/23/17    Review and analyze                                                    APR      0.10


03/23/17    Further draft/revise letter brief to Judge Oberto                     APR      0.30

03/23/17    Review and analyze                                                    APR      0.20


03/23/17    Review and analyze                                                    APR      0.10

03/23/17    Exchange correspondence with counsel for Plaintiff re: discovery      APR      0.20
            dispute issues, briefing and telephonic conference with Court



                                             Exhibit 1,
                                             Exhibit    Page 210
                                                     1, Page 210
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page73
                                                           02/13/18 Page 205
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 18
Invoice No.: 20427442


Date       Descri tion                                                                Init   Hours
03/23/17   Research                                                                   APR     0.30

03/23/17   Conference call with GreggWebb re:                                         APR     0.50


03/23/17   Review and analyze                                                         APR     0.10

03/24/17   Analysis re                                                                CED     0.50


03/24/17   Strategy for                                                               CED     1.50

03/24/17   Prepare for                                                                CED     2.50

03/24/17   Telephone with client                                                      CED     0.30

03/24/17   Review and revise                                                          CED     0.40

03/24/17   Conference with Calvin Davis and Aaron Rudin re ardin                      MMD2    2.30



03/24/17   Review and analysis of                                                     MMD2    0.50



03/24/17    Review and analyze                                                        APR     0.10


03/24/17    Draft correspondence to Plaintiffs counsel, Craig Bolton, re. letter to   APR     0.10
            Judge re: discovery dispute

03/24/17    Anal ze                                                                   APR     2.20



03/27/17    Analysis re                                                               CED     0.50

03/27/17    Travel to Pittsburgh for depositions                                      CED     9.50

03/27/17    Draft correspondence to Plaintiffs counsel, re: depositions               APR     0.10

03/27/17    Review and analyze Plaintiffs Letter to Judge Oberto re: discovery        APR     0.30
            dispute



                                            Exhibit 1,
                                            Exhibit    Page 211
                                                    1, Page 211
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page74
                                                           02/13/18 Page 206
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 19
Invoice No.: 20427442


Date       Description                                                            Init    Hours
03/27/17   Review and analyze correspondence from Plaintiffs counsel, re:         APR      0.10
           depositions

03/28/17   Analysis re                                                            CED      0.50

03/28/17   Prepare for                                                            CED      6.50

03/28/17   Prepare for                                                            CED      0.50

03/28/17   Tele hone conference with                                              MMD2     0.50




03/28/17   Appear for informal telephonic conference with Court re: discovery     APR      0.40
           motion issue, motion for sanctions

03/28/17   Prepare for hearing before Judge Obert re: discovery dispute issues,   APR      1.10
           including outline of argument

03/29/17   Prepare for                                                            CED      4.00

03/29/17   Analysis re                                                            CED      0.50

03/29/17   Return travel from Pittsburgh depositions                              CED      9.50

03/29/17   Prepare outline                                                        CED      0.80

03/29/17   Review and analyze                                                     APR      1.20


03/29/17   Review and analyze                                                     APR      0.10


03/29/17    Research re:                                                          APR      2.20



03/30/17    Prepare for                                                           CED      2.50

03/30/17    Analysis re                                                           CED      0.80


03/30/17    Prepare emails                                                        CED      0.30



                                           Exhibit 1,
                                           Exhibit    Page 212
                                                   1, Page 212
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page75
                                                           02/13/18 Page 207
                                                                           ofof
                                                                              82
                                                                          April 7,300
                                                                                   2017
ID: GPPI 1104957                                                          Page 20
Invoice No.: 20427442


Date       Description                                                      Init          Hours
03/30/17   Prepare email to M. Evert and K. Nota re                         CED            0.30


03/30/17   Pre are email to J. Green and R. Holman re                       CED            0.40


03/30/17   Prepare outline of                                               CED            0.50


03/30/17   Conference with Calvin Davis and Aaron Rudin re ardin            MMD2           2.50




03/30/17   Analyze and prepare for                                          APR            1.80


03/31/17   Review and revise                                                CED            0.30

03/31/17   Exchange emails with clients re                                  CED            0.30

03/31/17   Prepare outline and email to                                     CED            1.00

03/31/17   Prepare outline for                                              CED            1.50

03/31/17   Continue discussion with Calvin Davis and Aaron Rudin re ardin   MMD2           1.10




03/31/17   Draft objections to                                              APR            0.50

03/31/17   Draft/revise status                                              APR            0.30
                       ly

03/31/17   Review and analyze                                               APR            0.10


03/31/17   Review and analyze                                               APR            1.20


03/31/17    Review and analyze                                              APR            0.40

03/31/17    Review and analyze                                              APR            1.10

                                             Exhibit 1,
                                             Exhibit    Page 213
                                                     1, Page 213
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document534-4
                                   338-6 Filed
                                         Filed09/12/23  Page76
                                               02/13/18 Page 208
                                                               ofof
                                                                  82300




                           Exhibit 1, Page 214
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document
                        GORDON    534-4
                                   &338-6
                                     REES Filed
                                          Filed
                                             LLP09/12/23  Page77
                                                 02/13/18 Page 209
                                                                 ofof
                                                                    82300
                                          www.gordonrees.com
                                  1111 Broadway, Suite 1700
                                  Oakland, California 94607
                                        (510) 463-8600
                                            Tax ID: XX-XXXXXXX



                                                                                   May 5, 2017
                                                                                   ID: GPPI 1104957
                                                                                   Invoice No. 20434938
                                                                                   Davis, Calvin E.




             Computer research charges calculated per the LexisNexis Transactional Pricing Plan.
                                        Exhibit 1, Page
                                        Exhibit 1, Page 215
                                                        215
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page78
                                                           02/13/18 Page 210
                                                                           ofof
                                                                          May  5,300
                                                                              82  2017
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20434938

                                      Professional Services

Date       Description                                                           Init    Hours
04/03/17   Travel to Charlotte for depositions                                   CED      9.50

04/03/17   Review and respond to communications with Dylan Liddiard regarding    MMD2     0.20
           Guardian depositions and Person Most Knowledgeable witnesses

04/03/17   Conduct review and analysis of                                        MMD2     1.60




04/03/17   Exchange correspondence with Dylan Liddiard, counsel for Plaintiff,   APR      0.10
           re; depositions of Holman and Green

04/04/17   Travel to Hickory to meet with clients to prepare for depositions     CED      2.50

04/04/17   Meet with clients R. Holman and J. Green                              CED      4.50

04/04/17   Review and analyze correspondence from Craig Bolton re: depositions   APR      0.10

04/04/17   Research                                                              APR      0.80


04/05/17   Prepare for and defend depositions                                    CED      3.50


04/05/17   Return travel from depositions in Charlotte                           CED      9.50

04/05/17   Review and analysis of                                                MMD2     0.20



04/05/17   Review and analyze                                                    APR      0.10


04/05/17   Review and anal                                                       APR      2.60



04/06/17   Analysis re                                                           CED      0.40

04/06/17   Exchange emails with J. Green re                                      CED      0.30



                                            Exhibit 1, Page
                                            Exhibit 1, Page 216
                                                            216
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page79
                                                           02/13/18 Page 211
                                                                           ofof
                                                                          May  5,300
                                                                              82  2017
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20434938

Date       Description                                                   Init            Hours

04/06/17   Review aild anal ze      res ondence from client re:          APR              0.10
           mmi
04/07/17   Review _deposition ta                                         CED              1.50


04/07/17   Analysis re                                                   CED              0.70

04/10/17   Analysis re                                                   CED              0.50

04/10/17   Analysis re                                                   CED              0.60

04/11/17   Detailed review of                                            CED              1.50


04/11/17   Telephone with client J. Green re                             CED              0.30

04/11/17   Analysis re                                                   CED              0.70

04/11/17   Review and analysis of                                        MMD2             2.50



04/11/17   Be in draft of                                                APR              5.40



04/12/17   Analysis re                                                   CED              1.70

04/12/17   Review and anal sis of                                        MMD2             3.90




04/12/17   Review and analyze                                            APR              0.10


04/12/17   Further draft                                                 APR              6.20




04/13/17   Analysis re                                                   CED              0.50

                                           Exhibit 1,
                                           Exhibit    Page 217
                                                   1, Page 217
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page80
                                                           02/13/18 Page 212
                                                                           ofof
                                                                          May  5,300
                                                                              82  2017
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20434938


Date       Description                                                   Init            Hours

04/13/17   Review and revise                                             CED              1.40

04/13/17   Review and analysis                                           MMD2             2.80




04/13/17   Further draft                                                 APR              5.70




04/14/17   Further revisions to                                          CED              0.60

04/18/17   Exchange emails with K. Nota                                  CED              0.40

04/18/17   Exchange emails with E. Otero re                              CED              0.60

04/18/17   Analysis re                                                   CED              0.50

04/18/17   Edit, revise and su    lement                                 MMD2             2.60



04/18/17   Review and analyze correspondence from client re:             APR              0.20


04/18/17   Review and analyze                                            APR              0.20

04/19/17   Analysis re                                                   CED              0.70

04/19/17   Analysis re                                                   CED              0.50

04/19/17   Review correspondence re                                      CED              0.30

04/19/17   Draft/revise declaration of Ronnie Holman                     APR              0.30


04/19/17   Pre are/draft declaration of Aaron P. Rudin                   APR              0.40




                                           Exhibit 1,
                                           Exhibit    Page 218
                                                   1, Page 218
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page81
                                                           02/13/18 Page 213
                                                                           ofof
                                                                          May  5,300
                                                                              82  2017
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20434938


Date       Descri tion                                                   Init            Hours
04/19/17   Pre are                                                       APR              3.40


04/19/17   Review and analyze                                            APR              0.20


04/20/17   Review revised                                                CED              1.00

04/20/17   Finalize                                                      CED              0.70

04/20/17   Revise and finalize                                           APR              1.60


04/20/17   Review and analyze                                            APR              0.10


04/21/17   Review and analysis re                                        CED              0.50

04/22/17   Review and analyze corres ondence from Johnny Green           APR              0.10


04/24/17   Prepare draft response to                                     CED              0.50


04/24/17   Tele hone with E. Otero re                                    CED              0.40


04/25/17   Analysis re                                                   CED              0.60

04/26/17   Analysis re                                                   CED              0.50

04/26/17   Coordinate with                                               RJS              1.00


04/27/17   Review letter from plaintiffs counsel on Florida licensing    CED              0.20

04/27/17   Review and anal sis of                                        MMD2             2.60



04/27/17   Review and analyze                                            APR              1.40



04/27/17   Review _depositions                                           RJS              3.60

                                           Exhibit 1,
                                           Exhibit    Page 219
                                                   1, Page 219
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-6 Filed
                                                     Filed09/12/23  Page82
                                                           02/13/18 Page 214
                                                                           ofof
                                                                          May  5,300
                                                                              82  2017
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20434938


Date         Description                                                  Init           Hours

04/28/17     Plan           for                                           CED              0.50

04/28/17     Review and analysis                                          CED              1.50

04/28/17     Review and analysis of                                       CED              0.50


04/28/17     Review and analysis of                                       CED              0.50


04/28/17     Pre aration of                                               MMD2             4.30



04/28/17     Review and analyze                                           APR              0.10



04/30/17     Edit, revise and supplement                                  MMD2             3.20



04/30/17     Draft/revise                                                 APR              1.30




                                           Services Recap
Init       Name                             Title                  Rate      Hours     Amount
APR        Aaron Rudin                      Partner              420.00       30.50   12,810.00
CED        Calvin Davis                     Senior Partner       420.00       50.60   21,252.00
MMD2       Margaret Drugan                  Senior Counsel       375.00       23.90    8,962.50
RJS        Randall Stubblefield             Paralegal            150.00        4.60      690.00




                       TOTAL FOR SERVICES                         $43,714.50




                                           Exhibit 1, Page
                                           Exhibit 1, Page 220
                                                           220
Case 1:15-cv-00321-SKO   Document 534-4   Filed 09/12/23   Page 215 of 300
          Case 1:15-cv-00321-SKO
             Case 1:15-cv-00321-SKODocument 534-4
                                     Document
                                 GORDON      &338-7
                                               REES Filed
                                                     Filed
                                                      LLP 09/12/23
                                                           02/13/18 Page
                                                                    Page 216
                                                                         1 of of
                                                                              85300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




                                                                                                  June 30, 2017
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20449487
                                                                                                  Davis, Calvin E.




                        BILLING SUMMARY THROUGH May 31, 2017
Fees For Professional Services:                                                                                  $50,320.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                      Exhibit 1, Page
                                                      Exhibit 1, Page 221
                                                                      221
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 217
                                                                             of of
                                                                           2June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 2
Invoice No.: 20449487

                                       Professional Services

Date        Description                                                   Init          Hours
05/01/17    Conference with Aaron Rudin regarding                         MMD2           0.50




05/01/17    Edit, revise and supplement                                   MMD2              3.80




05/01/17    Review and analyze                                            APR               0.10


05/01/17    Review and analyze                                            APR               0.10



05/01/17    Further draft/revise                                          APR               2.10


05/02/17    Review and revise                                             CED               0.40

05/02/17    Telephone with client re                                      CED               0.30

05/02/17    Prepare for                                                   CED               1.70

05/02/17    Review and revise                                             CED               1.50

05/02/17    Analysis re                                                   CED               1.80

05/02/17    Edit, revise and supplement                                   MMD2              1.50




05/02/17    Preparation of draft of                                       MMD2              0.20



05/02/17    Review and analyze                                            APR               0.20


                                          Exhibit 1, Page
                                          Exhibit 1, Page 222
                                                          222
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 218
                                                                             of of
                                                                           3June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 3
Invoice No.: 20449487


Date        Description                                                   kit           Hours
            partial MSJ

05/02/17    Review and analyze                                            APR               0.10


05/02/17    Communicate with                                              RJS               0.70


05/03/17    Prepare for                                                   CED               3.00

05/03/17    Travel to Fresno for summary judgment hearing                 CED               4.00

05/03/17    Analysis re                                                   CED               1.50


05/03/17    Review supplemental filing                                    CED               1.50


05/03/17    Review and analysis                                           MMD2              0.10


05/03/17    Review and analysis                                           MMD2              0.20



05/03/17    Preparation for                                               MMD2              1.10



05/03/17    Review and analyze                                            APR               0.10


05/04/17    Prepare for and attend summary judgment hearing               CED               1.50

05/04/17    Return travel from summary judgment hearing                   CED               4.00

05/04/17    Review and analyze                                            APR               0.10


05/04/17    Review and analyze                                            APR               0.10


05/08/17    Review and analysis of                                        MMD2              0.40




                                         Exhibit 1,
                                         Exhibit    Page 223
                                                 1, Page 223
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 219
                                                                             of of
                                                                           4June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 4
Invoice No.: 20449487


Date        Description                                                         Init    Hours
05/08/17    Review and analyze                                                  APR      0.10


05/09/17    Review and analysis                                                 CED         1.50

05/09/17    Prepare report to clients                                           CED         0.90

05/09/17    Review and analysis                                                 MMD2        1.30




05/09/17    Review and analyze                                                  APR         0.90

05/09/17    Review and analyze                                                  APR         0.90

05/09/17    Research re:                                                        APR         0.60


05/10/17    Telephone with client J. Green re                                   CED         0.30

05/10/17   Analysis re                                                          CED         1.00

05/10/17    Revise report to client                                             CED         0.40

05/10/17   Review and analysis                                                  MMD2        0.10

05/10/17    Edit, revise and supplement                                         MMD2        0.30



05/10/17    Review and respond to communications with Aaron Rudin regarding     MMD2        0.20


05/10/17   Review and analyze correspondence from Plaintiffs counsel re: meet   APR         0.10
           and confer re: revised joint pre-trial statement

05/10/17   Draft correspondence to Plaintiffs counsel re: meet and confer re:   APR         0.10
           revised joint pre-trial statement

05/10/17    Review and analyze                                                  APR         0.10


05/11/17   Analysis re                                                          CED         0.80



                                           Exhibit 1, Page
                                           Exhibit 1, Page 224
                                                           224
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 220
                                                                             of of
                                                                           5June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 5
Invoice No.: 20449487


Date        Description                                                            Init   Hours
05/11/17    Review and revise                                                      CED     0.50

05/11/17    Review and analysis                                                    MMD2     1.20



05/11/17    Review and respond to                                                  MMD2     0.20


05/11/17    Telephone conference with                                              MMD2     0.50


05/11/17   Review and analyze correspondence from                                  APR      0.60


05/11/17   Draft                                                                   APR      1.10

05/11/17   Conference call with Plaintiffs counsel, Dylan 'Liddiard and Craig      APR      0.30
           Bolton, re: revised joint pretrial statement

05/12/17   Analysis re                                                             CED      0.50

05/12/17   Analysis re                                                             CED      1.50

05/12/17   Additional review of                                                    CED      0.80


05/12/17   Analysis re                                                             CED      0.70

05/12/17   Review and analysis of                                                  MMD2     0.40


05/12/17   Attend                   meeting with Calvin Davis and Aaron Rudin      MMD2     2.20
           regarding


05/12/17   Conference with Calvin Davis and Margret Drugan to discuss              APR      2.10



05/12/17   Exchange correspondence with Plaintiffs counsel re: filing of revised   APR      0.10
           joint pretrial statement

05/12/17   Research                                                                APR      1.10



                                           Exhibit 1,
                                           Exhibit    Page 225
                                                   1, Page 225
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 221
                                                                             of of
                                                                           6June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 6
Invoice No.: 20449487


Date        Description                                                   kit           Hours

05/12/17    Review and analyze                                            APR               0.10


05/12/17    Review and analyze                                            APR               0.70



05/12/17    Draft/revise                                                  APR               0.20


05/12/17    Research re:                                                  APR               0.40


05/12/17    Assist with                                                   RJS               1.40


05/12/17    Communications with opposing counsel regarding testing of     RJS               0.20
            technology equipment at the courthouse for trial.

05/15/17   Analysis re                                                    CED               0.30

05/15/17   Analysis re                                                    CED               0.70

05/15/17    Telephone with J. Green, E. Otero and C. Taylor re            CED               0.50

05/15/17   Review and analyze correspondence from client re:              APR               0.10


05/15/17    Review and analyze                                            APR               0.10


05/16/17   Review and analysis                                            CED               1.10

05/16/17   Begin draft of                                                 CED               0.70

05/16/17    Analysis re                                                   CED               0.50


05/16/17    Review and analysis                                           MMD2              0.50


05/16/17    Conference with Aaron Rudin regarding                         MMD2              0.50




                                           Exhibit 1, Page
                                           Exhibit 1, Page 226
                                                           226
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 222
                                                                             of of
                                                                           7June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 7
Invoice No.: 20449487


Date        Description                                                          Init   Hours
            conduct

05/16/17    Review and analyze correspondence from Plaintiffs counsel re: pre-   APR        0.10
            trial technology conference with court

05/16/17    Review and analyze                                                   APR        0.80

05/16/17    Review and analyze                                                   APR        0.10

05/17/17    Analysis re                                                          CED        0.50

05/17/17    Complete email to K. Nota re                                         CED        1.00

05/17/17    Telephone with E. Otero re                                           CED        0.40

05/17/17    Exchange emails with client K. Nota re                               CED        0.30

05/17/17    Analysis re                                                          CED        0.30

05/17/17    Edit, revise and supplement                                          MMD2       0.20

05/17/17    Review and analyze correspondence from client re:                    APR        0.10

05/17/17    Draft                                                                APR        0.30



05/17/17    Research                                                             APR        1.30


05/17/17    Draft                                                                APR        3.20


05/18/17    Edit, revise and supplement                                          MMD2       2.30



05/18/17    Further research and analyze                                         APR        1.40


05/18/17    Review and analyze                                                   APR        1.60


05/18/17    Further draft                                                        APR        3.40


                                           Exhibit 1,
                                           Exhibit    Page 227
                                                   1, Page 227
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 223
                                                                             of of
                                                                           8June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 8
Invoice No.: 20449487


Date       Description                                                                 Init   Hours


05/19/17   Analysis re                                                                 CED     0.90


05/19/17    Analysis re                                                                CED     0.50

05/19/17   Further draft/revise                                                        APR     3.20



05/22/17   Review                     deposition                                       CED     0.80

05/22/17    Continue revisions and additions to                                        MMD2    1.60



05/22/17   Further draft/revise                                                        APR     2.40


05/23/17   Analysis re                                                                 CED     0.40

05/23/17   Review and analyze                                                          APR     0.30


05/24/17   Prepare email to                                                            CED     0.50


05/24/17   Prepare email to Chris Schall                                               CED     0.20

05/24/17    Analysis re                                                                CED     1.00

05/24/17   Analysis re                                                                 CED     0.60

05/24/17    Review and analyze                                                         APR     0.10


05/24/17    Research re:                                                               APR     1.60


05/24/17    Draft correspondence to counsel for Plaintiff re: additional affirmative   APR     0.10
            deposition designation

05/24/17    Review and analyze correspondence from counsel for Plaintiff re:           APR     0.20
            additional affirmative deposition designation

                                            Exhibit 1, Page
                                            Exhibit 1, Page 228
                                                            228
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document 534-4
                                       Document 338-7 Filed
                                                       Filed09/12/23
                                                             02/13/18 Page
                                                                      Page 224
                                                                             of of
                                                                           9June85 300
                                                                                 30, 2017
ID: GPPI 1104957                                                            Page 9
Invoice No.: 20449487


Date       Description                                                    Init          Hours

05/24/17   Prepare            testimony                                   RJS               0.90


05/25/17   Analysis re                                                    CED               0.80

05/25/17   Analysis re                                                    CED               0.60

05/25/17   Exchange emails with C. Schall                                 CED               0.20

05/25/17   Analysis re                                                    CED               0.50

05/25/17   Analysis re                                                    CED               0.30

05/25/17   Analysis re                                                    CED               0.80

05/25/17   Review and analysis                                            MMD2              0.50




05/25/17   Review and analyze                                             APR               0.10


05/25/17   Begin              digest for                                  APR               1.70

05/25/17   Communicate with                                               RJS               0.40


05/26/17   Exchange                                                       CED               0.50

05/26/17   Analysis re                                                    CED               0.80

05/26/17   Analysis re                                                    CED               0.80

05/26/17   Telephone with M. Even re                                      CED               0.50

05/26/17   Plan and prepare                                               RJS               0.70


05/30/17   Review and revise                                              CED               0.50

05/30/17   Exchange emails with client re                                 CED               0.40




                                            Exhibit 1,
                                            Exhibit    Page 229
                                                    1, Page 229
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page10
                                                           02/13/18 Page 225ofof
                                                                          June 85300
                                                                               30, 2017
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20449487


Date       Description                                                   Init         Hours
05/30/17   Telephone with J. Green re                                    CED           0.30

05/30/17   Review plaintiffs designations                                CED              1.70


05/30/17   Analysis re                                                   CED              0.50

05/30/17   Review and analysis of                                        MMD2             0.10



05/30/17   Edit, revise and supplement                                   MMD2             0.30




05/30/17   Exchange correspondence with                                  APR              0.10
           re:

05/30/17   Draft/revise                                                  APR              2.40

05/31/17   Analysis re                                                   CED              1.60

05/31/17   Finalize                                                      CED              0.90

05/31/17   Analysis re                                                   CED              0.30


05/31/17   Telephone with                                                CED              0.50

05/31/17   Analysis re                                                   CED              0.50

05/31/17   Preparation for                                               MMD2             1.50




05/31/17   Further draft/revise                         s                APR              3.70

05/31/17   Further draft/revise .1                                       APR              0.40

05/31/17   Research re:                                                  APR              0.30

05/31/17   Draft/revise and finalize                                     APR              1.20

                                            Exhibit 1,
                                            Exhibit    Page 230
                                                    1, Page 230
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page11
                                                           02/13/18 Page 226ofof
                                                                          June 85300
                                                                               30, 2017
ID: GPPI 1104957                                                          Page 11
Invoice No.: 20449487


Date         Description                                                             Init           Hours


05/31/17     Conference call with Dylan Llddiard and Craig Bolton, counsel for       APR              0.20
             Plaintiffs, re: meet and confer re: MILs and other pretrial issues

05/31/17     Draft/revise                                                            APR              0.30

05/31/17     Analyze                                                                 APR              1.20



05/31/17     Prepare for meet and confer conference call re:                         APR              0.20




                                            Services Recap
Init       Name                               Title                           Rate      Hours     Amount
APR        Aaron Rudin                        Partner                       420.00       44.60   18,732.00
CED        Calvin Davis                       Senior Partner                420.00       54.30   22,806.00
MMD2       Margaret Drugan                    Senior Counsel                375.00       21.70    8,137.50
RJS        Randall Stubblefield               Paralegal                     150.00        4.30      645.00




                       TOTAL FOR SERVICES                                     $50,320.50




                                             Exhibit
                                               xhib 1,, Page
                                                         ag 231
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document
                        GORDON    534-4
                                   &338-7
                                     REES Filed
                                          Filed
                                            LLP 09/12/23  Page12
                                                 02/13/18 Page 227
                                                                 ofof
                                                                    85300
                                          www.gordonrees.com
                                  1111 Broadway, Suite 1700
                                  Oakland, California 94607
                                        (510) 463-8600
                                            Tax ID: XX-XXXXXXX



                                                                                    July 6, 2017
                                                                                    ID: GPPI 1104957
                                                                                    Invoice No. 20449607
                                                                                    Davis, Calvin E.




             Computer research charges calculated per the LexisNexis Transactional Pricing Plan.
                                        Exhibit 1, Page
                                        Exhibit 1, Page 232
                                                        232
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page13
                                                           02/13/18 Page 228ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20449607

                                     Professional Services

Date       Description                                                             Init   Hours
06/01/17   Review and analysis of                                                  CED     1.50

06/01/17   Exchange emails with                                                    CED     0.30

06/01/17   Review and revise                                                       CED     1.60

06/01/17   Edit, revise and supplement                                             MMD2    5.70

06/01/17   Prepare communication                                                   MMD2    0.10


06/01/17   Preparation of                                                          MMD2    0.80



06/01/17   Further draft/revise                                                    APR     0.20

06/01/17   Further draft/revise                                                    APR     3.20

06/01/17   Further review and analyze and prepare                                  APR     1.60


06/02/17   Analysis re                                                             CED     0.20

06/02/17   Meeting with                                                            CED     0.40

06/02/17   Prepare email to M. Evert re                                            CED     0.30

06/02/17   Review and analysis                                                     MMD2    1.60



06/02/17   Review and analysis of                                                  MMD2    0.50




06/02/17   Review and analyze correspondence from plaintiffs counsel re: verdict   APR     0.80
           form, jury instruction, neutral statement and intent to call Chuck
           Gibson

06/03/17   Prepare for                                                             CED     3.50


                                          Exhibit 1, Page
                                          Exhibit 1, Page 233
                                                          233
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page14
                                                           02/13/18 Page 229ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20449607


Date       Description                                                              Init   Hours

06/05/17   Review            designation                                            CED     1.20


06/05/17   Finalize                                                                 CED     0.50

06/05/17   Conference with Aaron Rudin regarding                                    MMD2    0.60


06/05/17   Review and analysis of                                                   MMD2    2.80
           I

06/05/17   Review and analyze correspondence from Plaintiffs counsel re:            APR     0.20
           counter-designations

06/05/17   Review and analyze correspondence from Plaintiffs counsel re:            APR     0.10
           changes to counter-designations

06/05/17   Draft:                                                                   APR     0.20

06/05/17   Draft correspondence to counsel for Plaintiff, Dylan Liddiard and Craig APR      0.10
           Bolton, re: defendants' counter deposition designations

06/06/17   Review                                                                   CED     0.50

06/06/17   Analysis re                                                              CED     0.50

06/06/17   Prepare for meet and confer with plaintiffs counsel re trial documents   CED     0.50

06/06/17   Prepare draft                                                            CED     1.80


06/06/17   Review and digest                                                        CED     1.00

06/06/17   Exchange emails with client E. Otero re                                  CED     0.30

06/06/17   Analysis re                                                              CED     0.50

06/06/17   Review and respond to                                                    MMD2    0.30


06/06/17   Review and analyze correspondence from, client, Erin Otero,              APR     0.10




                                           Exhibit 1,
                                           Exhibit    Page 234
                                                   1, Page 234
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page15
                                                           02/13/18 Page 230ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20449607


Date       Description                                                   Init            Hours
06/06/17   Review and analyze                                            APR              0.10

06/06/17   Review and analyze                                            APR              0.90


06/06/17   Analyze and compare                                           RJS              2.00



06/06/17   Analyze plaintiffs                                            RJS              0.40


06/06/17   Communications with                                           RJS              0.30


06/06/17   Review depositions                                            RJS              1.10


06/06/17   Review depositions                                            RJS              1.30


06/06/17   Review depositions                                            RJS              1.10


06/07/17   Review and digest                                             CED              1.50

06/07/17   Prepare email to clients re                                   CED              0.20

06/07/17   Prepare digest of                                             CED              1.00

06/07/17   Analysis re                                                   CED              0.50

06/07/17   Review and digest                                             CED              1.10

06/07/17   Analysis re                                                   CED              0.50

06/07/17   Prepare email to C. Schall re                                 CED              0.20

06/07/17   Review and digest                deposition'.                 CED              1.50

06/07/17   Prepare email to                 K. Schulze re                CED              0.20

06/07/17   Analysis regarding                                            MMD2             0.70



                                           Exhibit 1,
                                           Exhibit    Page 235
                                                   1, Page 235
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page16
                                                           02/13/18 Page 231ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20449607


Date       Description                                                               Init   Hours

06/07/17   Analysis regarding                                                        MMD2    0.80



06/07/17   Review and analyze                                                        APR     0.10


06/07/17   Review deposition of                                                      RJS     0.60


06/07/17   Review deposition of                                                      RJS     0.60


06/07/17   Analyze and retrieve                                                      RJS     1.30


06/07/17   Review depositions                                                        RJS     0.50


06/07/17   Review depositions of                                                     RJS     0.50


06/07/17   Review depositions of                                                     RJS     0.30


06/08/17   Analysis re                                                               CED     0.90

06/08/17   Prepare for meet and confer conference with plaintiffs counsel re trial   CED     0.60
           documents

06/08/17   Review        designations                                                CED     0.60

06/08/17   Prepare outline                                                           CED     1.20

06/08/17   Revise and update                                                         CED     1.30

06/08/17   Analysis regarding                                                        MMD2    1.30




06/08/17   Telephone conference with GIS's attorneys                                 MMD2    1.90



                                           Exhibit 1,
                                           Exhibit    Page 236
                                                   1, Page 236
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page17
                                                           02/13/18 Page 232ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20449607


Date       Description                                                             Init   Hours


06/08/17   Conference call with MD and counsel for Plaintiffs, Dylan Liddiard,     APR     1.80
           Craig Bolton and Jason Mollock, re: meet and confer re: pre-trial
           documents

06/08/17   Communications with                                                     RJS     0.60



06/09/17   Review and revise                                                       CED     1.60

06/09/17   Exchange emails with client re                                          CED     0.20

06/09/17   Prepare emails to clients re                                            CED     0.50

06/09/17   Exchange emails with client re                                          CED     0.20

06/09/17   Analysis re                                                             CED     0.70

06/09/17   Analysis re                                                             CED     0.30

06/09/17   Review and analyze                                                      APR     2.60

06/09/17   Review and analyze                                                      APR     2.20

06/09/17   Analyze file                                                            RJS     1.00


06/09/17   Communications with opposing counsel and court-approved court           RJS     0.60
           reporter regarding court room logistics and sharing of cost for trial

06/09/17   Communications with                                                     RJS     0.40


06/09/17   Review court calendar                                                   RJS     0.10

06/10/17   Review and analysis                                                     CED     3.80


06/10/17   Review and analyze                                                      APR     2.40


06/10/17   Review and analyze                                                      APR     2.70



                                            Exhibit 1,
                                            Exhibit    Page 237
                                                    1, Page 237
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection1:15-cv-00321-SKO
                    Products, Inc.  Document
                                     Document534-4
                                              338-7 Filed
                                                    Filed09/12/23  Page18
                                                          02/13/18 Page 233
                                                                          ofof
                                                                         July  300
                                                                              85
                                                                              6,2017
ID: GPPI 1104957                                                         Page 7
Invoice No.: 20449607


Date       Description                                                           Init   Hours
06/11/17   Review and analysis of                                                CED     1.50


06/11/17   Review and analysis of                                                CED     1.50


06/11/17   Review and analysis of                                                CED     1.50

06/11/17   Review and analyze                                                    APR     2.10


06/12/17   Exchange emails with Evert re                                         CED     0.40

06/12/17   Analysis re                                                           CED     1.50

06/12/17   Exchange emails with Evert                                            CED     0.60


06/12/17   Analysis re                                                           CED     0.50


06/12/17   Outline                                                               CED     1.20

06/12/17   Analysis re                                                           CED     0.20

06/12/17   Work on                                                               CED     0.80

06/12/17   Exchange emails                                                       CED     0.40

06/12/17   Edit, revise and supplement                                           MMD2    1.80


06/12/17   Review and analysis                                                   MMD2    2.90




06/12/17   Telephone conference with GIS's attorneys regarding pre-trial         MMD2    0.90
           document submissions including joint neutral statement of the case,
           joint jury instructions and joint verdict form

06/12/17   Review and analyze                                                    APR     1.40


06/12/17   Review and analyze                                                    APR     0.10

                                           Exhibit 1,
                                           Exhibit    Page 238
                                                   1, Page 238
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page19
                                                           02/13/18 Page 234ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20449607


Date       Description                                                          Init    Hours

           MI
06/12/17   Prepare for and attend                                               APR      0.80


06/12/17   Review and analyze                                                   APR      0.90



06/12/17   Draft/revise                                                         APR      0.80

06/12/17   Exchange correspondence with counsel for Plaintiff re: meet and confer APR    0.10
           re: pretrial filings and hearing on MILs

06/12/17   Research case authority re:                                          APR      0.70

06/12/17   Communications with opposing counsel regarding court room logistics, RJS      0.80
           joint trial exhibits, and stipulations on citing to transcript

06/12/17   Analyze                                                              RJS      1.10


06/13/17   Review, analysis and revision to                                     CED      2.30

06/13/17   Exchange emails with R. Holman re                                    CED      0.30

06/13/17   Analysis re                                                          CED      0.40

06/13/17   Designate -testimony fiMiiiiiiiiiiniiiiii                            CED      1.40


06/13/17   Review and analysis of C. Taylor emails re                           CED      1.50


06/13/17   Analysis re                                                          CED      0.30

06/13/17   Telephone with R. Holman re                                          CED      0.30

06/13/17   Begin review of                                                      CED      0.80

06/13/17   Telephone with J. Green re                                           CED      0.20

06/13/17   Analysis re                                                          CED      0.60


                                          Exhibit 1,
                                          Exhibit    Page 239
                                                  1, Page 239
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page20
                                                           02/13/18 Page 235ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20449607


Date       Description                                                           Init    Hours
06/13/17   Telephone with                                                        CED      0.40

06/13/17   Preparation of                                                        MMD2     0.60


06/13/17   Telephone conference                                                  MMD2     0.50


06/13/17   Review and analysis                                                   MMD2     0.60


06/13/17   Review and analysis of                                                MMD2     2.60




06/13/17   Draft correspondence to plaintiff's counsel re: agreed upon jury      APR      0.70
           instructions and jury instructions in dispute

06/13/17   Review and analyze                                                    APR      0.50

06/13/17   Review and analyze correspondence from Plaintiffs counsel re: joint   APR      0.10
           list of exhibits and stipulation re: admissibility

06/13/17   Appear for hearing                                                    APR      0.50


06/13/17   Review and analyze                                                    APR      0.20

06/13/17   Research re:                                                          APR      0.50


06/13/17   Review and analyze correspondence from counsel for Plaintiff re:      APR      0.30
           revisions to Wrobel schedules and attached revisions to report

06/13/17   Review and analyze correspondence from client re:                     APR      0.20



06/13/17   Further draft/revise                                                  APR      3.80


06/13/17   Prepare for hearing                                                   APR      0.30

06/13/17   Analyze file,                                                         RJS      3.30

                                           Exhibit 1,
                                           Exhibit    Page 240
                                                   1, Page 240
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page21
                                                           02/13/18 Page 236ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20449607


Date       Description                                                         Init      Hours



06/13/17   Communications with                                                 RJS        0.60


06/13/17   Communications with opposing counsel regarding trial exhibits and   RJS        0.50
           logistics

06/13/17   Analyze                                                             RJS        0.20


06/14/17   Analysis re                                                         CED        0.80

06/14/17   Review                                                              CED        0.70

06/14/17   Review and finalize                                                 CED        0.70


06/14/17   Review                                                              CED        2.10

06/14/17   Prepare                                                             CED        0.50

06/14/17   Exchange emails with M. Evert re                                    CED        0.50

06/14/17   Prepare email to                                                    CED        1.10


06/14/17   Continued review and analysis of                                    CED        1.10

06/14/17   Review emails from clients                                          CED        0.50


06/14/17   Review and analysis of                                              CED        1.70

06/14/17   Analysis re                                                         CED        0.50

06/14/17   Analysis re                                                         CED        0.60

06/14/17   Exchange emails                                                     CED        0.30


06/14/17   Analysis re                                                         CED        0.60

06/14/17   Review and analysis of                                              MMD2       1.50

                                         Exhibit 1,
                                         Exhibit    Page 241
                                                 1, Page 241
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page22
                                                           02/13/18 Page 237ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 11
Invoice No.: 20449607


Date       Description                                                             Init   Hours




06/14/17   Review and analysis of                                                  MMD2    0.50


06/14/17   Review and respond to communications with Jason Mollick regarding       MMD2    0.50
           issues with GIS's proposed verdict form

06/14/17   Further draft/revise                                                    APR     3.30

06/14/17   Research                                                                APR     0.30


06/14/17   Exchange correspondence with plaintiffs counsel re: jury instructions   APR     0.50
           and disputed instructions

06/14/17   Review and analyze                                                      APR     1.60


06/14/17   Review and analyze                                                      APR     0.80


06/14/17   Review and analyze correspondence from clients, Johnny Green and        APR     0.30
           Ronnie Holman re:


06/14/17   Review and analyze correspondence from plaintiffs counsel re: joint     APR     0.10
           neutral statement

06/14/17   Exchange correspondence with Karl Schulze, expert, re:                  APR     0.10


06/14/17   Draft correspondence to counsel for Plaintiff re: stipulation to        APR     0.20
           admissibility of joint exhibits

06/14/17   Draft                                                                   APR     2.10


06/14/17   Communicate with                                                        RJS     0.30


06/14/17   Analyze documents                                                       RJS     3.30



                                            Exhibit 1,
                                            Exhibit    Page 242
                                                    1, Page 242
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page23
                                                           02/13/18 Page 238ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 12
Invoice No.: 20449607


Date       Description                                                   Init            Hours

06/14/17   Communicate with                                              RJS              0.30


06/15/17   Review and revise                                             CED              0.70

06/15/17   Review and analysis                                           CED              0.50

06/15/17   Exchange emails with client C. Taylor re                      CED              0.50

06/15/17   Review and revise                                             CED              0.30

06/15/17   Organize                                                      CED              0.70

06/15/17   Analysis re                                                   CED              0.70


06/15/17   Review                                                        CED              2.10


06/15/17   Prepare                                                       CED              0.80


06/15/17   Revise                                                        CED              0.80

06/15/17   Review and organize                                           CED              0.70

06/15/17   Telephone with                                                CED              0.50

06/15/17   Analysis re                                                   CED              0.70

06/15/17   Review and revise                                             CED              0.30

06/15/17   Analysis re                                                   CED              0.80

06/15/17   Revise                                                        CED              0.50

06/15/17   Analysis re                                                   CED              0.50

06/15/17   Identify and select                                           MMD2             2.50


06/15/17   Review and analysis of




                                          Exhibit 1,
                                          Exhibit    Page 243
                                                  1, Page 243
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page24
                                                           02/13/18 Page 239ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 13
Invoice No.: 20449607


Date       Description                                                                Init   Hours


06/15/17   Review and analyze                                                         APR     0.60

06/15/17   Research re:                                                               APR     0.40


06/15/17   Begin review and analysis of                                               APR     2.20

06/15/17   Research re:                                                               APR     0.20

06/15/17   Review and analyze                                                         APR     0.20

06/15/17   Exchange correspondence with Plaintiffs counsel re: jury instructions      APR     0.30
           and submission of disputed and agreed upon jury instructions to court
           and jury/court versions

06/15/17   Draft correspondence to counsel for plaintiff re: objection to revisions   APR     0.30
           to Wrobel report and revised schedules

06/15/17   Review and analyze                                                         APR     0.30

06/15/17   Exchange correspondence with counsel for Plaintiff re: submission of       APR     0.20
           deposition transcripts to court

06/15/17   Draft correspondence to plaintiffs counsel re: joint neutral statement     APR     0.10

06/15/17   Draft correspondence to Plaintiffs counsel re: defendants'                 APR     0.10
           demonstratives for opening statement

06/15/17   Conference call with counsel for Plaintiff re: submission of transcripts   APR     0.10

06/15/17   Draft                                                                      APR     2.40

06/15/17   Review and analyze                                                         APR     0.70


06/15/17   Review and analyze correspondence from counsel for Plaintiff to court      APR     0.10
           re: pretrial document submissions

06/15/17   Review and analyze                                                         APR     0.10

06/15/17   Review and analyze correspondence from client, Chris Taylor, re:           APR     0.20




                                            Exhibit 1,
                                            Exhibit    Page 244
                                                    1, Page 244
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page25
                                                           02/13/18 Page 240ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 14
Invoice No.: 20449607


Date       Description                                                          Init     Hours
06/15/17   Communicate with opposing counsel regarding sharing of video         RJS       0.30
           equipment and court reporter for trial

06/15/17   Communicate with                                                     RJS       0.30


06/15/17   Analyze documents                                                    RJS       2.30


06/15/17   Analyze                                                              RJS       3.50


06/16/17   Review                                                               CED       0.90

06/16/17   Review and revise                                                    CED       0.70

06/16/17   Work on                                                              CED       3.90

06/16/17   Review                                                               CED       1.50

06/16/17   Analysis re                                                          CED       0.60

06/16/17   Work on                                                              CED       2.20

06/16/17   Review and revise                                                    CED       1.30

06/16/17   Analysis regarding                                                   MMD2      1.70



06/16/17   Preparation of                                                       MMD2      4.80



06/16/17   Review and analysis                                                  MMD2      0.50


06/16/17   Draft                                                                APR       2.40

06/16/17   Exchange correspondence with counsel for Plaintiff re: Joint Trial   APR       0.10
           Exhibit 125

06/16/17   Review and analyze                                                   APR       0.10




                                           Exhibit 1,
                                           Exhibit    Page 245
                                                   1, Page 245
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page26
                                                           02/13/18 Page 241ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 15
Invoice No.: 20449607


Date       Da                                                                       Init   Hours
06/16/17   Exchange correspondence with expert, Karl Schulze, re:                   APR     0.10
           II

06/16/17   Exchange correspondence with counsel for Plaintiff re: stipulation re:   APR     0.10
           demonstrative exhibits

06/16/17   Review and analyze                                                       APR     0.10


06/16/17   Review and analyze correspondence from client, Michael Evert, re:        APR     0.10


06/16/17   Further review and analyze                                               APR     2.40

06/16/17   Research re:                                                             APR     2.20


06/16/17   Draft                                                                    APR     2.70

06/16/17   Analyze file and provide                                                 RJS     0.80


06/16/17   Analyze documents and prepare                                            RJS     2.00


06/16/17   Several communications with                                              RJS     0.50


06/16/17   Analyze documents and prepare                                            RJS     2.10


06/16/17   Analyze                                                                  RJS     0.90


06/17/17   Work on                                                                  CED     4.20

06/17/17   Preparation of                                                           MMD2    2.80


06/17/17   Review and analyze                                                       APR     0.10


06/17/17   Review and analyze                                                       APR     0.70

06/17/17   Review and analyze                                                       APR     2.60

                                           Exhibit 1, Page
                                           Exhibit 1, Page 246
                                                           246
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page27
                                                           02/13/18 Page 242ofof
                                                                          July 85300
                                                                               6,2017
ID: GPPI 1104957                                                          Page 16
Invoice No.: 20449607


Date       Description                                                     Init         Hours

06/17/17   Exchange correspondence                                         APR           0.20


06/17/17   Prepare for                                                     APR           4.40


06/17/17   Review and analyze                                              APR           0.50

06/17/17   Review and analyze                                              APR           0.30

06/17/17   Review and analyze                                              APR           2.40


06/18/17   Prepare for                                                     CED           6.00

06/18/17   Travel to Fresno for trial                                      CED           4.20

06/18/17   Prepare for                                                     CED           2.00

06/18/17   Review and analyze correspondence from                          APR           0.10



06/18/17   Further prepare                                                 APR           6.40



06/18/17   Travel to Fresno for Trial preparation with clients and Trial   APR           3.30

06/18/17   Review and analyze                                              APR           0.80



           fly

06/19/17   Work on                                                         CED           4.50

06/19/17   Prepare for                                                     CED           1.50

06/19/17   Meeting with                                                    CED           0.50

06/19/17   Work on                                                         CED           2.00

06/19/17   Meeting with clients R. Holman, J. Green, K. Nota, M. Evert     CED           8.00


                                            Exhibit 1,
                                            Exhibit    Page 247
                                                    1, Page 247
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page28
                                                           02/13/18 Page 243ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 17
Invoice No.: 20449607


Date       Description                                                               Init   Hours


06/19/17   Telephone conference with                                                 MMD2    0.50


06/19/17   Review and analysis of                                                    MMD2    0.50


06/19/17   Preparation of                                                            MMD2    2.00



06/19/17   Prepare for day 1                                                         APR    10.60




                   conference with clients Johnny Green, Ronnie Holman, Ken
           Nota and Michael Evert,


06/19/17   Exchange correspondence with Plaintiffs counsel re: conference with       APR     0.10
           court re: objections

06/19/17   Exchange correspondence with plaintiffs counsel re: defense witness       APR     0.10
           photographs for plaintiffs opening statement demonstratives

06/19/17   Review and analyze correspondence from counsel for plaintiff and          APR     0.30
           attached revised video deposition designations

06/19/17   Meet and confer with counsel for Plaintiffs re: issues raised by          APR     0.20
           evidentiary objections including video depositions pursuant to Court's
           Order

06/19/17   Exchange correspondence with Plaintiffs counsel re: objections to use     APR     0.10
           of video deposition testimony in lieu of live testimony

06/19/17   Prepare for and attend hearing re: Defendants' Objections to Plaintiffs   APR     1.10
           Opening Statement materials, Plaintiffs objection to Defendants'
           opening statement materials, plaintiffs objection to use of video
           depositions

06/19/17   Exchange correspondence with clients re:                           s      APR     0.10




                                           Exhibit 1,
                                           Exhibit    Page 248
                                                   1, Page 248
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page29
                                                           02/13/18 Page 244ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 18
Invoice No.: 20449607


Date       Description                                                         Init      Hours
06/19/17   Review and analyze correspondence from Plaintiffs counsel and       APR        0.20
           attached trial demonstratives for Nolan

06/19/17   Supplement and update                                               RJS        0.60


06/19/17   Communications with opposing counsel and court reporter regarding   RJS        0.20
           daily trial transcripts

06/19/17   Review supplemental                                                 RJS        0.80


06/20/17   Prepare                                                             CED        6.50

06/20/17   Prepare                                                             CED        1.50

06/20/17   Meeting with clients R. Holman, J. Green, K. Nota                   CED        0.80

06/20/17   Attend first day of trial: 1                                        CED       10.00


06/20/17   Preparation of                                                      MMD2       2.60



06/20/17   Preparation                                                         MMD2       6.40




06/20/17   Appear for trial Day 1,                                             APR       10.00

                             fln

06/20/17   Prepare for trial Day 2,                                            APR        8.20



06/20/17   Review and analyze correspondence from Plaintiffs counsel re:       APR        0.10
           additional video deposition designations for Green

06/21/17   Assist attorney                                                     ALA        0.40


06/21/17   Meeting with clients R. Holman, K. Nota, J. Green, M. Evert         CED        5.50

                                          Exhibit 1,
                                          Exhibit    Page 249
                                                  1, Page 249
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page30
                                                           02/13/18 Page 245ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 19
Invoice No.: 20449607


Date       Description                                                            Init   Hours


06/21/17   Prepare for                                                            CED     1.20

06/21/17   Attend trial: el...11111.111111                                        CED     9.40


06/21/17   Prepare for                                                            CED     1.50

06/21/17   Preparation of                                                         MMD2    5.20



06/21/17   Exchange correspondence with plaintiffs counsel, Dylan Llddiard, re:   APR     0.10
           demonstrative exhibits for Schulze

06/21/17   Appear for trial Day 2,                                                APR     9.40




06/21/17   Exchange correspondence with Karl Schulze, expert, re:                 APR     0.10


06/21/17   Prepare for Trial Day 3,                                               APR     7.20




06/21/17   Review and analyze                                                     APR     0.20

06/22/17   Prepare for                                                            CED     1.00

06/22/17   Attend trial:                                                          CED     9.50


06/22/17   Prepare             fo                                                 CED     2.00

06/22/17   Meeting with clients R. Holman, J. Green, K. Nota and M. Evert         CED     4.50


06/22/17   Preparation of                                                         MMD2    4.60



                                             Exhibit 1, Page
                                             Exhibit 1, Page 250
                                                             250
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page31
                                                           02/13/18 Page 246ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 20
Invoice No.: 20449607


Date       Description                                                                 Init   Hours


06/22/17   Review and analysis                                                         MMD2    1.60




06/22/17   Prepare for trial day 4,                                                    APR     6.10




06/22/17   Appear for trial day 3,1.1.1111111111111111111.1111111111111111.1.          APR     9.50
                                                                 irect and red




06/22/17   Meeting with Karl Schulze                                                   APR     0.90

06/23/17   Return travel from Fresno                                                   CED     3.80

06/23/17   Attend trial: rulings on directed verdict, jury instructions, examination   CED     7.00
           of K. Schulze, R. Holman, video testimony of D. Lease

06/23/17   Meeting with clients                                                        CED     1.00

06/23/17   Analysis regarding                                                          MMD2    0.50


06/23/17   Preparation                                                                 MMD2    0.20

06/23/17   Review and analysis of                                                      MMD2    1.30




06/23/17   Prepare for and appear for Day 4 of trial,




                                            Exhibit 1,
                                            Exhibit    Page 251
                                                    1, Page 251
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page32
                                                           02/13/18 Page 247ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 21
Invoice No.: 20449607


Date       Description                                                            Init   Hours
06/23/17   Travel back from Court in Fresno                                       APR     3.30

06/23/17   Review and analyze correspondence from client, Ken Nota, M             APR     0.30


06/23/17   Prepare                                                                RJS     0.50

06/24/17   Telephone with                                                         CED     1.00

06/24/17   Work on                                                                CED     7.20


06/24/17   Draft j                                                                APR    10.80




06/24/17   Review and analyze                                                     APR     0.10


06/25/17   Work on                                                                CED     4.00

06/25/17   Travel to Fresno for trial                                             CED     4.10

06/25/17   Work on                                                                CED     5.00

06/25/17   Preparation of                                                         MMD2    7.30


06/25/17   Prepare for                                                            APR     9.20




06/25/17   Travel to Fresno for trial                                             APR     3.40

06/25/17   Exchange correspondence with counsel for GIS re: meet and confer re:   APR     0.10
           jury instructions and jury verdict form

06/25/17   Review and analyze correspondence from clients re:                     APR     0.30


06/25/17   Exchange correspondence with Plaintiffs counsel re: finalizing jury    APR     0.30
           instructions

                                          Exhibit 1, Page
                                          Exhibit 1, Page 252
                                                          252
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page33
                                                           02/13/18 Page 248ofof
                                                                          July 6,300
                                                                               85 2017
ID: GPPI 1104957                                                          Page 22
Invoice No.: 20449607


Date       Description                                                                 Init   Hours

06/26/17   Attend trial: conferences with court and opposing counsel re verdict        CED     5.00
           form and jury instructions

06/26/17   Prepare to                                                                  CED     0.00

06/26/17   Work with                                                                   CED     7.20

06/26/17   Prepare                                                                     CED     5.00

06/26/17   Prepare                                                                     CED     1.00

06/26/17   Communicate with                                                            CED     1.80


06/26/17   Edit, revise and supplement                                                 MMD2    1.20



06/26/17   Prepare for trial day 5,                                                    APR     7.30



06/26/17   Travel to/from and appear at court for hearing with Court re: final jury    APR     7.00
           instructions and final verdict form, motion for judgment as matter of
           law

06/26/17   Review and analyze correspondence from Plaintiffs counsel and               APR     0.20
           revised jury instructions

06/26/17   Exchange correspondence with counsel for GIS re: stipulated joint           APR     0.20
           exhibit issues

06/26/17   Exchange correspondence with counsel for GIS re: verdict form issues        APR     0.40

06/26/17   Review and analyze correspondence from Plaintiffs counsel to court          APR     0.20
           re: proposed verdict form, revised, and joint jury instructions for court
           and jury

06/26/17   Review and analyze errata to Plaintiffs revised motion for judgment as      APR     0.40
           matter of law

06/26/17   Communications with opposing counsel regarding final exhibit list           RJS     0.30

06/27/17   Prepare for                                                                 CED     1.50

                                            Exhibit 1,
                                            Exhibit    Page 253
                                                    1, Page 253
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page34
                                                           02/13/18 Page 249ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 23
Invoice No.: 20449607


Date       Description                                                    Init          Hours

06/27/17   Attend trial:                                                  CED            8.80



06/27/17   Review and analysis of                                         MMD2           1.10




06/27/17   Review and analysis                                            MMD2           0.20


06/27/17   Appear for trial day 5,                                        APR            8.80


06/27/17   Review                                                         RJS            0.20

06/27/17   Review                                                         RJS            0.30


06/28/17   Analysis                                                       CED            0.80

06/28/17   Attend trial: jury questions, jury deliberations               CED            6.00

06/28/17   Review and analysis of                                         MMD2           0.20


06/28/17   Appear for trial day 6, jury deliberation and jury questions   APR            6.00

06/29/17   Return travel from Fresno                                      CED            4.20

06/29/17   Telephone and emails with clients                              CED            1.50

06/29/17   Attend trial: jury deliberations, verdict                      CED            3.50

06/29/17   Review and analysis                                            MMD2           0.40



06/29/17   Analysis regarding                                             MMD2           0.30

06/29/17   Appear for attend trial Day 7, jury deliberation and verdict   APR            3.50

06/29/17   Travel back from Fresno Trial                                  APR            3.20

                                             Exhibit 1,
                                             Exhibit    Page 254
                                                     1, Page 254
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page35
                                                           02/13/18 Page 250ofof
                                                                          July 6,300
                                                                               852017
ID: GPPI 1104957                                                          Page 24
Invoice No.: 20449607


Date       Description                                                                hilt   Hours

06/29/17                  research findings and case authority to prepare for post'   CWY     0.70



06/29/17   Review and analyze                                                         CWY     1.00




06/29/17   Review and analyze                                                         CWY     0.40



06/29/17   Legal research for                                                         CWY     2.50



06/30/17   Review and analysis                                                        CED     1.10


06/30/17   Analysis re                                                                CED     1.50


06/30/17   Analysis re                                                                CED     1.50

06/30/17   Review and analysis of                                                     MMD2    0.90



06/30/17   Analysis regarding                                                         MMD2    1.50




06/30/17   Review and analysis of                                                     MMD2    0.20


06/30/17   Review and analyze                                                         APR     0.10

06/30/17   Review and analyze                                                         APR     0.20

06/30/17   Analyze




                                          Exhibit 1,
                                          Exhibit    Page 255
                                                  1, Page 255
Case 1:15-cv-00321-SKO
  Case  1:15-cv-00321-SKODocument
                          Document534-4
                                   338-7 Filed
                                         Filed09/12/23  Page36
                                               02/13/18 Page 251
                                                               ofof
                                                                  85300




                           Exhibit 1, Page 256
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page37
                                                      02/13/18 Page 252
                                                                      ofof
                                                                         85300
                                             GORDON & REES LLP
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                  August 10, 2017
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20458817
                                                                                                  Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.
cc:




                         BILLING SUMMARY THROUGH July 31, 2017

Fees For Professional Services:                                                                                  $39,230.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.



                                                   Exhibit 1, Page
                                                   Exhibit 1, Page 257
                                                                   257
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page38
                                                      02/13/18 Page 253
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                  August 10, 2017
ID: GPPI 1104957                                                                    Page 2
Invoice No.: 20458817

                                         Professional Services

Date         Description                                                          Init          Hours
07/05/17     Exchange emails with M. Evert re                                     CED            0.50

07/05/17     Analysis re                                                          CED             0.80

07/05/17     Exchange emails with client re                                       CED             0.30

07/05/17     Draft correspondence to client, re:                                  APR             0.30

07/05/17     Research re:                                                         APR             1.10


07/05/17     Review and analyze correspondence from clients re:                   APR             0.10


07/05/17     Review and analyze GIS's request for transcripts for June 19, 2017   APR             0.10
             hearing

07/05/17     Prepare                                                              APR             0.30

07/05/17     Review and analyze further correspondence from client re:            APR             0.10


07/05/17     Review and anal ze                                                   CWY             1.00



07/05/17     Review and analyze court's judgment                                  CWY             0.30


07/05/17     Review and anal ze court's order re motion for summar 'ud ment •     CWY             2.00



07/05/17     Review and anal ze case file                                         CWY             1.30



07/05/17     Prelimina     le al research re ardin                                CWY             1.50



07/06/17     Exchange emails with client                                          CED             0.30



                                             Exhibit 1, Page
                                             Exhibit 1, Page 258
                                                             258
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page39
                                                      02/13/18 Page 254
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                       August 10, 2017
ID: GPPI 1104957                                                                         Page 3
Invoice No.: 20458817


Date         Description                                                               Init          Hours

07/06/17     Analysis re                                                               CED             0.70

07/06/17     Review correspondence from plaintiff regarding equitable issues           CED             0.60
             remaining to be tried, analysis re

07/06/17     Prepare email to Evert re                                                 CED             0.30

07/06/17     Review and analysis of GIS's statement of equitable issues and            MMD2            0.70


07/06/17     Review and analyze exchange of correspondence with client re:             APR             0.10


07/06/17     Review and analyze correspondence from court reporter re: transcript      APR             0.10
             from June 19, 2017 telephonic hearing

07/06/17     Review and analyze correspondence from client re:                         APR             0.10



07/06/17     Draft letter brief to Court re: remaining equitable issues and judicial   APR             0.60
             estoppel, mootness arguments

07/06/17     Review and analyze                                                        APR             0.10

07/06/17     Review and analyze                                                        RJS             1.30


07/06/17     Draft notice of motion and motion to amend judgment pursuant to Rule      CWY             3.00
             60

07/06/17     Perform additional le al research                                         CWY             1.30




07/06/17     Review and anal ze                                                        CWY             0.70



07/06/17     Review and anal ze                                                        CWY             0.50




                                             Exhibit 1, Page
                                             Exhibit 1, Page 259
                                                             259
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page40
                                                      02/13/18 Page 255
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                    August 10, 2017
ID: GPPI 1104957                                                                      Page 4
Invoice No.: 20458817


Date         Description                                                            Init          Hours
07/07/17     Review and analysis plaintiffs reply on equitable issues               CED            0.50

07/07/17     Analysis re                                                            CED             1.60

07/07/17     Anal sis                                                               MMD2            1.20


07/07/17     Conduct research                                                       MMD2            2.20




07/07/17     Review and analyze minute order from Court re: Five Equitable Issues   APR             0.10

07/07/17     Anal ze merits                                                         APR             0.80


07/07/17     Review and analyze                                                     APR             0.20


07/07/17     Review and analyze correspondence from client re:                      APR             0.10


07/07/17     Research case authorit re:                                             APR             2.20


07/07/17     Research re:                                                           APR             0.40


07/07/17     Review post-trial court orders and plaintiffs response regarding       RJS             0.30
             equitable estoppal to

07/07/17     lair CWY                                                                               1.50


07/07/17     Review and anal ze case file                                           CWY             1.00




07/07/17     Le al research re ardin                                                CWY             2.00




                                            Exhibit 1, Page
                                            Exhibit 1, Page 260
                                                            260
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page41
                                                      02/13/18 Page 256
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                      August 10, 2017
ID: GPPI 1104957                                                                        Page 5
Invoice No.: 20458817


Date         Description                                                               Init         Hours
07/07/17     Review case file and analyze issues                                       CWY           1.20


07/10/17     Prepare email to M. Evert re                                              CED            0.30

07/10/17     Review and analysis of plaintiffs correspondence to court re correction   CED            0.40
             to judgment

07/10/17     Review and anal sis                                                       MMD2           3.20




07/10/17     Review and analyze correspondence to client re:                           APR            0.10


07/10/17     Review and analyze GIS's request for clarification re: Court's Judgment   APR            0.20

07/10/17     Review and draft multiple email exchanges between counsel                 CWY            0.30


07/11/17     Analysis re                                                               CED            0.30

07/11/17     Review and revise                                                         CED            0.30

07/11/17     Analysis re                                                               CED            0.40

07/11/17     Edit, revise and supplement Objection to GIS's Request for                MMD2           0.30
             Clarification

07/11/17     Further research re;                                                      APR            1.80



07/11/17     Review and analyze correspondence from client re:                         APR            0.10


07/11/17     Draft objections to Plaintiffs request for clarification                  APR            0.30

07/11/17     Review anal ze and select                                                 CWY            1.50



07/11/17     Review, analyze, and select                                               CWY            1.50



                                             Exhibit 1,
                                             Exhibit    Page 261
                                                     1, Page 261
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page42
                                                      02/13/18 Page 257
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                     August 10, 2017
ID: GPPI 1104957                                                                       Page 6
Invoice No.: 20458817


Date         Deseri • tion                                                           Init          Hours


07/11/17     Review, analyze,and select                                              CWY             0.60


07/11/17     Review and anal ze                                                      CWY             2.00



07/12/17     Prepare email to M. Evert re                                            CED             0.30

07/12/17     Review and analysis                                                     CED             0.40

07/12/17     Analysis re                                                             CED             0.40

07/12/17     Analysis re                                                             CED             0.50

07/12/17     Analysis re                                                             CED             0.40


07/12/17     Review and analysis of court's order granting GIS' request for          MMD2            0.50
             clarification on the judgment

07/12/17     Review and analyze exchange of correspondence with client re:           APR             0.10


07/12/17     Review and analyze Court's Order re: request for clarification          APR             0.20

07/12/17     Research and analyze                                                    CWY             0.50


07/12/17     Prepare Bill of Costs for RPM                                           CWY             0.40

07/12/17     Prepare Itemization for Bill of Costs for GPP                           CWY             2.30

07/12/17     Prepare Itemization for Bill of Costs for RPM                           CWY             2.50

07/12/17     Review and analyze court's order granting plaintiffs request for        CWY             0.30
             clarification

07/12/17     Review and analyze                                                      CWY             0.40
                           allocate itemization of costs between GPPI and RPMI for
             Bill of Costs

07/12/17     Review and analyze                                                      CWY             0.40



                                             Exhibit 1,
                                             Exhibit    Page 262
                                                     1, Page 262
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page43
                                                      02/13/18 Page 258
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                 August 10, 2017
ID: GPPI 1104957                                                                   Page 7
Invoice No.: 20458817


Date         Descri tion                                                         Init          Hours


07/12/17     Prepare Bill of Costs for GPP                                       CWY             0.40

07/12/17     Review anal ze select,                                              CWY             0.50


07/13/17     Analysis re                                                         CED             0.80

07/13/17     Exchange emails with client re                                      CED             0.30

07/13/17     Review and analyze correspondence from client re:                   APR             0.10


07/13/17     Review and analyze correspondence from client re:                   APR             0.10


07/14/17     Analysis re                                                         CED             1.00

07/17/17     Analysis re                                                         CED             0.90

07/17/17     Analysis re                                                         CED             0.50

07/17/17     Draft/revise motion to amend judgment                               APR             0.50

07/17/17     Draft memorandum re: Five Equitable Issues                          APR             3.70

07/18/17     Telephone with                                                      CED             0.30

07/18/17     Analysis regarding                                                  CED             0.40


07/18/17     Analysis re post-trial motions                                      CED             0.70

07/18/17     Review and analyze correspondence from client re:                   APR             0.10


07/18/17     Further draft brief re: Five Equitable Issues                       APR             5.70

07/19/17     Analysis re                                                         CED             0.60

07/19/17     Review and revise brief regarding equitable issues                  CED             1.30

07/19/17     Edit, revise and supplement Defendant's brief regarding equitable   MMD2            0.50
             issues and discussion



                                              Exhibit 1,
                                              Exhibit    Page 263
                                                      1, Page 263
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page44
                                                      02/13/18 Page 259
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                   August 10, 2017
ID: GPPI 1104957                                                                     Page 8
Invoice No.: 20458817


Date         Description                                                           Init          Hours

07/19/17     Further draft brief re: Five Equitable Issues                         APR             3.20

07/20/17     Further draft/revise brief re: Five Equitalbe Issues                  APR             0.70

07/21/17     Analysis re                                                           CED             0.80

07/21/1 7    Analysis re                                                           CED             0.80

07/21/17     Review and finalize brief re: Five Equitable Issues                   APR             0.30

07/21/17     Prepare appendix of evidence for submission in support of brief re:   APR             0.50
             Five Equitable Issues

07/24/17     Review and analysis                                                   CED             1.10

07/24/17     Prepare email to M. Evert re                                          CED             0.30

07/24/17     Review and analyze exchange of correspondence with Michael Evert      APR             0.10
             re:

07/24/17     Research re:                                                          APR             0.70


07/24/17     Review and analyze                                                    APR             0.90


07/24/17     Review and analyze                                                    APR             0.20


07/24/17     Begin drafting responsive brief to equitable issues raised by GIS     APR             4.70

07/24/17     Research case authori                                                 APR             0.80



07/24/17     Review and analyze                                                    CWY             0.40


07/25/17     Exchange emails with client re                                        CED             0.30

07/25/17     Analysis re                                                           CED             0.90

07/25/17     Review and revise further revised motion to amend judgment            APR             0.10




                                            Exhibit 1, Page
                                            Exhibit 1, Page 264
                                                            264
       Case 1:15-cv-00321-SKO
         Case  1:15-cv-00321-SKODocument
                                 Document534-4
                                          338-7 Filed
                                                Filed09/12/23  Page45
                                                      02/13/18 Page 260
                                                                      ofof
                                                                         85300
Guardian Protection Products, Inc.                                                         August 10, 2017
ID: GPPI 1104957                                                                           Page 9
Invoice No.: 20458817


Date         Description                                                                 Init          Hours
07/25/17     Review and analyze                                                          APR            0.20


07/25/17     Further draft responsive brief regarding equitable issues and request for   APR             4.40
             OSC re: sanctions

07/26/17     Review and revise reply brief on equitable issues                           CED             0.60

07/26/17     Exchange emails with client re                                              CED             0.40

07/26/17     Edit, revise and supplement Defendants' responsive brief regarding          MMD2            0.60
             equitable issues

07/26/17     Review and analyze correspondence from client                               APR             0.10


07/27/17     Exchange emails with counsel on                                             CED             0.20

07/27/17     Review and analyze correspondence from Michael Evert re:                    APR             0.10


07/28/17     Review and analysis                                                         CED             0.50

07/28/17     Finalize motion to amend judgment                                           CED             0.50

07/31/17     Review1 m& ze                                                               APR             0.60


07/31/17     Review and analyze                                                          APR             0.50




                                              Services Recap
Init       Name                                Title                             Rate      Hours     Amount
APR        Aaron Rudin                         Partner                         420.00       37.90   15,918.00
CED        Calvin Davis                        Senior Partner                  420.00      22.50     9,450.00
CWY        Crystal Yu                          Associate                       325.00       31.30   10,172.50
MMD2       Margaret Drugan                     Senior Counsel                  375.00        9.20    3,450.00
RJS        Randall Stubblefield                Paralegal                       150.00        1.60      240.00




                                            Exhibit 1, Page
                                            Exhibit 1, Page 265
                                                            265
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document534-4   Filed 09/12/23  Page46
                                                                         261
                                                                           ofof
                                                                              85300
                                  GORDON     &338-7
                                               REES Filed
                                                       LLP 02/13/18 Page
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX




                                                                                                 September 11, 2017
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20465979
                                                                                                 Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.
cc:




                       BILLING SUMMARY THROUGH August 31, 2017
Fees For Professional Services:                                                                                  $8,121.50




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1, Page
                                                     Exhibit 1, Page 266
                                                                     266
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page47
                                                           02/13/18 Page 262
                                                                           ofof
                                                                              85300 11, 2017
                                                                          September
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20465979

                                       Professional Services

Date       Description                                                      Init      Hours
08/01/17   Review reply brief re sanctions                                  CED        0.40

08/01/17   Analysis re                                                      CED         0.90

08/01/17   Review and analyze Plaintiffs letter to Judge Oberto             APR         0.20


08/01/17   Review plaintiffs letter to trial judge regarding sanctions to   RJS         0.10


08/02/17   Exchange emails with client re                                   CED         0.40

08/02/17   Review/revise exchange of correspondence with client,            APR         0.10


08/07/17   Telephone with                                                   CED         0.30

08/07/17   Exchange emails with client C. Taylor re                         CED         0.40


08/10/17   Analysis re                                                      CED         0.50

08/10/17   Exchange emails with clients re                                  CED         0.50


08/10/17   Conference call with clients re                                  CED         0.80

08/10/17   Conference call with clients re:                                 APR         0.80


08/11/17   Analysis re                                                      CED         0.40

08/11/17   Exchange emails with client re                                   CED         0.30


08/14/17   Analysis re                                                      CED         0.40

08/15/17   Analysis re                                                      CED         0.40


08/15/17   Review and revise                                                CED         0.50



                                              Exhibit 1, Page
                                              Exhibit 1, Page 267
                                                              267
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page48
                                                           02/13/18 Page 263
                                                                           ofof
                                                                              85300 11, 2017
                                                                          September
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20465979


Date       Description                                                           hilt   Hours

08/15/17   Conference call with clients re                                       CED     0.80

08/15/17   Conference call with clients                                          APR     0.80




08/16/17   Review and analyze Plaintiffs opposition to motion to amend judgment APR      0.50

08/17/17   Revise communication to GIS re new locations in Maryland and          CED     0.50
           Florida

08/17/17   Exchange emails with client re                                        CED     0.40


08/17/17   Review and analysis of opposition to motion to amend judgment         CED     0.50

08/21/17   Review and anal ze                                                    CWY     1.00


08/21/17   Review and anal ze                                                    CWY     1.00



08/21/17   Draft reply to plaintiffs opposition to defendants' motion to amend   CWY     3.00
           judgment

08/21/17   Review and anal ze                                                    CWY     0.30



08/22/17   Analysis re                                                           CED     0.50

08/23/17   Draft/revise reply to opposition to motion to amend judgment          APR     0.60

08/25/17   Review and analysis of                                                CED     0.50


08/25/17   Review order re taking motion under submission                        CED     0.20

08/25/17   Review and anal ze                                                    APR     0.10


08/28/17   Exchange correspondence with client re:                               APR     0.10

                                             Exhibit 1,
                                             Exhibit    Page 268
                                                     1, Page 268
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page49
                                                           02/13/18 Page 264
                                                                           ofof
                                                                              85300 11, 2017
                                                                          September
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20465979


Date         Description                                                              Init         Hours


08/28/17     Review and analyze correspondence from client,                           APR             0.10



08/28/17     Further review and analyze spreadsheet provided by client re:            APR             0.40



08/29/17     Conference call with clients re                                          CED             0.60

08/29/17     Review and revise email re                                               CED            0.30

08/29/17     Review and analyze correspondence from client,                           APR            0.10


08/29/17     Conference call with clients,                                            APR            0.60


08/31/17     Exchange emails with                                                     CED            0.20

08/31/17     Review and analyze correspondence from client,                           APR            0.10




                                               Services Recap
Init       Name                                 Title                          Rate      Hours    Amount
APR        Aaron Rudin                          Partner                      420.00        4.50   1,890.00
CED        Calvin Davis                         Senior Partner               420.00       10.70   4,494.00
CWY        Crystal Yu                           Associate                    325.00        5.30   1,722.50
RJS        Randall Stubblefield                 Paralegal                    150.00        0.10      15.00




                        TOTAL FOR SERVICES                                     $8,121.50




                                               Exhibit 1, Page
                                               Exhibit 1, Page 269
                                                               269
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document
                                  GORDON    534-4
                                             &338-7
                                               REES Filed
                                                      LLP09/12/23
                                                    Filed          Page50
                                                          02/13/18 Page 265
                                                                          ofof
                                                                             85300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                  October 4, 2017
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20473512
                                                                                                  Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.
cc:




                     BILLING SUMMARY THROUGH September 30, 2017
Fees For Professional Services:                                                                                  $18,439.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.
                                                      Exhibit 1, Page
                                                      Exhibit 1, Page 270
                                                                      270
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page51
                                                           02/13/18 Page 266
                                                                           ofof
                                                                              85300
                                                                          October 4, 2017
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20473512

                                       Professional Services

Date       Description                                                             Init   Hours
09/01/17   Review order on motion to amend judgment                                CED     0.30

09/01/17   Review and analyze order denying motion for leave to amend judgment APR          0.20

09/05/17   Exchange emails with client re                                          CED      0.30

09/05/17   Exchange emails with client re                                          CED      0.30

09/06/17   Analysis re                                                             CED      0.50

09/07/17   Analysis                                                                CED     1.00

09/11/17   Analysis                                                                CED      0.60

09/11/17   Conference call with clients re                                         CED      0.80

09/12/17   Exchange emails with client re                                          CED     0.20

09/12/17   Review and analysis                                                     CED      0.50


09/12/17   Draft response to plaintiffs counsel re future sales to GIS             CED     0.50

09/12/17   Analysis re                                                             CED     0.30

09/13/17   Further draft of motion for attorney's fees including notice and        APR     2.20
           introduction

09/13/17   Further draft of motion for attorney's fees - section re: factual and   APR     2.40
           procedural background

09/14/17   Exchange emails with client re                                          CED      0.30

09/14/17   Exchange emails with client re                                          CED     0.20

09/14/17   Further draft motion for attorney's fees, section re: application of    APR     2.80
           California law and Civil Code 1717 and on the contract

09/14/17   Review and analyze exchange of correspondence with client re:           APR     0.10


09/15/17   Exchange emails with client re                                          CED     0.30


                                             Exhibit 1, Page
                                             Exhibit 1, Page 271
                                                             271
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page52
                                                           02/13/18 Page 267
                                                                           ofof
                                                                              85300
                                                                          October 4, 2017
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20473512


Date       Description                                                                 Init   Hours

09/15/17   Exchange emails with client re .111.11.1.111111111111                       CED     0.20

09/15/17   Analysis re                                                                 CED     0.30

09/15/17   Mal ze                                                                      APR     2.10



09/15/17   Further draft motion for attorney's fees and section re: prevailing party   APR     2.40
           - RPM

09/15/17   Analyze                                                                     APR     1.30


09/15/17   Further analyze                                                             APR     1.60


09/15/17   Review and anal ze                                                          CWY     0.20


09/15/17   Legal research re                                                           CWY     2.00


09/18/17   Analysis re                                                                 CED     0.20

09/18/17   Further draft motion for attorney's fees and section re: prevailing party   APR     2.70
           - Guardian

09/18/17   Analyze                                                                     APR     1.90


09/19/17   Analysis re                                                                 CED     0.80

09/19/17   Further analyze                                                             APR     1.30


09/19/17   Further draft motion for attorney's fees and section re: reasonable rate    APR     2.90

09/22/17   Telephone with client re                                                    CED     0.30

09/22/17   Prepare email to client re                                                  CED     0.30

09/22/17   Analysis re ell...MI                                                        CED     0.50


                                            Exhibit 1, Page
                                            Exhibit 1, Page 272
                                                            272
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page53
                                                           02/13/18 Page 268
                                                                           ofof
                                                                              85300
                                                                          October 4, 2017
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20473512


Date       Description                                                             Init   Hours
09/24/17   Exchange emails with client re                                          CED     0.30

09/24/17   Review and analyze correspondence with clients and counsel              APR      0.30


09/25/17   Review documentation re                                                 CED      0.50

09/25/17   Prepare email to client re                                              CED      0.30

09/27/17   Review and analysis re court order on equitable issues                  CED     1.60

09/27/17   Prepare email to client re                                              CED      0.50

09/27/17   Review and analyze                                                      APR      0.80


09/28/17   Review emails from client re                                            CED      0.30

09/28/17   Telephone with clients re                                               CED      0.40

09/28/17   Review and revise letter to GIS counsel re business during post-trial   CED      0.50
           period

09/28/17   Conference call with Guardian re:                                       APR      0.30


09/28/17   Research re:                                                            APR      1.10


09/28/17   Prepare correspondence to counsel for Plaintiff GIS, re: further        APR      1.40
           handling of pending accounts, licensing and status quo for post trial
           motions

09/28/17   Review and analyze exchange of correspondence with client,              APR      0.10


09/28/17   Review and analyze correspondence from Chris Nolan re:                  APR      0.10


09/29/17   Exchange emails with clients re                                         CED      0.30

09/29/17   Review revisions to correspondence to GIS counsel and telephone with    CED      0.50
           M. Evert

09/29/17   Review and analyze correspondence from client,                          APR      0.20

                                             Exhibit 1,
                                             Exhibit    Page 273
                                                     1, Page 273
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection1:15-cv-00321-SKO
                    Products, Inc.  Document
                                     Document534-4
                                              338-7 Filed
                                                    Filed09/12/23  Page54
                                                          02/13/18 Page 269
                                                                          ofof
                                                                             85300
                                                                         October 4, 2017
ID: GPPI 1104957                                                         Page 5
Invoice No.: 20473512


Date         Description                                                  Init          Hours



09/29/17     Review and analyze correspondence from client,               APR              0.10




                                          Services Recap
Init       Name                             Title                  Rate      Hours     Amount
APR        Aaron Rudin                      Partner              420.00       28.30   11,886.00
CED        Calvin Davis                     Senior Partner       420.00       13.90    5,838.00
CWY        Crystal Yu                       Associate            325.00        2.20      715.00




                          TOTAL FOR SERVICES                      $18,439.00




                                           Exhibit 1, Page
                                           Exhibit 1, Page 274
                                                           274
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document
                                  GORDON    534-4
                                             &338-7
                                               REES Filed
                                                      LLP09/12/23
                                                    Filed          Page55
                                                          02/13/18 Page 270
                                                                          ofof
                                                                             85300
                                                        www.gordonrees.com
                                                1111 Broadway, Suite 1700
                                                Oakland, California 94607
                                                      (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                  November 3, 2017
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20481386
                                                                                                  Davis, Calvin E.


RE:




                      BILLING SUMMARY THROUGH October 31, 2017
Fees For Professional Services:                                                                                  $46,863.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.
                                                      Exhibit 1, Page
                                                      Exhibit 1, Page 275
                                                                      275
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page56
                                                           02/13/18 Page 271
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20481386

                                        Professional Services

Date       Description                                                          Init   Hours
08/18/17   Analysis re                                                          CED     0.80

09/08/17   Conference with Calvin Davis and Aaron Rudin regarding analysis of   MMD2    0.90




09/27/17   Analysis regarding c                                                 MMD2    0.40




10/02/17   Exchange emails with                                                 CED     0.20

10/02/17   Review and analysis of                                               CED     0.70


10/02/17   Exchange emails with to client re                                    CED     0.50


10/02/17   Research re:                                                         APR     0.40


10/02/17   Draft                                                                APR     1.20


10/02/17   Review and analyze                                                   APR     0.40


10/02/17   Review and analyze                                                   APR     0.20


10/03/17   Analysis re                                                          CED     0.60

10/03/17   Exchange emails with                                                 CED     0.40


10/03/17   Prepare email to client re                                           CED     0.40

10/03/17   Prepare email to client re                                           CED     0.20

10/03/17   Review and revise response to GIS correspondence to Guardian         CED     0.60


                                           Exhibit 1,
                                           Exhibit    Page 276
                                                   1, Page 276
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page57
                                                           02/13/18 Page 272
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20481386


Date       Description                                                             Init   Hours

10/03/17   Review and analysis                                                     CED     0.80

10/03/17   Review and analysis of                                                  MMD2    0.20


10/03/17   Review and analyze                                                      APR     0.20

10/03/17   Review and analyze exchange of correspondence with client re:           APR     0.10


10/03/17   Review and analyze correspondence from                                  APR     0.10


10/04/17   Finalize correspondence to plaintiffs counsel re status quo issues      CED     0.40

10/06/17   Analysis re                                                             CED     0.50

10/06/17   Analysis re                                                             CED     0.50

10/06/17   Analysis re                                                             CED     0.40

10/09/17   Exchange emails with client re                                          CED     0.30

10/09/17   Draft letter to GIS counsel re approval of new locations                CED     0.60

10/09/17   Review/revise draft correspondence to counsel fro GIS re: new account   APR     0.10
           issue

10/09/17   Review and analyze exchange of correspondence with client, MI           APR     0.10


10/10/17   Exchange emails with client re                                          CED     0.20

10/10/17   Review and analyze exchange of correspondence with client re:           APR     0.10


10/11/17   Review and revise bills of costs for Guardian and RPM                   CED     0.30

10/16/17   Finalize bill of costs                                                  CED     0.30

10/16/17   Prepare email to client re                                              CED     0.50


10/16/17   Exchange emails with                                                    CED     0.30

                                            Exhibit 1,
                                            Exhibit    Page 277
                                                    1, Page 277
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page58
                                                           02/13/18 Page 273
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20481386


Date       Description                                                   Init         Hours


10/16/17   Analysis re                                                   CED            0.50

10/16/17   Review/revise                                                 APR            0.20


10/16/17   Review and analyze                                            CWY            0.30


10/17/17   Analysis re                                                   CED            0.50

10/17/17   Review/revise draft correspondence to clients re:             APR            0.10

10/18/17   Review and analysis re                                        CED            0.60

10/18/17   Prepare email to clients re                                   CED            0.50

10/18/17   Analyze case authority re: p                                  APR            2.40


10/18/17   Review and analyze                                            APR            1.60


10/19/17   Review and analyze                                            CWY            2.50



10/19/17   Review and analyze                                            CWY            0.50


10/19/17   Review and analyze                                    i       CWY            3.00




10/19/17   Review and analyze                                            CWY            0.50


10/19/17   Review and analyze                                            CWY            0.50



10/19/17   Review and analyze                                            CWY            0.40



                                           Exhibit 1,
                                           Exhibit    Page 278
                                                   1, Page 278
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page59
                                                           02/13/18 Page 274
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20481386


Date       Description                                                         Init   Hours

10/19/17   Review and analyze                                                  CWY      0.50


10/20/17   Review new correspondence from plaintiffs counsel re "status quo"   CED      0.50
           issue and

10/20/17   Review and respond to communications with                           MMD2     0.20


10/20/17   Review and analyze case authority re:                               APR      0.40


10/20/17   Review and analyze correspondence from GIS re: new accounts issue   APR      0.20

10/20/17   Prepare objection to plaintiffs Bill of Costs re prevailing party   CWY      2.50
           argument

10/20/17   Review and analyze                                                  CWY      1.40



10/20/17   Review and analyze                                                  CWY      1.00



10/20/17   Review and analyze                                                  CWY      0.30



10/20/17   Prepare objection to plaintiffs bill of costs                       CWY      3.00



10/21/17   Draft/revise objections to GIS's bill of costs                      APR      1.30

10/22/17   Review and analyze                                                  CWY      0.60



10/22/17   Review and analyze                                                  CWY      0.50



10/22/17   Review and analyze                                                  CWY      1.00

                                            Exhibit 1,
                                            Exhibit    Page 279
                                                    1, Page 279
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page60
                                                           02/13/18 Page 275
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20481386


Date       Description                                                              Init   Hours



10/22/17   Review and analyze plaintiffs                                            CWY     0.50



10/22/17   Review and analyze case file re                                          CWY     0.30



10/23/17   Exchange emails with client re                                           CED     0.30


10/23/17   Further draft/revise introduction to motion for attorney's fees          APR     1.10

10/23/17   Review and analyze correspondence from client re:                        APR     0.10

10/23/17   Review and analyze                                                       APR     0.10


10/23/17   Prepare additional revisions and amendments to objection to plaintiffs   CWY     0.50
           bill of costs

10/24/17   Review GIS opposition to bill of costs                                   CED     0.50

10/24/17   Prepare letter to plaintiffs counsel re status quo issues                CED     0.50

10/24/17   Exchange emails with client re                                           CED     0.20

10/24/17   Review and revise objection to bill of costs                             CED     0.30

10/24/17   Review and analyze correspondence from client,                           APR     0.10


10/24/17   Review and analyze                                                       APR     0.60

10/24/17   Review and analyze                                                       APR     0.10


10/24/17   Review and analyze                                                       APR     1.20


10/24/17   Further draft/revise objections to GIS's bill of costs                   APR     1.10



                                             Exhibit 1,
                                             Exhibit    Page 280
                                                     1, Page 280
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page61
                                                           02/13/18 Page 276
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 7
Invoice No.: 20481386


Date       Description                                                              Init   Hours
10/24/17   Review and analyze                                                       CWY     0.60


10/25/17   Review and analysis re                                                   CED     0.70

10/25/17   Telephone with clients re                                                CED     0.30

10/25/17   Analysis re                                                              CED     1.00

10/25/17   Analyze case authority                                                   APR     0.40


10/25/17   Further draft motion for attorney's fees re:                             APR     2.80


10/25/17   Further research                                                         APR     2.20


10/25/17   Review and analyze                                                       APR     0.20

10/26/17   Further draft/revise motion for attorney's fees,                         APR     3.20


10/26/17   Review and analyze                                                       CWY     1.00



10/26/17   Review and analyze                                                       CWY     4.70



10/26/17   Review and analyze                                                       CWY     0.30


10/26/17   Review and analyze                                                       CWY     0.80



10/27/17   Review and revise                                                        CED     0.30


10/27/17   Exchange emails with client re                                           CED     0.30

10/27/17   Draft declaration of Ronnie Holman in support of motion for attorney's   APR     0.30
           fees


                                            Exhibit 1, Page
                                            Exhibit 1, Page 281
                                                            281
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page62
                                                           02/13/18 Page 277
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 8
Invoice No.: 20481386


Date       Description                                                   Init         Hours

10/27/17   Further draft/revise motion for attorney's fees,              APR            2.70


10/27/17   Review and analyze                                            RJS            1.10



10/27/17   Plan and prepare with attorneys                               RJS            0.60


10/27/17   Review and analyze                                            RJS            1.20



10/27/17   Review and analyze                                            CWY            4.50



10/28/17   Further draft/revise motion for attorney's fees,              APR            3.90


10/29/17   Review and analyze                                            CWY            0.50



10/29/17   Review and analyze                                            CWY            0.50



10/29/17   Review and analyze                                            CWY            0.60



10/29/17   Review and analyze                                            CWY            0.40



10/29/17   Review and analyze                                            CWY            0.40



10/29/17   Review and analyze                                            CWY            0.60




                                             Exhibit 1,
                                             Exhibit    Page 282
                                                     1, Page 282
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page63
                                                           02/13/18 Page 278
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 9
Invoice No.: 20481386


Date       Description                                                              Init   Hours

10/29/17   Review and analyze                                                       CWY     0.40



10/29/17   Review and analyze                                                       CWY     0.50

           111111111•111=
10/29/17   Review and analyze                                                       CWY     0.80



10/30/17   Review and analyze                                                       ALA     6.30



10/30/17   Review and revise motion for attorneys fees sections                     CED     1.30

10/30/17   Analysis re                                                              CED     0.50

10/30/17   Review and revise Davis declaration in support of motion for attorneys   CED     0.30
           fees

10/30/17   Review and revise motion for attorneys fees                              CED     1.50

10/30/17   Review and revise motion to amend judgment                               CED     0.50

10/30/17   Analysis re                                                              CED     0.80

10/30/17   Review and analyze                                                       APR     0.10


10/30/17   Further draft/revise section re:                                         APR     1.20


10/30/17   Further draft/revise section re:                                         APR     1.10


10/30/17   Further draft/revise                                                     APR     2.40


10/30/17   Draft/prepare notice and motion to amend judgment                        APR     3.20

10/30/17   Further draft declaration of Calvin Davis in support of motion for       APR     1.90


                                              Exhibit 1,
                                              Exhibit    Page 283
                                                      1, Page 283
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page64
                                                           02/13/18 Page 279
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 10
Invoice No.: 20481386


Date       Description                                                   Init          Hours
           attorney's fees


10/30/17   Review and analyze                                            RJS            1.00



10/30/17   Review and analyze                                            RJS            1.20



10/30/17   Review and analyze                                            RJS            1.10



10/30/17   Review and analyze                                            RJS            1.00



10/30/17   Emails with attorneys regarding                               RJS            0.20


10/30/17   Review and analyze                                            RJS            1.20



10/30/17   Review and analyze                                            RJS            0.90



10/30/17   Review and analyze                                            CWY            0.70



10/30/17   Review and analyze                                            CWY            0.60



10/30/17   Review and analyze                                            CWY            0.70



10/30/17   Review and analyze                                            CWY            0.80




                                         Exhibit 1,
                                         Exhibit    Page 284
                                                 1, Page 284
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page65
                                                           02/13/18 Page 280
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 11
Invoice No.: 20481386


Date       Description                                                               Init   Hours

10/30/17   Review and analyze                                                        CWY     1.00



10/30/17   Review and analyze                                                        CWY     0.60



10/30/17   Review and analyze                                                        CWY     0.40



10/30/17   Review and analyze                                                        CWY     1.40



10/30/17   Review and analyze                                                        CWY     1.30



10/31/17   Finalize attorneys fees motion                                            CED     0.50

10/31/17   Review amended motion for judgment from GIS                               CED     0.40

10/31/17   Further draft/finalize motion for fees,                                   APR     3.30



10/31/17   Draft opposition to GIS's motion to correct judgment                      APR     2.30

10/31/17   Revise/finalize motion to amend judgment                                  APR     0.20

10/31/17   Research case authority                                                   APR     1.70


10/31/17   Review and finalize exhibits re attorneys' fees invoices for motion for   CWY     0.50
           attorneys' fees

10/31/17   Review and analyze                                                        CWY     1.00



10/31/17   Review and analyze                                                        CWY     0.50



                                            Exhibit 1,
                                            Exhibit    Page 285
                                                    1, Page 285
         Case   1:15-cv-00321-SKO
             Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page66
                                                           02/13/18 Page 281
                                                                           ofof
                                                                              85300 3, 2017
                                                                          November
ID: GPPI 1104957                                                          Page 12
Invoice No.: 20481386


Date       Description                                                    Init           Hours




                                     Services Recap
Init     Name                          Title                       Rate      Hours     Amount
ALA      Allison Andrews               Paralegal                 150.00        6.30      945.00
APR      Aaron Rudin                   Partner                   420.00       46.60   19,572.00
CED      Calvin Davis                  Senior Partner            420.00       22.30    9,366.00
CWY      Crystal Yu                    Associate                 325.00       45.90   14,917.50
MMD2     Margaret Drugan               Senior Counsel            375.00        1.70      637.50
RJS      Randall Stubblefield          Paralegal                 150.00        9.50    1,425.00




                     TOTAL FOR SERVICES                           $46,863.00




                                      Exhibit 1, Page
                                      Exhibit 1, Page 286
                                                      286
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document
                                  GORDON    534-4
                                             &338-7
                                                REESFiled
                                                    Filed
                                                       LLP09/12/23  Page67
                                                           02/13/18 Page 282
                                                                           ofof
                                                                              85300
                                         www.gordonrees.com
                                     1111 Broadway, Suite 1700
                                     Oakland, California 94607
                                           (510) 463-8600
                                           Tax ID: XX-XXXXXXX



                                                                 November 3, 2017
                                                                 ID: GPPI 1104957
                                                                 Invoice No. 20481386
                                                                 Davis, Calvin E.


RE:




IIMIIIIIIIIIIIIIIIIIOII




                                    REMITTANCE COPY
                          PLEASE INCLUDE THIS PAGE WITH YOUR PAYMENT
                                        Exhibit 1, Page
                                        Exhibit 1, Page 287
                                                        287
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document534-4
                                             338-7 Filed
                                                   Filed09/12/23  Page68
                                                         02/13/18 Page 283
                                                                         ofof
                                                                            85300
                                             GORDON&REES
                                             SCULLY MANSUKHAN I
                                                           www.grsm.com
                                                  1111 Broadway, Suite 1700
                                                  Oakland, California 94607
                                                        (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                  December 7, 2017
                                                                                                  ID: GPPI 1104957
                                                                                                  Invoice No. 20490641
                                                                                                  Davis, Calvin E.


RE: G.P.P., Inc. v. Guardian Protection Products, Inc.




                     BILLING SUMMARY THROUGH November 30, 2017
Fees For Professional Services:                                                                                  $25,776.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.
                                                      Exhibit 1, Page
                                                      Exhibit 1, Page 288
                                                                      288
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page69
                                                           02/13/18 Page 284
                                                                           ofof
                                                                              85300 7, 2017
                                                                          December
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20490641

                                         Professional Services

Date       Description                                                               Init   Hours
11/01/17   Analysis re                                                               CED     1.10

11/01/17   Analysis re111111111111111                             1.11               CED     0.50

11/01/17   Prepare email to client re                                                CED     0.30

11/01/17   Research case authority re:                                               APR     0.80

11/02/17   Prepare email to clients re                                               CED     0.50

11/02/17   Telephone with client RIIII                            I                  CED     0.30

11/06/17   Analysis re                                                               CED     0.50

11/07/17   Review and revise opposition to GIS's motion to correct the judgment      CED     0.60

11/07/17   Analysis re                                                               CED     0.50

11/07/17   Further draft/revise opposition to GIS's motion to correct judgment       APR     3.70

11/09/17   Review and analyze                                                        APR     0.50


11/09/17   Analyze case authority                                                    APR     0.60


11/09/17   Draft opposition to GIS' renewed motion for judgment as a matter of       APR     3.20
           law including introduction and section re: avaialble relief

11/09/17   Research statutes and case authority re:                                  APR     2.20


11/10/17   Research authority re:                                                    APR     1.60


11/10/17   Further draft opposition to Plaintiffs renewed motion for judgment as a   APR     3.60
           matter of law, section re: mootness

11/12/17   Review and analyze correspondence from client,                            APR     0.10


11/13/17   Exchange emails with                                                      CED     0.20


                                            Exhibit 1, Page
                                            Exhibit 1, Page 289
                                                            289
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page70
                                                           02/13/18 Page 285
                                                                           ofof
                                                                              85300 7, 2017
                                                                          December
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20490641


Date       Description                                                              Init   Hours

11/13/17   Analysis re                                                              CED     0.50

11/13/17   Review and analysis re                                                   CED     0.50


11/13/17   Analysis re                                                              CED     0.30

11/13/17   Review and analysis of                                                   MMD2    0.10


11/13/17   Further draft opposition to GIS's renewed motion for judgment as a       APR     6.70
           matter of law, section re:



11/13/17   Review and analyze                                                       APR     0.10


11/14/17   Analysis re                                                              CED     0.50

11/14/17   Further draft opposition to GIS's renewed motion for judgment as a       APR     6.20
           matter of law, section re: substantial evidence supporting jury's
           determination of waiver

11/15/17   Review and revise opposition to renewed motion for judgment as a         CED     1.50
           matter of law

11/15/17   Review and analysis of                                                   CED     0.50

11/15/17   Review and analyze                                                       APR     0.20


11/15/17   Draft declaration in support of opposition to GIS's renewed motion for   APR     0.30
           judgment as a matter of law

11/15/17   Revise/finalize                                                          APR     0.60


11/17/17   Analysis re                                                              CED     0.30

11/20/17   Exchange emails with client re                                           CED     0.30

11/20/17   Review/revise Guardian's reply to motion to amend judgment               APR     0.30



                                            Exhibit 1,
                                            Exhibit    Page 290
                                                    1, Page 290
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page71
                                                           02/13/18 Page 286
                                                                           ofof
                                                                              85300 7, 2017
                                                                          December
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20490641


Date       Description                                                               Init   Hours
11/20/17   Review and analyze                                                        CWY     0.40



11/20/17   Draft reply to plaintiffs opposition to defendant's motion to amend       CWY     2.40
           judgment

11/20/17   Review and analyze                                                        CWY     0.70


11/20/17   Review and analyze                                                        CWY     0.60


11/20/17   Review and analyze court's final judgment                                 CWY     0.40


11/22/17   Review and analysis of                                                    CED     0.80

11/22/17   Review and revise reply in support of post-trial motions                  CED     0.50

11/22/17   Review and analyze                                                        APR     0.40


11/22/17   Review and analyze                                                        APR     1.40



11/22/17   Review and analyze                                                        APR     0.30

11/27/17   Telephone with                                                            CED     0.30

11/27/17   Analysis re                                                               CED     0.20

11/27/17   Review and analyze                                                        APR     0.10


11/27/17   Draft correspondence to counsel for Plaintiff re: hearing on post-trial   APR     0.10
           motions

11/28/17   Prepare                                                                   CED     2.50

11/28/17   Review and analyze                                                        APR     0.10


11/28/17   Prepare for                                                               APR     1.80

                                           Exhibit 1,
                                           Exhibit    Page 291
                                                   1, Page 291
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page72
                                                           02/13/18 Page 287
                                                                           ofof
                                                                              85300 7, 2017
                                                                          December
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20490641


Date        Description                                                             Init          Hours



11/29/17    Prepare for                                                             CED              1.80

11/29/17    Prepare email to clients                                                CED              0.50


11/29/17    Attend hearing on motions to amend judgment, and for renewed motion CED                  1.40
            for judgment

11/29/17    Appear for attend/hearing on post trial motions to amend judgment and   APR              1.30
            GIS's renewed motion for judgment as matter of law

11/29/17    Review and analyze                                                      APR              0.10


11/29/17    Further research and analysis re:                                       APR              1.60



11/29/17    Draft update to client, portion re:                                     APR              0.30



11/30/17    Analysis re                                                             CED              0.50

11/30/17    Further draft/revise motion for attorney's fees                         APR              2.10



11/30/17    Review and analyze                                                      APR              0.10




                                             Services Recap
In it      Name                                   Title                     Rate       Hours     Amount
APR        Aaron Rudin                            Partner                  420.00       40.40   16,968.00
CED        Calvin Davis                           Senior Partner           420.00       17.40    7,308.00
CWY        Crystal Yu                             Associate                325.00        4.50    1,462.50
MMD2       Margaret Drugan                        Senior Counsel           375.00        0.10       37.50



                                             Exhibit 1, Page
                                             Exhibit 1, Page 292
                                                             292
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page73
                                                           02/13/18 Page 288
                                                                           ofof
                                                                              85300 7, 2017
                                                                          December
ID: GPPI 1104957                                                          Page 6
Invoice No.: 20490641




                     TOTAL FOR SERVICES                            $25,776.00




                                                                          =




                                      Exhibit 1, Page
                                      Exhibit 1, Page 293
                                                      293
      Case 1:15-cv-00321-SKO
        Case  1:15-cv-00321-SKODocument
                                Document534-4
                                         338-7 Filed
                                               Filed09/12/23  Page74
                                                     02/13/18 Page 289
                                                                     ofof
                                                                        85300
                             GORDON&REES
                             SCULLY MANSUKHANI
                                     www.grsm.com
                               1111 Broadway, Suite 1700
                               Oakland, California 94607
                                     (510) 463-8600
                                    Tax ID: XX-XXXXXXX



                                                           December 7, 2017
                                                           ID: GPPI 1104957
                                                           Invoice No. 20490641
                                                           Davis, Calvin E.


RE:
-I




                           REMITTANCE COPY
                 PLEASE INCLUDE THIS PAGE WITH YOUR PAYMENT
                               Exhibit 1, Page
                               Exhibit 1, Page 294
                                               294
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument 534-4
                                              338-7 Filed
                                    GORDON&REES
                                     Document       Filed09/12/23  Page75
                                                          02/13/18 Page 290
                                                                          ofof
                                                                             85300
                                    SCULLY MANSUKHAN I
                                                           www.grsm.com
                                                  1111 Broadway, Suite 1700
                                                  Oakland, California 94607
                                                        (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 January 9, 2018
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20498788
                                                                                                 Davis, Calvin E.


RE:




                     BILLING SUMMARY THROUGH December 31, 2017
Fees For Professional Services:                                                                                  $1,596.00




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1, Page
                                                     Exhibit 1, Page 295
                                                                     295
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page76
                                                           02/13/18 Page 291ofof
                                                                               85300
                                                                          January 9, 2018
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20498788

                                         Professional Services

Date         Description                                                      Init       Hours
12/01/17     Review and analysis of                                           CED         0.50

12/01/17     Review and analyze                                               APR           0.40

12/04/17     Further draft/revise motion for attorney's fees                  APR           1.60


12/07/17     Analysis re                                                      CED           0.50

12/12/17     Review and analyze correspondence from client,                   APR           0.10


12/12/17     Review and analyze correspondence from client,                   APR           0.10


12/18/17     Conference call with clients re                                  CED           0.30

12/18/17     Conference call with clients,                                    APR           0.30




                                               Services Recap
Init       Name                                 Title                  Rate     Hours   Amount
APR        Aaron Rudin                          Partner              420.00      2.50   1,050.00
CED        Calvin Davis                         Senior Partner       420.00      1.30     546.00




                          TOTAL FOR SERVICES                           $1,596.00




                                               Exhibit 1, Page
                                               Exhibit 1, Page 296
                                                               296
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page77
                                                           02/13/18 Page 292ofof
                                                                               85300
                                                                          January 9, 2018
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20498788




                                      Exhibit 1, Page
                                      Exhibit 1, Page 297
                                                      297
      Case 1:15-cv-00321-SKO
        Case  1:15-cv-00321-SKODocument 534-4
                                 Document 338-7 Filed
                                GORDON&REES     Filed09/12/23  Page78
                                                      02/13/18 Page 293
                                                                      ofof
                                                                         85300
                                SCULLY MANSUKHANI
                                      www.grsm.com
                                1111 Broadway, Suite 1700
                                Oakland, California 94607
                                      (510) 463-8600
                                     Tax ID: XX-XXXXXXX



                                                            January 9, 2018
                                                            ID: GPPI 1104957
                                                            Invoice No. 20498788
                                                            Davis, Calvin E.


RE:




                           REMITTANCE COPY
                 PLEASE INCLUDE THIS PAGE WITH YOUR PAYMENT
                                  Exhibit 1, Page
                                  Exhibit 1, Page 298
                                                  298
          Case 1:15-cv-00321-SKO
            Case  1:15-cv-00321-SKODocument
                                    Document534-4
                                             338-7 Filed
                                    GORDON&REES    Filed09/12/23  Page79
                                                         02/13/18 Page 294
                                                                         ofof
                                                                            85300
                                                  SCULLY MANSUKHANI
                                                           W1A'W.gT5M.COM
                                                  1111 Broadway, Suite 1700
                                                  Oakland, California 94607
                                                        (510) 463-8600
                                                          Tax ID: XX-XXXXXXX



                                                                                                 February 7, 2018
                                                                                                 ID: GPPI 1104957
                                                                                                 Invoice No. 20506113
                                                                                                 Davis, Calvin E.


RE:




                      BILLING SUMMARY THROUGH January 31, 2018

Fees For Professional Services:                                                                              $10,255.00
                                                                                                         __ilM111_




                           Computer research charges calculated per the LexisNexis Transactional Pricing Plan.

                                                     Exhibit 1, Page
                                                     Exhibit 1, Page 299
                                                                     299
          Case  1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page80
                                                           02/13/18 Page 295
                                                                           ofof
                                                                              853007, 2018
                                                                          February
ID: GPPI 1104957                                                          Page 2
Invoice No.: 20506113

                                         Professional Services

Date       Description                                                          Init   Hours
01/08/18   Telephone with client re                                             CED     0.40

01/10/18   Review and analysis of                                               CED      2.20


01/10/18   Review and analysis of                                               MMD2     1.20




01/10/18   Review and analyze                                                   APR      0.30


01/10/18   Review and analyze                                                   APR      0.80


01/11/18   Prepare email to clients re                                          CED      1.00


01/11/18   Exchange emails with clients re                                      CED      0.30


01/11/18   Review client communications regarding                               CED      0.20


01/11/18   Review and analyze correspondence from client,                       APR      0.10


01/11/18   Review and analyze correspondence from client,                       APR      0.10


01/11/18   Review and analyze                                                   CWY      1.50


01/11/18   Review and analyze                                                   CWY      0.50



01/11/18   Calculate fees incurred per attorneys and paralegals re post-trial   CWY      0.50
           motions in October 2017 based on finalized invoice for renewed
           motion for attorneys' fees



                                             Exhibit 1, Page
                                             Exhibit 1, Page 300
                                                             300
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page81
                                                           02/13/18 Page 296
                                                                           ofof
                                                                              853007, 2018
                                                                          February
ID: GPPI 1104957                                                          Page 3
Invoice No.: 20506113


Date       Description                                                       Init      Hours
01/11/18   Review and analyze                                                CWY        0.40



01/11/18   Review and analyze N                                              CWY         0.40


01/11/18   Review and analyze                                                CWY         0.30



01/11/18   Review, analyze,                                                  CWY         1.60




01/11/18   Review and analyze                                                CWY         0.50




01/12/18   Conference call with clients re                                   CED         0.60


01/12/18   Exchange emails with client re                                    CED         0.30

01/12/18   Analysis re                                                       CED         0.70

01/12/18   Conference call with Calvin Davis and clients,                    APR         0.60




01/12/18   Review and analyze correspondence from client,                    APR         0.10


01/12/18   Review and analyze correspondence from client, 11111111.1111101   APR         0.10


01/12/18   Review and analyze                                                CWY         1.50



01/15/18   Exchange emails with                                              CED         0.40

                                             Exhibit 1, Page
                                             Exhibit 1, Page 301
                                                             301
         Case   1:15-cv-00321-SKO
              Case
Guardian Protection 1:15-cv-00321-SKO
                    Products, Inc.   Document
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page82
                                                           02/13/18 Page 297
                                                                           ofof
                                                                              853007, 2018
                                                                          February
ID: GPPI 1104957                                                          Page 4
Invoice No.: 20506113


Date       Description                                                   Init          Hours

01/16/18   Further exchange of emails with                               CED             0.30


01/16/18   Review and analysis of                                        CED             0.50

01/16/18   Prepare email to client re                                    CED             0.50

01/16/18   Further draft/revise updated motion for attorney's fees,      APR             4.20



01/16/18   Review and analyze correspondence from client,                APR             0.10


01/16/18   Review and analyze                                            APR             0.40

01/17/18   Telephone with client re                                      CED             0.30

01/18/18   Exchange emails with client re                                CED             0.20


01/18/18   Review and analyze correspondence form client re:             APR             0.10


01/19/18   Analysis re                                                   CED             0.30

01/19/18   Review and analyze correspondence from client,                APR             0.10


01/19/18   Review and analyze court's amended final judgment re          CWY             0.20


01/22/18   Analysis re                                                   CED             0.40


01/22/18   Review and analyze                                            CWY             0.20


01/22/18   Review and analyze                                            CWY             0.60



01/23/18   Review client email re                                        CED             0.10



                                            Exhibit 1,
                                            Exhibit    Page 302
                                                    1, Page 302
         Case   1:15-cv-00321-SKO
Guardian Protection
              Case  Products, Inc.
                    1:15-cv-00321-SKODocument
                                      Document534-4
                                               338-7 Filed
                                                     Filed09/12/23  Page83
                                                           02/13/18 Page 298
                                                                           ofof
                                                                              853007, 2018
                                                                          February
ID: GPPI 1104957                                                          Page 5
Invoice No.: 20506113


Date        Description                                                   Init         Hours
01/23/18    Review and analysis of                                        CED           0.40

01/23/18    Review and analyze correspondence from                        APR            0.20


01/23/18    Review and analyze correspondence from client,                APR            0.10


01/23/18    Review and analyze updated information re:                    APR            0.20


01/28/18    Review                                                        CED            0.20

01/30/18    Analysis re                                                   CED            0.20




                                         Services Recap
Init       Name                            Title                   Rate     Hours    Amount
APR        Aaron Rudin                     Partner               420.00      7.50    3,150.00
CED        Calvin Davis                    Senior Partner        420.00      9.50    3,990.00
CWY        Crystal Yu                      Associate             325.00      8.20    2,665.00
MMD2       Margaret Drugan                 Senior Counsel        375.00      1.20      450.00




                      TOTAL FOR SERVICES                           $10,255.00




                                          Exhibit 1, Page
                                          Exhibit 1, Page 303
                                                          303
         Case   1:15-cv-00321-SKO
Guardian Protection
             Case   Products, Inc.
                   1:15-cv-00321-SKODocument
                                     Document534-4
                                              338-7 Filed
                                                    Filed09/12/23  Page84
                                                          02/13/18 Page 299
                                                                          ofof
                                                                             853007, 2018
                                                                         February
ID: GPPI 1104957                                                         Page 6
Invoice No.: 20506113




                                     Exhibit 1, Page
                                     Exhibit 1, Page 304
                                                     304
      Case 1:15-cv-00321-SKO
        Case  1:15-cv-00321-SKODocument
                                Document534-4
                                         338-7 Filed
                                               Filed09/12/23  Page85
                                                     02/13/18 Page 300
                                                                     ofof
                                                                        85300
                                GORDON&REES
                               SCULLY MANSUKHANI
                                      www.grsm.com
                               1111 Broadway, Suite 1700
                               Oakland, California 94607
                                     (510) 463-8600
                                    Tax ID: XX-XXXXXXX



                                                           February 7, 2018
                                                           ID: GPPI 1104957
                                                           Invoice No. 20506113
                                                           Davis, Calvin E.


RE:




                           REMITTANCE COPY
                 PLEASE INCLUDE THIS PAGE WITH YOUR PAYMENT
                               Exhibit 1,
                               Exhibit    Page 305
                                       1, Page 305
